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Exhibit 2
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   Abatement Plan for Addressing the Opioid Crisis in Cabell County and the City of Huntington



                     Expert Witness Report of G. Caleb Alexander, MD, MS



                                         August 3, 2020




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Appendix A – Johns Hopkins Report: “From Evidence to Impact”
Appendix B – Curriculum vitae
Appendix C – List of sources that were consulted
Appendix D – Redress Model



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I. BACKGROUND AND QUALIFICATIONS OF AUTHOR
1.   My name is G. Caleb Alexander. I am a practicing general internist and Professor of Epidemiology
     and Medicine at Johns Hopkins Bloomberg School of Public Health. I have been retained by Plaintiffs
     to provide my scientific expertise regarding the opioid epidemic, nationally and in the Cabell-
     Huntington Community (the “Community”), an Appalachian community rich in heritage that has been
     devastated by the opioid epidemic.a I have been asked to discuss ways to abate or reduce the harms
     caused by the oversupply of opioids into the Community. I have also been asked to estimate the size
     of specific populations that may require abatement interventions within the Community over a 15-year
     period, from 2021 to 2035, and to provide recommended cost estimates for certain abatement
     interventions (generally medical costs); the remaining costs are provided in the expert report of local
     forensic economist George A. Barrett. In his report, Mr. Barrett also calculates the total cost of my
     recommended abatement plan.

2.   As a physician, I am responsible for the primary care of approximately 250 patients, most of whom
     live in and around Baltimore County. I have clinic one half-day per week and I am also responsible
     for patient care matters that arise at other times. The patients that I see range from young adults to
     nonagenarians (aged 90 – 99 years), and as a primary care physician I oversee their acute, preventive,
     and chronic needs, which include conditions such as asthma, diabetes, hypertension, osteoporosis,
     chronic pain, anxiety, and depression. While I do not specialize in the care of patients with opioid use
     disorder (OUD),b I have patients in my practice with OUD who I co-manage with addiction specialists,
     and I care for patients who have lost family members to fatal opioid overdoses.

3.   In contrast to my work as a physician, as a pharmacoepidemiologist, I focus on “the study of the uses
     and effects of drugs in well-defined populations.” 1 Pharmacoepidemiology is a bridge discipline that
     combines insights and tools from clinical medicine, pharmacology, and epidemiology to generate
     fundamental new knowledge regarding the utilization, safety, and effectiveness of prescription drugs.
     It also concerns itself with understanding the effects of pharmaceutical policy, such as regulatory or
     payment policies that influence prescription drug use. As a pharmacoepidemiologist, much of my work
     has focused on the nature, quality, and determinants of prescription drug utilization in the United
     States, although I have also conducted or participated in many investigations examining the safety of
     specific products. I have used many different data for this work, often data that has already been
     assembled for other purposes, such as administrative claims data from health plans or large national
     surveys.




a
 Plaintiffs are Cabell County Commission and the City of Huntington, West Virginia. Throughout this report, the Cabell-
Huntington Community or the Community refers to the entire community of Cabell County and the City of Huntington.
b
 Definitions of terms such as “opioid use disorder”, “addiction”, “non-medical opioid use”, and “misuse” are provided in Dr.
Katherine Keyes’ expert report.
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4. During the past decade, I have devoted much of my professional
   time to addressing the opioid epidemic. I have served as one of
   three Co-Editors of monographs issued by the Johns Hopkins
   Bloomberg School of Public Health providing comprehensive,
   concrete, evidence-based solutions to the epidemic. These
   monographs were issued in October 2015 and October 2017
   (Figure 1); the latter report is provided as Appendix A. I have
   also testified in front of the U.S. Senate and the U.S. House of
   Representatives; briefed groups such as the National Governors
   Association, the Food and Drug Administration, Congressional
   Black Caucus, Centers for Medicare and Medicaid Services, and
   the National Academy of Science, Engineering and Medicine;
   and participated in efforts to improve the safe use of prescription
   opioids within Johns Hopkins Medicine and other health
   systems. My work focused on the epidemic has been funded by
   the Department of Health and Human Services Assistant
   Secretary for Planning and Evaluation (DHHS/ASPE), the
   Centers for Disease Control and Prevention (CDC), the Robert
   Wood Johnson Foundation, and the National Institutes of Health
   (NIH).

5.   I have published extensively about opioids, including analyses of prescription opioid use in the U.S. 2,3
     as well as evaluations of the structure and impact of regulatory4,5,6,7,8,9,10,11,12,13,14,15,16,17 and
     payment18,19,20,21,22 policies on opioid prescribing, dispensing, and utilization. I have also co-authored
     policy perspectives,23,24 a widely referenced public health review of the epidemic,25 and a recent
     analysis of the potential impact of the coronavirus pandemic on the care of individuals with OUD. 26

6.   In addition to these studies, I have also led or participated in teams examining many other facets of the
     crisis, including: availability of naloxone in retail pharmacies; 27 opioid initiation among members of
     households with a prescription opioid user; 28 the effect of reformulated Oxycontin on opioid
     utilization;29 physicians’ knowledge and attitudes regarding non-medical opioid use; 30 use and impact
     of medication for opioid use disorder (MOUD); 31,32,33 the costs and healthcare utilization associated
     with high-risk opioid use;34 use of automated algorithms to identify non-medical opioid use; 35 the
     relationship between high-risk patients receiving prescription opioids and high-volume prescribers; 36
     opioid use and safety among individuals with human immunodeficiency virus (HIV), 37,38 chronic
     kidney disease,39,40,41 or recent surgery;42,43,44,45,46 and potential financial conflicts of interest among
     organizations opposed to the CDC’s 2016 Guideline for Prescribing Opioids for Chronic Pain. 47,48

7.   The studies I have performed examining the opioid epidemic have used a variety of epidemiologic
     methods, including: descriptive analyses based on cross-sectional, serial cross-sectional, and period
     prevalence designs; retrospective cohort studies using difference-in-difference, interrupted time-
     series, comparative interrupted time-series, and time-to-event designs; prospective cohort studies;
     qualitative assessments using grounded theory; and narrative and systematic reviews. A complete list
     of my publications is contained in my curriculum vitae (Appendix B).

8.   In the first bellwether trial case in In re: National Prescription Opiate Litigation before Judge Dan
     Polster, I served as an expert witness on the nature of the opioid epidemic, both nationally and in the
     bellwether counties, and on evidence-based and evidence-informed approaches to abate the epidemic.
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   I provided an expert report and was deposed in that case. I have also served as an expert witness
   in State of Washington v. Purdue Pharma, where I offered an opinion on the nature of the epidemic in
   Washington, and crafted an evidence-based and evidence-informed abatement plan to effectively
   address the epidemic there.

9.   I received a B.A. cum laude from the University of Pennsylvania (Philosophy) in 1993, an M.D. from
     Case Western Reserve University in 1998, and an M.S. from the University of Chicago in 2003. A
     more complete description of my qualifications is found in my curriculum vitae. I performed this work
     through Monument Analytics, a health care consultancy that I cofounded that is separate and distinct
     from Johns Hopkins, and I was assisted during this process by Monument Analytics’ employees and
     consultants. My rate of compensation for this matter is $900 per hour. I am also reimbursed for my
     out-of-pocket expenses. I am not compensated based on the outcome of this matter nor the substance
     of my report.

10. The opinions and conclusions in this report are based on the information and documentation that was
    available to me at this time, and they are my own, rather than those of Johns Hopkins University. I
    reserve the right to supplement and revise these perspectives based on additional evidence or
    information that is made available to me after the date of this report.




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II. DATA SOURCES, METHODOLOGY AND OPINIONS
11. In preparing this report, I reviewed materials from a number of sources, including: Bates-stamped
    documents and deposition testimony in this case provided to me by counsel; published reports
    regarding the epidemic; information derived from other local and national; and peer-reviewed
    literature, whitepapers, reports from public health authorities, non-profit organizations, and other
    publicly available sources. I, along with some of my team members, have also spoken with many local
    stakeholders:
     David Chaffin, MD, FACOG, Professor, Marshall University
     Ray Cornwell, Police Captain, Huntington Police Department
     Todd Davies, PhD, Assistant Professor, Marshall University; Cabell-Huntington Coalition for the
      Homeless, Executive Director
     Hank Dial, Police Chief, Huntington Police Department
     Zach Hansen, MD, Doctor, Valley Health
     Tim Hardesty, Assistant Superintendent, Division of District Support and Employee Relations,
      Cabell County Schools
     Rocky Johnson, Police Captain, Special Investigations Bureau (Former), Huntington Police
      Department
     Michael Kilkenny, MD, Director, Cabell County Department of Public Health
     Marcia Knight, Director of Education, Cabell County EMS
     Sean Loudin, MD, Associate Professor, Marshall University School of Medicine
     Gordon Merry, Director, Cabell County EMS
     Steve Murray, Assistant Director, Cabell County EMS
     Lyn O’Connell, PhD, Associate Director of Addiction Sciences, Marshall Health
     Stephen Petrany, MD, Chair of Family & Community Health, Marshall University School of
      Medicine
     Jan Rader, Fire Chief, Huntington Fire Department
     Keith Thomas, Coordinator of Student Support, Cabell County Schools
     Ellen A. Thompson, MD, Professor, Marshall Health
     Kelly Watts, Assistant Superintendent, Division of Instruction and Leadership, Cabell County
      Schools
     Beth Welsh, Associate Director of Operations for Addiction Sciences in Family Medicine, Marshall
      University
     Steve Williams, Mayor, City of Huntington
     Chuck Zerkle, Sheriff, Cabell County Sheriff's Office

    Many of my findings are based on prior investigations that my team and I have either performed or
    synthesized, such as knowledge contained in Appendix A and in citations such as references #1-#48.
    A complete list of the documents I consulted in preparing this report is provided as Appendix C.

12. Several prior reports, such as the West Virginia 2020-2022 Substance Use Response Plan, 49 City of
    Solutions Guide,50 2015 and 2017 Mayor’s Strategic Plans,51,52 and key components of the Cabell
    County Resiliency Plan53 are relevant to my report given their authorship and focus. The Cabell County
    Resiliency Plan is especially germane given its comprehensiveness, recency and local applicability. It
    sets forth evidence-based interventions that are consistent with those proposed herein as well as those
    that have been proposed in other local plans and plans nationwide. My goal was not to recreate or
    replace the Cabell County Resiliency Plan or other proposals, but rather, to complement them with
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   additional analysis that includes: (a) a more detailed examination of the scientific evidence-base
   underlying varied abatement interventions; (b) estimates of the size of specific populations in need,
   such as the number of individuals within the Community that have HIV attributable to opioid use; (c)
   additional interventions that complement local plans, such as academic detailing, a specialized
   overdose law enforcement unit and community-wide naloxone “lock boxes”. The population estimates
   presented in my Redress Model, enclosed as Appendix D, are derived from data from local government
   entities (e.g., Cabell Huntington Health Department, Cabell County Emergency Medical Services),
   federal agencies (e.g., Centers for Disease Control and Prevention [CDC], Substance Abuse and Mental
   Health Services Administration [SAMHSA], Department of Justice), community-based organizations
   (e.g., Harm Reduction Coalition), peer-reviewed publications, and both my and others’ expert opinions.
   The selection of each estimate was driven by the strength of evidence and appropriateness of the data
   for the specific context at hand. I discuss my approach to evaluating evidence further in Paragraphs
   #14 and #15. Overall, I took a conservative approach to derive the population estimates included in my
   Redress Model.

13. The layout of my Redress Model mirrors the layout of this report. For each abatement intervention, I
    list the estimated size of the target population, how it was derived and the sources that I used. For
    example, I used data from the U.S. Fire Administration, Cabell County Emergency Medical Services,
    and local police and Sheriff's departments to estimate the number of first responders (firefighters,
    emergency medical technicians [EMTs] and paramedics, and police officers) in the Community that
    should be provided with naloxone and training regarding its use. For each abatement category, I first
    estimate the size of each relevant population for 2021 and then I project how these populations are
    likely to change over a fifteen-year period from 2021 through 2035. For example, I project changes in
    the number of first responders using annual employment growth rates based on data from the U.S.
    Department of Labor, Employment & Training Administration (West Virginia O-NET data). More
    information regarding the sizes of different populations, as well as the methods that I used to project
    them over time, is provided within the Redress Model.

14. My review of the scientific evidence base was based on a stepwise process building on the foundation
    of literature regarding the opioid epidemic that I was already aware of. To supplement my knowledge,
    I reviewed the content of additional academic and governmental studies, including both their reference
    lists as well as subsequent reports that have cited them. I also reviewed reports such as those discussed
    in Paragraph #12 for additional sources of scientific information. Finally, in some instances, additional
    candidate articles were identified based on keyword searches of major bibliographic databases such as
    PubMed. In evaluating studies, I used a number of qualitative criteria that are often useful in evaluating
    the strength of scientific evidence supporting a given scientific finding or claim. These include factors
    such as the publishing journal, authorship team, affiliated institutions, funding source(s), data source(s),
    methodologic approach, and interpretation.c The “Hill Criteria” (strength of association, consistency,
    specificity, temporality, biological gradient, plausibility, coherence, experiment, and analogy) are also
    an important means of evaluating the strength of causal inference possible from a given scientific study,
    and I have applied this criteria as well. 54

15. For some remedies to abate the Community’s opioid epidemic, such as OUD treatment or naloxone
    distribution and training, the evidence-base is vast, with thousands of peer-reviewed manuscripts
    examining this matter. In these settings, formal evidence syntheses were often available, typically

c
  Neither these criteria nor the Hill Criteria are absolute. Rather, they serve as contextual factors that provide qualitative
information that can be useful in examining the credibility of scientific claims.
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   systematic reviews that represent a pre-specified, transparent, reproducible, highly structured approach
   to curating and critically appraising the totality of information required to address a carefully specified
   question. Because of their comprehensiveness and rigor, such evidence-syntheses are often regarded
   as at the top of the “evidence pyramid”.55 For some abatement interventions, I also used information
   available from authoritative sources such as the CDC, National Institute on Drug Abuse (NIDA), or
   SAMHSA.

16. There is widespread consensus in both clinical and public health communities that the abatement
    measures identified in this report are effective in reversing opioid-related morbidity and mortality. The
    measures discussed herein are consistent with the Resiliency Plan, the Mayor’s Office plans, and the
    State’s Opioid and Substance Response Plans, and have been put forth by numerous consensus panels,
    task forces, professional society organizations and others. Disagreement about these solutions, when
    present, has tended to focus more on the priority of the interventions given limited funding (e.g., how
    much should be spent on law enforcement vs. MOUD, 56 as well as in some cases, the potential
    unintended effects of some interventions. Fortunately, there is a large evidence base to guide the
    selection of interventions that should be undertaken in the Community, and also a recognition of the
    critical point, as expressed by former Congressman John Delaney, “that the cost of doing nothing is
    not nothing”.57

17. I conclude that an opioid epidemic currently exists within the Community. This epidemic continues to
    result in high levels of opioid-related morbidity and mortality as described in this report and in materials
    that I have reviewed to prepare it. I further conclude, based on my experience in epidemiology, clinical
    medicine, and public health, my extensive application of these fields to the opioid epidemic and my
    analysis in this case, including review of the Resiliency Plan and other Community materials, that I am
    able to determine what additional evidence-based and evidence-informed measures and approaches
    should be used to reduce opioid-related harms. These measures and approaches are described below.
    The specific utilization and combination of measures should be subject to the opinions of stakeholders,
    policy-makers, and subject matter experts in the Community.

18. Based on the sweeping scientific support for the abatement interventions I have proposed herein, many
    of which have already been implemented in the Cabell-Huntington Community, I believe that
    coordinated, all-encompassing efforts that respond to the evolving epidemic could reduce cumulative
    opioid overdoses and opioid-related harms by 50% over fifteen years. 58 These findings, in addition to
    the research I have conducted throughout my career, have informed the timeline for my Redress Model.
    In addition, as I discuss later, interventions such as MOUD, naloxone distribution, and harm reduction
    programs don’t just make good public health sense, they also make good economic sense with positive
    returns on investment (Paragraph #227).

19. The next sections of my report discuss indicia of the opioid epidemic in the United States as well as
    the Community. After that, I discuss principles that should govern an effective response,
    misconceptions that must be addressed, and the importance of customizing abatement efforts to the
    needs of the Community’s unique Appalachian cultural and heritage.




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III. INDICIA OF OPIOID CRISIS AND ABATEMENT EFFORTS IN THE CABELL-
     HUNTINGTON COMMUNITY
20. Between 1992 and 2010, the volume of opioids prescribed in the U.S. increased by approximately 400
    percent.59 Rates of addiction, overdose deaths, and many other opioid-related harms increased in
    parallel.60 Between 1999 and 2018, nearly 450,000 individuals in the U.S. died from a opioid
    overdose.61 In 2017 alone, an estimated 47,600 people died in the U.S. from opioids, more than from
    motor vehicle accidents, suicide, gun violence, or AIDS at the peak of that epidemic. 62 For each year
    between 2015 and 2017, life expectancy in the U.S. declined, fueled in part by the opioids epidemic. 63
    The origins of the present-day national opioid epidemic are described further in the expert report of Dr.
    Daniel Ciccarone. Despite modest declines in opioid use since 2010, they remain vastly overused, both
    relative to pre-epidemic baseline as well as to other parts of the world (Figure 2). This overuse is a key
    driver of ongoing injuries and deaths from the epidemic.




21. The devastation from the opioid epidemic, which has been closely linked to prescription opioid
    oversupply, is especially severe in the Cabell-Huntington Community, which has been referred to as
    the “overdose capital of the world”.64,65 At the peak of opioid prescribing, in 2012, the opioid
    prescribing rate in Cabell County was twice the overall rate in the U.S. (167.5 vs 81.3 per 100 residents,
    respectively).66,67 In 2015, 40 million opioid prescriptions entered Cabell County, enough for more than
    400 pills for every adult and child in the County. 68 Despite significant reduction in the opioid
    prescribing rate, the 2018 opioid prescribing rate in Cabell County remains nearly two-times higher
    than the overall rate in the U.S. (92.1 vs 51.4 per 100 residents, respectively). 69

22. This oversupply of opioids has contributed to a “synergistic epidemic”, or syndemic – the worst type
    of opioid epidemic – due to the high rates of mortality across multiple opioid classes and linked health
    problems that result in excess burden in the population. 70 Between 2001 and 2016, the number of
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   individuals in West Virginia that have died from an overdose increased four-fold. 71 At least 83% of
   these overdoses were caused by an opioid overdose.72 Though the sharp rise in opioid deaths in West
   Virginia has largely been driven by heroin and fentanyl since 2014, between 2014 and 2016, deaths
   due to prescription opioids increased by 42%.73 Within a six-hour time window on August 15, 2016,
   twenty-six people overdosed on opioids in Huntington. 74 In 2017, emergency services in Cabell County
   responded to, on average, over five overdoses a day; 75 152 of these overdoses were fatal.76 In 2019,
   there were 754 overdose-related visits to the two emergency departments (ED) in Cabell County. 77 For
   every life that has been lost, countless others have been affected by OUD or other collateral harms,
   further decimating this close-knit Appalachian community.

23. During the past decade, the opioid epidemic in the Community has been further complicated by an
    abrupt rise in heroin-related overdoses and overdoses from synthetic opioids such as illicitly
    manufactured fentanyl.d There is a clear link between non-medical use of prescription opioids and
    subsequent heroin or illicit fentanyl use – for example, heroin and fentanyl are close chemical
    analogues to prescription opioids.78 In addition, several studies suggesting that 70-80% of current
    heroin users report non-medical prescription opioid use prior to initiating heroin. 79,80 An investigation
    conducted in Cabell County between June and July 2018 estimated that 1,857 residents inject drugs,
    amounting to one in forty (2.4%) adults in the Community. 81 Of those surveyed, more than three in
    five (63.5%) used prescription pain medications and 21.7% injected prescription pain medication; four
    in five (82%) injected heroin and over half (51.7%) injected fentanyl. Between 2012 and 2017,
    overdose deaths due to fentanyl increased over 20% in West Virginia. 82

24. The incidence of neonatal abstinence syndrome (NAS) is also markedly elevated, with rates ten-times
    higher in Cabell County than the rest of the U.S.83 Between 2007 and 2013, the incidence of NAS
    quadrupled in West Virginia, from 7.74 to 31.56 per 1,000 live births. 84 In 2017, there were 62.3 NAS
    cases per 1,000 births in Cabell County. 85 Nearly one-in-five (17.6%) of umbilical cords tested positive
    for opioids at Cabell Huntington Hospital.86 West Virginia babies born with NAS during this time were
    2.5-times more likely to have respiratory diagnoses, 3.7-times more likely to have feeding difficulties,
    and 7.5-times more likely to have seizures. From October 2016 to December 2017, it is estimated that
    around one in ten births (10.5%) in West Virginia were babies diagnosed with NAS. Within the substate
    region that contains Cabell County, around 670 infants were diagnosed with NAS. 87 The West Virginia
    Department of Health and Human Resources estimates that one in seven (14.3%) babies born in the
    state may experience long-term consequences resulting from drug exposure during pregnancy. 88

25. In addition to the high number of infants born with NAS, the opioid epidemic has led to an increase of
    children being placed in foster care. Between 2009 and 2018, the number of children in foster care in
    West Virginia increased from 4,237 to 7,138. 89 In 2016, nearly one in five (16%) of the foster care
    placements in West Virginia were infants and half (47%) were due to parental substance use. 90 Youth
    in the Community are adversely affected by substance use in their families, peer groups and broader
    community. In 2016, 4% of middle and high school students in Cabell County reported the use of
    prescription drugs in the past 30 days.91 Our own work suggests an increased risk of opioid initiation
    among household members of those prescribed opioids 92 – including an increased risk of opioid


d
  More recently still, the increasing presence of synthetic opioids in illicit drugs such as cocaine and methamphetamine, as well
as rising stimulant-related deaths, has raised new concerns. Polysubstance use is common among individuals with OUD. While
a comprehensive review of other use disorders (e.g., tobacco, alcohol, stimulants) is beyond the scope of this report, abatement
approaches to reduce opioid-related harms must be informed by the presence of other use disorders among many with OUD.
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   overdose among adolescents and young adults.93 Between January 2019 and March 2020, there were
   122 overdose-related visits to Cabell County EDs for youth aged 19 years and younger. 94

26. Harms from the opioid crisis have not gone unchecked, and despite a severe lack of resources, the
    Community has nevertheless mobilized in many ways to address the challenges head-on, including
    through increased prevention (e.g., take-back programs); harm reduction (e.g., syringe services,
    naloxone distribution and training); and treatment (e.g., MOUD). For example, one of the lessons from
    the August 2016 overdose crisis is the importance of reaching out to hospitalized individuals to link
    them with ambulatory OUD treatment. 95 Project Engage, which has been implemented in Cabell
    Huntington Hospital and St. Mary’s Hospital, combines substance use disorder (SUD) screening in
    EDs and inpatient units with “warm handoffs” between clinicians and peer recovery specialists to link
    individuals to treatment. In 2018, the Provider Response Organization for Addiction Care Treatment
    (PROACT) opened to serve as a community-hub for SUD treatment and referral services. 96 PROACT
    bridges gaps in treatment by addressing the clinical, behavioral, and spiritual components of SUD.
    Additionally, PROACT expands medications for addiction treatment (MAT) capacity within Cabell by
    engaging multiple providers to serve in the clinic part-time, instead of employing one full-time
    physician.97

27. Similarly, concerns regarding the effect of OUD on pregnant women, new mothers and infants have
    led to remarkable transformation in the Community’s systems of care to manage OUD among expectant
    mothers and their offspring. In addition to universal screening of pregnant women, babies with NAS
    are provided specialized care in the Neonatal Therapeutic Unit at Cabell Huntington Hospital and Lily’s
    Place. MOUD is available to women through the Maternal Addiction Recovery Center (MARC) or
    Maternal Opioid Medical Support (MOMS),98 while the Knowledge in Developmental Steps (KIDS)
    Clinic offers speech, language, feeding, and psychological or psychosocial services to children with
    NAS.99 Though much is still unknown regarding the long-term trajectories of children with NAS,
    young children born with NAS have increased risk of socio-behavioral abnormalities 100 and poorer
    school performance101 indicating that neurocognitive and physical effects may persist through
    adolescence and require expanded services into adulthood. 102

28. Another important component of the Community’s response to the epidemic has been the provision
    and expansion of harm reduction services. In 2015, the Cabell Huntington Health Department
    implemented the first Harm Reduction and Syringe Services Program (SSP) in West Virginia and has
    served as a model for Harm Reduction Programs throughout the region. The SSP has been effective at
    reaching and delivering services to residents. In 2016, the SSP served nearly 2,000 clients, distributed
    300,049 syringes, and collected 232,067 syringes.103 By September 2019, there were more syringes
    being turned into the program than given out. 104

29. These and other responses reflect a high degree of collaboration between community organizations and
    other stakeholders,e and fortunately, there are glimmers of hope, with preliminary data suggesting a
    22-26% decline in opioid-overdose deaths between 2017 and 2018 in Cabell County. 105 Additionally,
    the efforts of the Harm Reduction Program have coincided with reductions in the rate of new HIV
    infections linked to injection drug use, and without the program, the incidence of HIV diagnoses may
    have been over two-times higher than the current level. 106 However, for every glimmer of hope, there
    are other signs that the epidemic is as active as ever,107 many barriers persist, programs are vastly under-

e
 Such stakeholders include the Cabell Huntington Health Department, Marshall University, Marshall Health, Cabell
Huntington Hospital, Saint Mary’s Medical Center, and the City of Huntington.
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   resourced and the Community remains hard pressed to address them while simultaneously addressing
   strong adverse environmental and social factors that continue to fuel the epidemic. 108,109 As but one
   example of the seriousness of the current challenges, Cabell County EMS reported that the number of
   overdoses they responded to in May 2020 were two to three times higher than the prior nine
   months.110,111

30. This is of particular concern because, as we 112 and others113,114 have argued, the novel SARS-CoV-2
    coronavirus (COVID-19) pandemic injects new urgency into efforts to address the opioid epidemic,
    given that it comes at a time when our country’s response to the opioid epidemic was just starting to
    coalesce. One major concern is that the pandemic has disrupted care, including access to medications
    for addiction treatment, for many with OUD. Fortunately, SAMHSA, 115 the Drug Enforcement
    Administration,116 and Centers for Medicare and Medicaid Services have responded by relaxing or
    clarifying rules and regulations so as to allow for greater provision of take-home methadone, remote
    prescription of controlled substances and reimbursement for telehealth services. Another is that many
    individuals with OUD have chronic comorbid conditions, as well as tobacco use, that place them at
    higher risk from critical illness or death should they become infected with COVID-19. 117 Yet a third
    major concern arises from the fact that addition is “a disease of isolation”. For an already marginalized
    group, the social distancing and other measures instituted in response to the global pandemic pose
    particularly profound risks. As we argue in our recent analysis, referring to response efforts underway
    to meet the needs of those impacted by the opioid epidemic, “These efforts will require new
    partnerships, unprecedented use of technology, and the dismantling of antiquated regulations. The
    greatest strength of the treatment system has always been compassion and care for the most
    vulnerable—qualities needed now more than ever.”118




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IV. PRINCIPLES GOVERNING EFFECTIVE RESPONSE
31. Despite the unprecedented injuries and deaths from the
    opioid epidemic, there is virtual consensus in the clinical,
    public health, and health policy communities that the
    epidemic can be abated. This consensus is reflected in the
    high concordance between a November 2017 report from
    the current Administration regarding the opioid
    epidemic,119 a report that I Co-Edited and was released by
    the Johns Hopkins Bloomberg School of Public Health, 120
    and other groups’ recommendations to prevent further
    harms.121,122,123 The Johns Hopkins report, enclosed as
    Appendix A, stemmed from three principles (Figure 3)
    that provide a valuable basis for current efforts.

32. In order to abate the epidemic, it is also important to eliminate common misconceptions about opioids
    and the ensuing epidemic, since inaccurate, misleading or false statements about the epidemic have
    allowed it to flourish. Examples of such misconceptions include:
        Misconception #1: If a patient has “organic” pain, one need not worry about the addictive potential
        of opioids.
        Reality: There is no evidence that organic pain prevents opioid addiction, and the notion that
        opioids are typically safe for chronic, non-cancer pain has contributed to their vast overuse.

        Misconception #2: The primary driver of the epidemic is one of abuse, rather than addiction.
        Reality: Abuse is a behavior and addiction is a disease; there are many lines of evidence
        demonstrating that addiction, rather than abuse, is the primary cause of opioid-related morbidity
        and mortality.

        Misconception #3: The epidemic is largely driven by devious individuals such as rogue physicians
        and patients who are “doctor-shoppers”.
        Reality: Rogue physicians and “doctor-shoppers”, while very important to identify and manage,
        account for a small proportion of opioid-related harms.

        Misconception #4: If we constrain access to prescription opioids, it will just push people to heroin.
        Reality: There are many factors that contribute to heroin use, and the potential for opioid policies
        “pushing” people to heroin underscores the need for significant treatment expansion in the United
        States.




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V. ABATEMENT FRAMEWORK
 33. There are three major categories of remedies that must be undertaken to address the opioid epidemic
     in the Cabell-Huntington Community. f,g First, we must improve the opioid prescription practices and
     the treatment of pain, since opioid oversupply has been a key driver of the epidemic. 124,125 Second, we
     must identify and treat individuals with OUD. This is important because even if prescription opioids
     were to be responsibly marketed, promoted, and used beginning tomorrow, there are still several
     thousand individuals in the Community with OUD, many of whom require active treatment and all of
     whom deserve access to care if and when treatment or recovery services are sought. Third, we must
     customize abatement remedies for specific subpopulations of the Community, including: pregnant
     women, new mothers, and infants; adolescents and young adults; families and children; the homeless
     and those with housing insecurity. We must also address the large number of individuals who may
     misuse opioids but who do not yet not fulfil formal criteria for OUD.

 34. No single abatement remedy that is proposed can fully address the oversupply of opioids and associated
     morbidity and mortality in the Community; there are no magic bullets, and thus underscores the
     importance of intervening comprehensively as noted in the Cabell County Resiliency Plan. Also, some
     of the abatement remedies discussed may interact with one another in synergistic fashion, and
     successful implementation of some strategies may be dependent upon the simultaneous intervention of
     other strategies. For example, initiatives to decrease stigma and educate law enforcement and other
     community members about addiction may increase the demand for treatment, while expansions in
     treatment capacity to meet such demand may decrease rates of active OUD, which in turn may decrease
     overdose deaths and the need for naloxone. The dynamic nature of the epidemic, as well as the potential
     for these sorts of interactions, speaks to the vital need for surveillance and leadership as outlined in
     Section 1F. This will maximize the ability of communities to respond effectively to near real-time
     intelligence regarding key parameters of the epidemic and thus to use, and redirect, resources to
     maximize their public health value.

 35. Some abatement approaches may be framed in the context of looking forward ten or fifteen years. h
     However, the legacy of the opioid epidemic will endure in the Cabell-Huntington Community far
     beyond that. This is because while OUD can be treated and may remit, it is not curable, and some
     individuals with OUD will require treatment indefinitely. 126,127,128 Others have acquired HIV and/or
     hepatitis C (HCV) as a result of an addiction that began with prescription opioids, 129,130 and they may
     require indefinite care for these comorbid conditions. Foster care for those orphaned by the epidemic,
     child welfare services, and services for children impacted by opioid use in utero must be resourced to
     address the needs of children and young adults as they grow and develop. Opioid use and its sequela
     also contribute to intergenerational trauma that propagates throughout time. For many, living healthy,
     productive lives in recovery is an active process, and thus to be successful, individuals must be
     supported with long-term resources to maximize their opportunities for success.



 f
  Other interventions are important in addressing the epidemic yet beyond the scope of this report, such as changes to coverage
 and reimbursement policies so as to improve options for pain treatment and reduce financial barriers to OUD treatment.
 g
  While there are other ways to classify potential remedies, the elements within these remedies are remarkably consistent across
 different abatement proposals put forth locally and nationally, reflecting the widespread consensus about what needs to be done.
 h
   This medium-term view strikes a balance – it is long enough to support infrastructure development and several cycles of
 planning and evaluation while avoiding some of the uncertainty entailed in trying to anticipate the magnitude of sequelae from
 the epidemic that may last decades or even generations.
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36. Here and throughout, while I suggest remedies that should be included as part of a comprehensive
    abatement plan, and while I consider programs that are already underway, I leave it to the Community i
    to determine the degree to which further investment should be undertaken.

    For each of the categories below, in the following sections of my report I provide background and
    scientific context, components of the proposed abatement interventions corresponding to each category,
    and concluding thoughts. Population estimates for each category are provided in the Redress Model
    (Appendix D).

       Category 1: Prevention – Reducing Opioid Oversupply and Improving Safe Use
           1A. Health Professional Education
           1B. Patient and Public Education
           1C. Safe Storage and Drug Disposal
           1D. Community Prevention and Resiliency
           1E. Harm Reduction
           1F. Surveillance, Evaluation, and Leadership

       Category 2: Treatment – Supporting Individuals Affected by the Epidemic
           2A. Connecting Individuals to Care
           2B. Treating Opioid Use Disorder
           2C. Managing Complications Attributable to the Epidemic
           2D. Workforce Expansion and Resiliency
           2E. Distributing Naloxone and Providing Training

       Category 3: Recovery – Enhancing Public Safety and Reintegration
           3A. Public Safety
           3B. Criminal Justice System
           3C. Vocational Training and Job Placement
           3D. Reengineering the Workplace
           3E. Mental Health Counseling and Grief Support

       Category 4: Addressing Needs of Special Populations
           4A. Pregnant Women, New Mothers, and Infants
           4B. Adolescents and Young Adults
           4C. Families and Children
           4D. Homeless and Housing Insecure Individuals
           4E. Individuals with Opioid Misuse




i
 Stakeholders include, but are not limited to, public health and law enforcement; treatment providers and systems; behavioral
health providers and systems; educators; community advocates; employers; payers; and the courts.
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CATEGORY 1: PREVENTION – REDUCING OPIOID OVERSUPPLY AND IMPROVING SAFE
OPIOID USE
The goal of this category is to reduce the widespread oversupply of prescription opioids in the Cabell-
Huntington Community so as to decrease injuries and deaths from these products. j This is important because
the oversupply of prescription opioids during the past two decades has been an important driver of the
opioid epidemic, both locally and nationally.k Harm from this oversupply arises from many points in the
continuum of care, ranging from how clinicians treat pain to the diversion of opioids throughout the supply
chain.

A. Health Professional Education
The goal of this remedy is to train health care providers, including prescribers and other health care
personnel – including those employed by Cabell County and the City of Huntington – such as dispensers
(pharmacists) and emergency medical technicians (EMTs), regarding the appropriate use of opioids in
clinical practice, as well as how to identify and appropriately respond to patients who may have OUD. This
is important because historically, many providers have overestimated the effectiveness of opioids and/or
underestimated their risks. This has contributed to the oversupply of opioids, not only with respect to
whether they are used at all, but also with respect to the dose and duration of use. In addition, OUD is often
not recognized in clinical practice, and even when recognized, the delivery of treatment and recovery
services often falls short.
37. One of the most systematic and well-studied approaches to direct training of prescribers, sometimes
    referred to as “academic detailing”, should be employed. Academic detailing is a method of evidence-
    based, interactive outreach to prescribers that uses trained personnel to make face-to-face visits with
    clinicians to promote optimal prescribing and improve the quality of patient care. Established in the
    1980’s, there are dozens of studies that provide evidence of its value, 131,132,133,134 including a recent
    investigation indicating large decreases in opioid prescribing following a multi-level intervention that
    included academic detailing. 135 A systematic review of the impact of provider education, the most
    comprehensive assessment of its kind, concluded that this strategy results in significant improvements
    in prescribing quality,136 and is consistent with a large literature overview examining the effectiveness
    of interventions to shape prescriber behavior. 137
38. In addition to the numerous studies summarizing the evidence base for academic detailing outlined
    above, some studies also have examined the potential impact of such education on opioid-related
    measures. For example, a quality improvement study comparing a six-month pre-intervention baseline
    with a 16-month post-intervention period ending in April 2018 at a regional health system in Maryland
    documented a nearly 40% decrease in the overall opioid prescription rate, 60% decrease in the quantity
    of opioids prescribed per visit, and a reduction in the strength of opioids prescribed following a public
    and provider education campaign.138 Patient satisfaction surrounding pain management in the ED also
    improved. Similarly, a multi-modal intervention between 2010 and 2015 using surveillance, academic
    detailing, and clinical decision support tools within Kaiser Permanente Southern California was
    associated with a 30% reduction of high-dose opioids, 98% reduction in large quantity (i.e., over 200
    pill) opioid dispensing, and a 72% reduction of long-acting and extended-release opioids among 3.2
    million adults in the Kaiser Permanente Southern California system. 139 Given that opioid prescribing

j
 This category excludes consideration of Drug Enforcement Agency (DEA) quotas, controlled substance scheduling and other
mechanisms federal government may use to reduce supply of opioids or precursors in the marketplace.
k
 Reductions in opioid oversupply will also decrease opioid demand, since opioids are highly habit forming, tolerance quickly
develops and a substantial minority of individuals receiving chronic opioids develop OUD.
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   rates in Cabell County remain two-times above the national rate,140 interventions targeting prescribers
   may be especially valuable to reduce opioid oversupply in the Community.
39. Academic detailing has also been used to increase naloxone use. 141,142 For example, an analysis of
    Veterans Affairs (VA) facilities between 2014 and 2017 found that facilities that received academic
    detailing had a five-times higher rate of naloxone prescribing than their counterparts. 143 Of the
    estimated increase of 15,000 naloxone prescriptions among facilities receiving academic detailing, two
    thirds went to patients at a high risk of overdose due to the quantity or type of opioids prescribed.
    Another study, of 40 primary care providers in San Francisco, found that those receiving detailing had
    a ten-fold higher rate of prescribing naloxone than their counterparts; 144 physician participants reported
    that as a result of the educational outreach, they were able to open new conversations with patients to
    promote safer and more compassionate care.
40. Efforts to reduce the oversupply of opioids should be coupled with information regarding the principles
    of sound pain management, including through a focus on comprehensive assessments,
    multidisciplinary management, and functioning rather than pain levels per se. Opioids represent just
    one of a large number of pharmacologic and non-pharmacologic treatments that providers and patients
    may use for the treatment of pain. Alternative pharmacologic treatments include acetaminophen, non-
    steroidal anti-inflammatories (NSAIDs), antidepressants, anticonvulsants, and topical analgesics; 145
    while non-pharmacologic treatments for pain include physical therapy, occupational therapy,
    chiropractic care, acupuncture, and psychological interventions. 146 In addition, the care of pain among
    those already engaged in opioid misuse or with OUD requires additional skill and training given the
    need for clinical management of both.
41. Training on the management of patients who have been maintained on chronic opioids is also
    important, especially the subset of patients on high-dose opioids (e.g., greater than 90 morphine
    milligram equivalents per day). Since patients using opioids chronically are physically dependent on
    them,l they must not have their opioids abruptly discontinued, nor should tapering be performed
    unilaterally. An increasing number of guidelines for tapering opioids among these individuals are
    available.147,148 These guidelines include information on when tapering should be considered among
    patients on long-term opioid treatment, which often occurs when adverse effects or the risk of adverse
    effects (e.g., sedation, drowsiness, constipation, nausea) outweigh potential benefits with respect to
    reductions in pain and improvements in physical, psychological and/or social functioning. 149 The
    guidelines also speak to the optimal management of individuals who, based on taper failure, may fulfil
    criteria for persistent opioid dependence and who may be best managed through long-term opioid
    treatment, such as buprenorphine or methadone.
42. While there are many criteria that could be used to select physicians who should receive academic
    detailing, a conservative approach would be to focus on approximately 10% of all active, ambulatory
    patient-care prescribers – those that account for the highest prescribed opioid volume. m Because opioid
    prescribing is highly skewed, such a focus, properly designed, could reach prescribers accounting for
    the majority of opioids in the marketplace. For example, we previously found that fewer than 5% of
    prescribers in Florida accounted for approximately two fifths of opioid prescriptions and two thirds of
l
 Within a few weeks or less, all patients using opioids develop physical dependence, a predictable neurochemical change
associated with sustained use. By contrast, addiction is far less predictable, represents compulsive use despite harm, and is often
associated with impairment in social, psychological and/or physical functioning.
m
  While this discussion focuses on ambulatory care, an increasing number of evidence-based guidelines are also available for the
post-surgical setting, where opioids have also been heavily oversupplied; an academic detailing program should also be
considered for these prescribers as well.
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   opioid volume during a given calendar year.150 Similarly, a study of workers compensation claims in
   California indicated that approximately 87% of opioid volume was accounted for by the top 10% of
   prescribers.151

43. Since academic detailing should target high volume prescribers in the Community, it must be based on
    information regarding specific individuals’ prescribing behaviors. One source of such information
    would be West Virginia’s Board of Pharmacy Controlled Substance Monitoring Program (CSMP), the
    Controlled Substance Automated Prescription Program (CSAPP). 152 An alternative source of similar
    data would be from a market intelligence firm, such as Symphony Health or IQVIA. These companies
    license data regarding prescription drug prescribing to pharmaceutical companies and other clients, and
    may represent a source of more efficiently gathered, possibly better curated and more timely
    information regarding both physician and non-physician prescribers (e.g., advanced nurse practitioners,
    physicians’ assistants).153

44. The value of provider education lies in the quality of the information that is delivered. Thus, the
    information must be of the highest quality and from the most reputable sources. A natural foundation
    for this effort would be the 2016 Centers for Disease Control and Prevention (CDC) Guideline for
    Prescribing Opioids for Chronic Pain, given the credibility of the CDC, the extraordinary rigor that was
    exercised in its development, as well as the widespread endorsement that it has received. 154 This
    Guideline could be cross-referenced with other guidelines and sources used by established provider
    education programs already underway on opioids.155,156 In addition to delivering information about best
    practices, academic detailing should also include reports so that individual prescribers or dispensing
    pharmacists can review and critically evaluate their prescribing or dispensing patterns relative to peers
    at local, regional, and national levels, as well as identify instances of prescribing or dispensing that
    may warrant closer and more critical evaluation.

45. Provider education has to deliver a limited number of focused messages or it will not be effective. The
    CDC Guideline for Prescribing Opioids for Chronic Pain n includes twelve scientifically supported
    "clinical reminders" that can be used as a basis for provider education modules:
       1) Opioids are not first-line or routine therapy for chronic pain;
       2) Establish and measure goals for pain and function;
       3) Discuss benefits and risks, as well as the availability of non-opioid therapies with patients;
       4) Use immediate-release opioids when starting opioid therapy;
       5) Start with the lowest effective dosage and use caution when titrating the dose (avoid increasing
           dosages by ≥ 90 morphine milligram equivalents/day);
       6) When treating acute pain, prescribe quantities no greater than what is needed for the expected
           duration of pain that is severe enough to warrant opioids (often no more than 3 days);
       7) Follow-up and re-evaluate risks and benefits with patients as they continue opioid therapy, and
           should the harms of continued opioid therapy outweigh the benefits, taper to a lower dosage or taper
           and discontinue opioid therapy;
       8) Evaluate risk factors for opioid-related harms and incorporate risk mitigation strategies into
           treatment regimens;
       9) Utilize West Virginia’s CSMP data to determine whether a patient is receiving other therapies that
           put them at risk;

n
  While the 2016 CDC Guideline is one of the most comprehensive, authoritative and widely cited opioid guidelines, any
academic detailing program as part of an abatement remedy should be based on an assessment of the most current and suitable
sources of information for such a program.
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     10) Urine drug testing should be utilized to assess for the presence of other medications and illicit
         substances;
     11) Avoid concurrent benzodiazepine and opioid treatment; and
     12) Arrange treatment for patients with opioid use disorders. 157

46. The 2016 CDC Guideline improves upon clinical guidelines that emerged from the liberalization period
    in the 1990s in several important ways. For example, in 1997, the American Academy of Pain Medicine
    and the American Pain Society issued a consensus statement that endorsed the use of opioids to treat
    chronic, non-cancer pain, arguing that “studies indicate that the de novo development of addiction
    when opioids are used for the relief of pain is low.”158 By contrast, the 2016 CDC Guideline
    underscores the risks of addiction and other adverse events related to prescription opioids, recommends
    lower dosages, focuses on improving safe use among all, rather than “high-risk”, patients, and provides
    more specific guidance regarding how to best monitor opioid use and establish thresholds for stopping
    them in the setting of unfavorable risks/benefit balance. 159

47. The National Resource Center for Academic Detailing (NaRCAD), a center aimed to support clinical
    outreach education programs, provides an extensive directory of established provider education
    programs, including a section for those dedicated to opioid safety. 160 For example, Alosa Health is a
    non-profit that has deep experience in this area conducting state- and nationwide campaigns, including
    a recent academic detailing project in pain treatment education in West Virginia. 161,162 While
    pharmaceutical companies and PBMs both have extensive workforces available for direct prescriber
    outreach, neither would be credible in this setting given the conflicts of interest that would be posed.
    Instead, provider education programs typically recruit physicians, nurses, pharmacists or other
    individuals with a background in related health disciplines to conduct outreach.

48. Regardless of the detailer’s background, it is essential that educators have no potential commercial
    conflicts of interest, have a background in a health discipline such as medicine or pharmacy, and receive
    rigorous training on how to conduct this outreach. Lack of clinical knowledge may cripple the detailer’s
    credibility with the prescriber, making it difficult to establish a strong relationship that promotes
    rational prescribing. Furthermore, it is also important that the outreach is repeated over time, with
    follow-up visits to encourage positive changes and reinforce key messages.

49. In addition to academic detailing of prescribers, broader health professional education should also be
    considered for at least four types of health care providers in the Community:
       Licensed prescribers (beyond those selected for academic detailing based on high opioid
         prescribing), such as physicians, dentists, nurse practitioners, and physicians’ assistants, are
         important to target because they issue prescriptions for opioids and other analgesics.
       Nurses, especially in settings such as EDs, urgent care, and other settings where opioids are
         commonly used, should be targeted because they are in an influential position to shape the culture
         of pain management and to raise awareness about evidence-based methods to identify and treat
         pain and OUD.
       Dispensers, or pharmacists, should be targeted because they dispense opioids and are increasingly
         responsible for implementing drug utilization management policies and practices designed by
         payers and pharmacy benefits managers (PBMs).
       Emergency medical technicians (EMTs) are important to reach because they are often the first
         point of contact with individuals who have overdosed, and thus in a key position to bridge a
         common treatment gap that contributes to low rates of evidence-based treatment for OUD, namely,
         individuals who are resuscitated but not connected with OUD treatment.
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50. Resources permitting, education of other health care personnel, such as pharmacy technicians and
    physical therapists, should also be undertaken. Since opioid oversupply, as well as OUD, are both so
    common, these personnel also regularly engage with patients who have a high likelihood of being
    harmed by the epidemic, and thus they too are in a position to support a required cultural shift in the
    paradigm of pain and OUD identification and management in the U.S.

51. In addition, while training and professional development of health care personnel such as doctors,
    nurses and EMTs is vital, additional educational capacity-building, as well as technical assistance, must
    be employed if the opioid epidemic is to be successfully addressed in the Cabell-Huntington
    Community. For example, hospitals, health systems, integrated delivery networks, physician practices,
    long-term care facilities, and other health care institutions and organizations should work diligently to
    incorporate educational programming and professional development services that assist in raising
    awareness and disseminating knowledge regarding the drivers of the opioid epidemic, as well as the
    role of their respective institutions in addressing it. In some instances, such programming may be
    delivered through Continuing Medical Education (CME), Continuing Nursing Education (CNE), or
    similar vehicles, although it is important that any such programming be scrupulously developed and
    monitored to minimize the potential for bias that might jeopardize the quality and impact of such
    materials.163 Health systems play an especially important role given their broad reach and ability to
    promulgate evidence-based guidelines, as well as to engage in opioid stewardship. 164 Technical
    assistance to the courts, law enforcement, substance use treatment providers, and other stakeholders
    should also be provided so as to ensure that these entities are kept abreast of the changing contours of
    the epidemic and the most relevant advances in prevention, treatment, and recovery.

52. Components of abatement interventions. As reflected in the Redress Model, the top prescribers
    (physicians, dentists, nurse practitioners, and physician assistants) in Cabell County, as defined by
    prescribed opioid volume should be the focus of a comprehensive academic detailing program. In each
    given year, prescribers who meet the inclusion criteria for being a top prescriber should be visited
    multiple times (minimum of four visits) by preferably the same academic detailer. In addition to well-
    trained academic detailers, an effective academic detailing program should include experts who
    continuously develop and modify the detailing approach so as to be responsive to the clinicians they
    are visiting as well as to reflect the dynamic nature of the epidemic, advances in pain management and
    current clinical guidelines. Educational programming should also be aligned and coordinated with other
    types of provider outreach taking place within the Community, such as the health professional
    education regarding OUD identification and treatment through Project Engage 165 or the Marshall
    University Grand Rounds that focus on pain management and OUD treatment. 166 The program will
    also require administrative staff who will facilitate tasks such as scheduling and communication, travel
    itinerary, production/printing of modules, and other tasks. Moreover, CME and CNE programs should
    be provided to all prescribers in the Community annually, building on the courses already offered by
    West Virginia Board of Medicine.167 Additional programs should also be developed to address the
    educational and training needs of non-prescribers such as licensed practical nurses, pharmacists, and
    paramedics, although I have not included these quantitative estimates in my Redress Model.

53. In conclusion, abatement programs within the Community should include health professional
    education. Efforts such as academic detailing are feasible and can be highly scaled as well; numerous
    state-wide and even national provider education programs promoting safe prescribing have been
    conducted during the past two decades, including across Pennsylvania (e.g., Department of Aging
    Pharmaceutical Assistance Contract for the Elderly [PACE] Academic Detailing Program), 168
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   Massachusetts (e.g., Boston Medical Center's Transforming Opioid Prescribing in Primary Care), 169
   and the United States Department of Veterans Affairs (e.g., National Academic Detailing Service). 170
   Many health systems, including large integrated delivery networks such as Kaiser Permanente, 171 have
   also executed such programs. Careful review of the evidence indicates that academic detailing works
   and would be an effective abatement tool for the Community, 172 and it should be combined with broader
   health professional education as discussed above.




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B. Patient and Public Education
The goal of this remedy is to raise awareness and activate patients and the general public in the Community
regarding the risks of opioids as well as the prevalence and treatability of OUD. Patient and public education
can help to address the fact that many people do not understand the risks of opioids or that OUD is a treatable
brain disease. It can also chip away at stigma, which serves as a profound barrier to treatment.

54. Patient education is an important method of improving the safe use, storage, and disposal of opioids,
    since there are important shortcomings in patients’ knowledge regarding these matters. For example,
    the 2016 CDC Guideline highlights the importance of clinicians discussing with patients the known
    risks and realistic benefits of opioid therapy before initiating treatment. 173 Other professional societies
    and organizations, such as the Veterans Administration/Department of Defense Clinical Practice
    Guideline for Opioid Therapy for Chronic Pain, also emphasize the importance of patient education as
    part of a multi-faceted strategy to maximize the risk/benefit value of opioids in clinical practice. 174

55. In contrast to public education, which is addressed below, clinicians play an especially important role
    in educational outreach targeting patients who may be using opioids or otherwise at risk for opioid-
    related adverse events. However, clinicians themselves must be equipped to conduct such education,
    and their preparation for this can be maximized through academic detailing or other educational
    outreach as previously described. The West Virginia Hospital Association has developed guidance for
    the use and prescribing of opioids in EDs.175 Marshall University has also developed a “Prescription
    Opioid and Heroin Awareness Toolkit”, which provides information on the burden of the opioid
    epidemic and ways to prevent non-medical opioid use. 176 Additional educational materials have been
    developed by the CDC to promote safer opioid use and minimizing the risk of overdose; 177 SAMHSA’s
    Opioid Overdose Prevention Toolkit includes a module providing safety advice for patients and family
    members;178 and other organizations, such as the American College of Surgeons, 179 have developed
    their own messaging that can be used to educate patients regarding different aspects of the opioid
    epidemic.

56. Public education is also a crucial component in abating the epidemic, and one important way to conduct
    such education is through mass media campaigns. When properly designed and branded, such
    campaigns can deliver “sticky” messages, that is, messages that are concrete, memorable, contagious
    and therefore, impactful.180 Such messaging can serve as part of an effective intervention to positively
    change health behavior.181,182 Despite this, not all mass media campaigns have been successful in
    achieving their desired impact,183 and their success is dependent on several factors including the level
    and duration of investment made, the planning that goes into the campaign, and the availability of
    concurrent treatment and other services. A mass media campaign may include a variety of media,
    including television, radio, billboards, and social media. Though there is limited literature on mass
    media campaigns focusing on opioids, there is robust information from campaigns on alcohol, tobacco,
    and other illicit substances.

57. A number of these campaigns can be used as models when designing campaigns to address the opioid
    epidemic. For example, Idaho's Meth Project was aimed at reducing methamphetamine use through a
    comprehensive approach of public service announcements, community outreach, public policy
    approaches, and in-school lessons. Following the campaign's initiation in 2007, Idaho experienced a
    56% decline in meth use amongst teens. 184 The U.S. Food and Drug Administration's (FDA) award-
    winning youth tobacco prevention campaign, “The Real Costs”, is another example of a relatively
    recent mass media campaign. This campaign was launched nationally on multiple platforms, including
    TV, radio, print, and social media. The campaign was focused on reaching youths, 12 to 17 years old
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   in the U.S., who were open to trying smoking or were already experimenting with smoking. In 2014-
   2016, high exposure to the campaign was associated with a 30% decrease in the risk of smoking
   initiation amongst youths.185

58. Several mass media campaigns addressing the opioid epidemic have been conducted nationwide, 186,187
    and early findings suggest their potential utility. For example, in January 2017, then New Jersey
    Governor Chris Christie rolled out the ReachNJ initiative aimed at raising awareness about the
    availability of new addiction treatment services in New Jersey. 188 The initiative included television ads
    airing on New Jersey, New York, and Philadelphia television stations. As of January 2018, more than
    18,600 people had called the ReachNJ hotline, with the frequency of calls at least three-times higher in
    April-June 2017, when television and radio ads were on air, compared to July-August, when only
    digital ads were used.189 A second example, the 2017 CDC-funded program, used video
    advertisements, radio advertisements, digital materials, and print materials to increase awareness and
    knowledge about the risks of prescription opioids.190 Piloted in Ohio, Oregon, Rhode Island, and West
    Virginia, over 70% of individuals exposed to campaign materials correctly identified the campaign’s
    message of preventing misuse of prescription opioid pain medications and over 50% linked this to the
    goal of preventing overdose deaths. A third example was designed to raise awareness about a new law
    increasing naloxone access and providing legal protection for people who call 911 to report an
    overdose. This state-wide media campaign in North Carolina focuses on leveraging inexpensive
    platforms such as social media, printed flyers, public service announcements, and local media and was
    reported as effective in building connections with the local community and helping the organization
    become established as “the go-to expert for local media” regarding the epidemic. 191 Media campaigns
    by Help & Hope WV and Stigma Free WV are currently being tested in West Virginia to reduce stigma
    surrounding MOUD and increase awareness that addiction is a disease and can be treated. 192
    Additionally, Healthy Connections – a coalition based in Cabell County – is seeking to reduce stigma
    by humanizing the epidemic through media campaigns and simultaneously investigating the most
    effective strategies for reaching individuals with SUD.193

59. Components of abatement interventions. A mass media campaign using platforms such as TV, radio,
    billboards, print, and social media should target all individuals aged 12 years and older who reside in
    the Cabell-Huntington Community, since they represent the population at risk. As per CDC guidelines,
    a minimum of 75% to 85% of the target population should be reached by the campaign. 194 The Redress
    Model reflects those recommendations in Section 1B. The mass media campaign should have a simple,
    effective message that has been developed by communication and content experts and that has been
    piloted and pretested using methods such as focus groups.

60. In conclusion, abatement programs within the Community should include investments in educational
    campaigns targeting patients and the general public. While the Community has begun multimedia
    campaigns to reduce stigma (i.e., Healthy Connections)195 and educational campaigns around drug
    disposal and safe opioid use (i.e., “Wake Up” West Virginia), 196 greater resources are required to
    educate patients and the general public. Multimedia campaigns should include experts in health
    communications and public safety and be carefully designed to fully address widely prevalent yet
    insidious stigma that erodes effective community responses to the epidemic, treating addiction as a
    willful choice or moral failure, and cleaving off addiction and its treatment from other health care. 197
    These campaigns must also educate the general public both about the risks of opioids as well as the
    prevalence of OUD and its responsiveness to treatment. In addition, they should include messaging
    around the safe storage and disposal of opioids, since many individuals receiving opioids do not report
    having received such information.198
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C. Safe Storage and Drug Disposal Programs
This remedy respects the principle of intervening comprehensively along the prescription opioid supply
chain, including addressing enormous stockpiles of opioids in homes within the Community, by providing
individuals in the Community with convenient opportunities to safely store and discard unused medicines.

61. Safe storage and drug disposal guidelines are a critical component of public education, since the
    improper storage and disposal of unused prescription opioids is a widely recognized public health
    concern and an important component of the current opioid epidemic. In a 2017 systematic review that
    my colleagues and I published in JAMA Surgery, 67-92% of surgical patients reported having unused
    opioids after surgery, and in two studies examining storage safety, 73-77% of patients did not store
    their opioids in locked containers, resulting in a large reservoir of opioids which contributes to the
    misuse of these products.199 Other studies also support the assertion that the safe storage and proper
    disposal of opioids is uncommon.200 The failure to safely store and dispose of unused opioids extends
    beyond surgical settings and contributes to the diversion of opioids as well as their non-medical use. 201
    For example, of the 11.4 million individuals in the U.S. reporting opioid misuse in 2017, more than
    four in five (83%) reported that they bought, were given, or stole opioids from individuals who were
    in turn prescribed these drugs by a licensed prescriber. 202
62. Safe storage and drug disposal guidelines must be accompanied by increased availability of drug
    disposal programs, since these programs provide one avenue for proper disposal of unused opioids. 203
    Some disposal programs are based on periodic events. For example, the U.S. Drug Enforcement
    Administration (DEA) hosts short-term events wherein temporary collection sites are set up for the safe
    disposal of unused prescription medicines. Held on September 25, 2010, the DEA conducted the first-
    ever national drug take-back day, collecting over 121 tons of medications at more than 4,000 sites
    nationwide.204 The DEA’s most recent National Take Back Day was October 26, 2019, representing
    the participation of 4,896 law enforcement personnel and 6,174 collection sites that collected a total of
    441.5 tons of prescription drugs.205
63. On the National Take Back Day in October 2018, over 7,500 pounds of unused prescription
    medications were collected in West Virginia, including 40 pounds from the Huntington Police
    department alone.206 Other disposal programs are based on permanent collection sites authorized by
    the DEA, such as within pharmacies or law enforcement facilities (Figure 4, next page). Two
    permanent collection sites in Cabell County are in the Huntington and Milton Police Departments. 207
    Unless disposal programs are convenient, they are unlikely to be widely used, and the use of pharmacies
    as part of a “reverse logistics” program, where the standard distribution system is reversed to return
    unused or unwanted product, has many efficiencies.208 Some authorized collection sites may also
    provide mail-back options to assist patients in disposing unused medicines, especially for homebound
    patients or others with special needs. Local pharmacies may also provide free deactivation packets,
    such as those provided by the Walmart Pharmacy in Huntington. 209
64. Although patients may favorably perceive drug disposal programs, 210 historically, permanent collection
    sites have been uncommon due to administrative, legal, and economic barriers. As of 2017, the United
    States Government Accountability Office reported that only 2,233 of 89,550 eligible entities (2.5%),
    such as pharmacies, hospitals/clinics, narcotic treatment programs, reverse distributors, distributors,
    and manufacturers, were registered as authorized collectors of unused prescription drugs. 211




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                            Figure 4. Take-Back Receptable in a Pharmacy.




65. Despite their importance, historically, drug disposal programs have only re-collected a small proportion
    of the total number of controlled substances dispensed, with collected drugs also including a mix of
    other medications such as antibiotics, oral contraceptives, and cardiovascular treatments. 212
    Furthermore, the U.S. FDA directs that certain prescription medicines, such as opioids, should be
    immediately flushed down the toilet when no drug disposal program option is readily accessible. 213
    Patient and pharmacist education regarding how to properly dispose of opioids is important. In the
    absence of drug disposal programs, other routes of disposal include mixing unused opioids with
    inedible garbage (e.g., cat litter) or using specialized chemicals that trap the unused pills in a non-
    divertible and biodegradable matrix.214
66. Components of abatement interventions. Existing efforts through the Huntington and Milton Police
    Departments should be supported and promoted through varied means ranging from pharmacy posters
    or informational stickers on pill bottles to the promotion of drug disposal events to increasing the
    number of programs within pharmacies and health systems. Staffing needs will vary based on the
    magnitude of work involved. There are four major components to consider when establishing and
    maintaining a drug disposal program: (1) promotion; (2) staffing; (3) equipment and supplies; and (4)
    disposal.215,216 Equipment, supplies, and frequency of disposal will depend upon the volume of drugs
    collected, which can be estimated based on the population of the Community (see Section 1C of the
    Redress Model). For context, prior studies of drug-take back initiatives based in pharmacies and police
    departments in rural counties report approximately 600 pounds of medications are collected a
    year.217,218
67. In conclusion, abatement programs within the Community should include investments to educate
    individuals regarding safe opioid storage, as well as to expand the availability and convenience of drug
    disposal programs. While periodic “take-back” days, such as those coordinated with the DEA, are
    impactful, such episodic programs should be complemented by accessible permanent collection sites
    that are continuously operated. In addition to placing take back kiosks within Police Departments,
    programs should be implemented throughout community pharmacies as well as urgent care centers,
    hospitals and health systems. For select populations, such as homebound elderly or others with special
    needs, it may also be helpful to invest in mail-back options and/or distribution of biodegradable
    technologies that allow for safe and convenient at-home disposal.



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D. Community Prevention and Resiliency
The goal of community prevention and resiliency is to form coalitions that can identify needs and trends
within communities, and to implement evidence-based, culturally-responsive interventions that reflect the
values, capacities and expressed needs of local communities. These programs seek to strengthen social
bonds and promote healthy behaviors. In doing so, these programs bolster the resiliency of a community.
They are essential to reduce the likelihood that community residents will initiate opioids. Such efforts can
also help to mitigate the clinical, social and economic impact of the opioid epidemic in the Appalachian
community of Cabell County and the City of Huntington.

68. Prevention science. The field of prevention science has flourished in the past few decades. A growing
    body of scientific evidence demonstrates that problematic adolescent behaviors can be mitigated
    through prevention efforts. Intervention researchers have identified risk and protective factors. This, in
    turn, has allowed for the testing of rigorously-designed experimental evaluation of administratively
    feasible interventions in community settings.219,220,221 While many such interventions have focused on
    violence or delinquency, others focus on SUDs and demonstrate enduring benefit. 222,223

69. Community coalitions. Many approaches to primary prevention of SUD have been proposed, including
    in West Virginia. Some of the most promising are based on the use of community coalitions. 224,225 This
    provides one pragmatic and tested framework to identify community prevention needs, and to
    effectively implement durable, evidence-based interventions that command broad community support.
    Such efforts are designed to field durable, evidence-informed, and administratively feasible
    interventions that engage a diverse community coalition, and that effectively draw upon existing assets
    to meet the expressed needs of local communities.226 Such an approach has already been used in West
    Virginia, including the Putnam County Wellness Coalition227 and Kanawha Communities that Care.228
    The broader community includes many organizations that would be strong partners in such efforts,
    including United Way of the River Cities,229 Guiding Good Choices,230 Strengthening Families
    Program,231 and Big Brothers Big Sisters of the Tri-State.232 Local nonprofits and government
    organizations, including Cabell Huntington Health Department (CHHD) and Marshall University, are
    well-equipped to coordinate this effort in collaboration with outside researchers, community residents,
    and other stakeholders.

70. Communities That Care (CTC) is one prominent collaborative approach to developing and
    implementing effective programs to prevent or reduce substance use, delinquency, and other risk
    behaviors.233 The CTC model provides a structure for engaging stakeholders and establishing a shared
    vision for the community. CTC provides tools to survey community members regarding pressing local
    needs and provides one well-studied process to pursue specific and measurable goals in partnership
    with experienced intervention researchers. Rather than being proscriptive, the CTC model provides
    local communities with a menu of evidence-based approaches, from which the coalitions can identify
    specific interventions and strategies in the formulation, and iterative evaluation, of a community action
    plan to address local needs.

71. CTC’s effectiveness was tested in the Community Youth Development Survey (CYDS), a randomized
    control trial of 24 urban and rural communities in seven states (Washington, Illinois, Kansas, Colorado,
    Maine, Oregon, and Utah).234 Outcomes by grade 12 were compared among youth who had received
    CTC interventions between fifth and ninth grade, and youth who resided in control communities. Youth
    within the CTC treatment group were significantly more likely to have refrained from any alcohol,
    tobacco, or other drug use, and were significantly less likely to have committed an act of
    delinquency.235,236,237,238,239,240,241 At an average inflation-adjusted cost of roughly $633 per youth, CTC
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   has demonstrated cost-effectiveness, returning an estimated $5.30 for every dollar invested through
   returned by reduced crime and criminal justice costs and other benefits to local communities. 242,243

72. Components of abatement interventions. A community resiliency coalition should build on the areas
    of need, identifying key stakeholders, evaluating and implementing evidence-based programs using a
    systematic and iterative process such as the CTC framework. There are five major components to
    consider when moving forward with a community prevention and resiliency plan: (1) staffing; (2)
    assembling pertinent stakeholder coalitions; (3) surveying community members to identify needs and
    assets; (4) formulating and implementing a community action plan; and (5) evaluating processes and
    outcomes associated with the community action plan. Staff devoted solely to the implementation and
    coordination of community prevention efforts will ensure efficiency and prevent duplication. These
    prevention programs should incorporate the data collected by a proposed Opioid Abatement
    Coordinating Unit (see Section 1F of the Redress Model) and respond to the current and future needs
    of the community. Furthermore, as reflected in the Redress Model, a brick-and-mortar space dedicated
    to community prevention efforts, including stakeholder meetings, youth activities and prevention
    programs, will mitigate logistical barriers to implementing evidence-based programs that promote
    community resiliency.

73. In conclusion, abatement efforts in Cabell County and the City of Huntington should encompass
    coalition building that focuses on promoting community resiliency. Programs that strengthen social
    bonds and promote health behaviors will help to heal the community-level trauma caused by the opioid
    epidemic. Frameworks such as CTC that incorporate measurable goals, are guided by local data and
    trends, and select evidence-based prevention programs have reduced substance use and reinforced
    social bonds within communities. These programs should be developed by and for the Community
    while leveraging its strong Appalachian cultural heritage. 244 A robust evidence base exists for the
    effectiveness and economic benefits of such efforts.




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E. Harm Reduction
The goal of harm reduction is to implement evidence-based interventions that “meet people where they are
at,” as compared to zero-tolerance approaches that criminalize opioid use, propagate stigma, and serve as a
barrier to accessing treatment. Such approaches recognize the formidable barriers that often prevent people
from treatment seeking or achieving full recovery; harm reduction will decrease individual and societal
harms from the opioid epidemic in the Community.

74. Harm reduction refers both to a set of general principles used to underpin policies concerning the way
    that societies respond to drug problems and to specific interventions. A defining feature of these
    approaches is their focus on harms associated with opioid use rather than the prevention of such use
    per se. Harm reduction approaches can target individuals as well as the structural (e.g., drug
    paraphernalia laws)245 and environmental (e.g., physical environment) contexts which engender harm.

75. Harm reduction can be contrasted with approaches that prioritize the singular prevention of drug use,
    which often are embodied in “zero tolerance” enforcement approaches. 246 Empirical evidence has
    demonstrated short-comings of the U.S. “War on Drugs,” 247,248 including its failure to reduce the
    demand for drugs249,250 or decrease drug-associated violence251 while leading to the disproportionate
    incarceration of people of color and the urban poor. Such findings underscore the need for innovative,
    evidence-based approaches to address OUD and other harms stemming from non-medical opioid use.
    An important component of any comprehensive response to the opioid epidemic includes scaled-up
    harm reduction services targeting people who are actively using drugs. There are two main harm
    reduction approaches that are relevant to the opioid epidemic and discussed below, syringe services
    programs and drug checking services; naloxone is discussed separately in Section 2E of this report.

76. Syringe services programs (SSPs) are designed to provide clean syringe access and disposal to people
    who inject drugs (PWID). Such programs were scaled up in the U.S., Europe, and Australia in the
    1990’s and 2000’s to help reduce the transmission of blood-borne infectious diseases as discussed in
    Section 2C below. The U.S. Public Health Service has long recommended to have a clean syringe for
    every injection, effectively increasing the “coverage” of sterile injection equipment. 252 Through
    extensive research over three decades, SSPs have been associated with reductions in risky syringe
    sharing behaviors,253,254,255 as well as rates of HIV,256,257,258,259 hepatitis B, and HCV.260 A study by the
    National Institutes of Health found that syringe exchange programs are associated with a reduction in
    risk behaviors as high as 80% among injection drug users. 261 A systematic review of SSP studies,
    including many from the U.S., found that SSPs are associated with a 32% reduction in the transmission
    of HIV and approximately a 50% reduction in HCV incidence among PWID. 262

77. The Cabell Huntington Health Department (CHHD) Harm Reduction Program – the first in the state
    of West Virginia – has implemented education of safer injecting practices and access to preventative
    healthcare, such as HIV and HCV testing and vaccinations, in the Community. A 2017 white paper
    from the West Virginia Department of Health and Human Resources (WVDHHR) suggested that
    compared to new clients, returning SSP clients were 67% less likely to share needles, suggesting the
    adoption of safer injecting practices.263 A more recent 2018 study of PWID in Cabell County found
    that 66% obtained sterile syringes from the SSP and over half accessed services from the CHHD Harm
    Reduction Program.264 By providing a system and education on the safe disposal of syringes, there are
    fewer reports of needles being found in public, which is important for public health and safety. Notably,
    data also suggests that the syringe exchange program reduces the risk of unintentional needlestick
    injuries among Cabell County’s first responders.265 As noted in Paragraph #28, the Community has
    been on the leading edge of using harm reduction as one means to reduce opioid-related harms.
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78. Though the Harm Reduction Program in Cabell County has been critical in promoting public health in
    the Community, access and transportation to the program remains a barrier for many. 266 Given the
    rurality of much of the county and lack of public transportation, a mobile harm reduction program
    would significantly improve access. A review of twelve HIV Outreach programs which included harm
    reduction services found that clients who accessed mobile units were 86-times more likely to receive
    an HIV test than those who accessed other sites. 267 The authors noted that mobile outreach increased
    recognition and opportunities to initiate conversations with new clients and such outreach may increase
    the likelihood that an individual will enter treatment.

79. SSPs also save communities money in the long term by preventing disease transmission, reducing
    overdose and injury associated with drug use, and increasing the likelihood of linking individuals with
    substance use treatment.268,269 This is because SSPs generally include onsite evaluation and referrals
    for SUD treatment for an otherwise difficult to access population. As of October 2017, there were an
    estimated 310 SSPs in 42 U.S. states and Washington, D.C. 270 Despite anecdotes to the contrary,271
    SSPs do not increase illegal drug use or crime. For example, analyses of such programs in New York
    City and Baltimore indicate no difference in crime rates between areas with and areas without SSPs,
    including trends in arrests and violent crimes. 272,273

80. SSPs often provide medical services for PWID, many of whom are marginalized and may have
    otherwise very limited access to ambulatory care. In addition to doctors, nurses, and social workers,
    such care may include peer recovery coaches, whose potential value and services are discussed in
    Section 2A. Clinical services delivered as part of SSPs may include care for acute conditions such as
    upper respiratory infections, chronic conditions such as diabetes or cardiovascular diseases, or most
    commonly, preventive screening and other preventive interventions such as flu shots or other
    vaccinations. Such programs may also include family planning services. Individuals who test positive
    for HIV, HCV, or both should be referred for treatment. Positively identified individuals will require
    access to necessary health care including effective antiretrovirals and direct-acting antiviral treatments
    that treat HIV and HCV, respectively, as well as treatment for their underlying OUD, including access
    to MOUD and other treatments for OUD.

81. Drug checking services enable people who use drugs to have the content of their drugs chemically
    analyzed, allowing them to make informed decisions about use.274,275 Drug checking, a method
    pioneered in Europe, has the potential to introduce the concept of product safety into the unregulated
    illicit drug supply in the U.S. Currently, its use in the U.S. has been limited to raves or similar parties,
    primarily for the testing of 3,4-methylenedioxy-methamphetamine (MDMA, or “ecstasy”). Recently,
    some U.S. SSPs have begun distributing fentanyl testing strips originally designed for testing urine
    samples. Such “fentanyl checking” allows users to objectively determine whether their drug samples
    contain fentanyl or fentanyl analogues.

82. While few evaluations of fentanyl testing services have been performed, recent assessments suggest a
    high degree of acceptability and potential utility among PWID, 276,277,278 and early evidence suggests
    checking for fentanyl in drug samples at SSPs, police departments, and other relevant sites may help
    guide appropriate responses to the changing nature of the opioid epidemic. For example, a study
    conducted in Greensboro, North Carolina, found that 43% of PWID reported a change in drug use
    behavior and 77% indicated increased perceived overdose safety by using fentanyl test strips. 279 At a
    harm reduction site in British Columbia, Canada, 36% of participants reported planning to reduce their
    drug dose while 11% planned to dispose of their drug after testing for fentanyl. 280 These findings were
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   mirrored in a study of PWID in Baltimore, Boston, and Providence, which found that over half of
   respondents would utilize fentanyl testing every day. 281 It is important to note that there is no evidence
   to support that harm reduction services (e.g., SSPs) encourage and enable drug use. 282

83. Components of abatement interventions. The SSP run by the Cabell Huntington Health Department
    should be expanded and new locations established so as to provide adequate coverage of services such
    as access to clean syringes and injection equipment, safe disposal of used syringes, and screening and
    referral services to PWID, particularly for those who use heroin and fentanyl. SSPs should provide
    continuous services at consistent locations and hours using different approaches including permanent
    SSP sites and mobile SSP units, generally vans. Investment in establishing or expanding fentanyl
    testing services is also needed to mitigate some of the risks – including overdose and death – associated
    with fentanyl use or fentanyl laced drugs. Two main channels of fentanyl testing services should be
    implemented: fentanyl test strips and drug checking machines. Fentanyl test strips should be available
    for use or distribution at SSPs, homeless shelters, and other relevant locations to achieve optimal
    coverage and reduction in harm. Drug checking machines, such as Fourier transform infrared
    spectrometers (FTIRs), are needed to track and document changes in the illicit drug supply to inform
    timely responses by health officials and law enforcement. At minimum, large SSPs, police departments,
    and medical examiners may all benefit from the use of such drug checking machines. These efforts are
    estimated and described in Section 1E of the Redress Model.

84. In conclusion, abatement programs in the Community should include resources to further support harm
    reduction. SSPs, including outreach, delivery of non-OUD care, and referral for treatment, should be
    expanded sufficiently so as to reach the broadest population of individuals who inject drugs in the
    Community. Such programs should include increased availability of drug checking services to assist
    users in knowing when fentanyl may be present within drug supplies.




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F. Surveillance, Evaluation, and Leadership
The goal of surveillance is to convert local data to actionable intelligence at a local level by gathering,
curating, and disseminating timely information about key dimensions of the epidemic to public health
officials, policy-makers, and other stakeholders. This is important because the absence of timely, granular
information about the epidemiology of opioid use, addiction, and overdose at a local level has limited the
ability of stakeholders to rapidly design, iterate and evaluate targeted interventions to address the epidemic
in the Community. However, in addition to surveillance, leadership – including comprehensive planning
and multi-agency coordination – is important in order to maximize efficient use of constrained resources to
address the epidemic.

85. The opioid epidemic is a complex phenomenon with many different dimensions and impacts, and while
    it continues to change and evolve at a national and state level, at a local level these changes have often
    been even more profound. One consequence of this is that policy-makers and public health officials
    such as those leading the Community need timely and accurate information on key parameters they can
    use to make informed decisions about resource allocation. 283 For example, the deployment, targeting
    and evaluation of academic detailing programs depends vitally on timely information regarding opioid
    prescribing across prescribers. Similarly, naloxone distribution and training should be designed based
    on the relative incidence, causes and outcomes of overdose within small, well-defined geographic
    areas.

86. Fortunately, the City of Huntington, through the early initiatives of the Mayor Williams’ Office of
    Drug Control Policy (MODCP), recognized the need for timely and comprehensive data from the
    community to guide early measures and initiatives, including: the Law Enforcement Assisted Diversion
    (LEAD) program; Cabell Drug Court; Lily’s Place and Recovery Point; Huntington Quick Response
    Team (QRT); and the Harm Reduction Program at CHHD. 284,285,286 Early in the response to the opioid
    crisis, Scott Lemley collected surveillance data from multiple sources such as 911 calls, EMS reports,
    and police reports to helped the MODCP to identify key policies and populations to receive
    interventions in the Community.287 Currently, additional surveillance capacity includes the ability to
    monitor fatal and non-fatal overdoses in real-time using the Overdose Detection Mapping System
    (ODMAP)288 and the Marshall University Data Dashboard.289 The West Virginia Office of Drug
    Control Policy recently launched an interactive Opioid Data Dashboard that displays monthly trends
    of EMS calls for suspected overdoses, fatal overdoses, naloxone administrations and outcomes, and
    ED visits that are updated every one to two months. 290

87. These methods of assessing the opioid epidemic are important and should be expanded to include other
    important dimensions of the crisis including measures that allow for near real-time, integrated
    assessment of prevention, treatment, and recovery within the Community. Such data can be drawn from
    medical, behavioral health, child welfare, and criminal justice systems, and include, but not be limited
    to, measures such as: opioid and non-opioid analgesic prescribing, OUD treatment capacity, MOUD
    use and persistence, non-fatal and fatal opioid overdose events, naloxone distribution and use, infants
    who experience withdrawal symptoms, child abuse and neglect reports, foster care entries, criminal
    justice offense type, sentencing, treatment received while under court supervision (e.g., mandated
    treatment) and reoffending rates. Valuable information – relevant to the Community – can be compiled
    from national, state and local levels. For example, clinical information can be derived from CSMP,
    EMS, and hospital and emergency administration data. Behavioral health data can be drawn from
    sources such as the minimum data sets that are directly collected by all Single State Authorities (e.g.,
    state agencies on drug abuse) for specialty treatment programs and from Medicaid programs, as well
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   as from sources such as the Drug Enforcement Agency’s National Technical Information Service
   (NTIS) database of waivered prescribers and state and federal databases on specialty treatment
   providers (e.g., the SAMHSA treatment locator which is updated annually and provides street addresses
   for treatment programs). Criminal justice data can be derived from the West Virginia Department of
   Corrections and Rehabilitation. Child welfare services and foster care/adoption data can be accessed
   via the Families and Children Tracking System (FACTS) maintained by the West Virginia Department
   of Health and Human Resources (WVDHHR).

88. There is no question that the collection, curation, and integration of these data will require substantial
    cooperation, effort, and tenacity. Many of these data systems are maintained by different private or
    public entities, and in some cases, significant administrative, legal, and cultural barriers will have to be
    overcome. However, there is tremendous promise in such efforts, especially since the effects of the
    opioid epidemic, and remedies to abate it, extend across medical, behavioral, and criminal justice and
    child welfare systems. Linkage of these data will provide a more comprehensive understanding of the
    current issues associated with the epidemic and identify areas where local communities should focus.

89. For example, consider the case of policing, where public health oriented policing interventions, such
    as a focus on overdose deaths, use of naloxone, education regarding addiction and stigma, and treatment
    on demand, can play an important role in reducing opioid-related injuries and overdose deaths. 291
    Routine tracking of measures that evaluate these and other approaches can be used for a number of
    purposes including to establish benchmarks, allocate resources, and evaluate the success of new
    initiatives with respect to process, such as how many doses of naloxone have been dispensed, and
    outcomes, such as how many overdoses have been reversed.

90. Surveillance must be combined with leadership such as has been demonstrated by individuals within
    key local institutions such as Jan Rader and other first responders (i.e., EMS, fire department, and
    police), CHHD, Marshall University, Marshall Health, Cabell Huntington Hospital, Saint Mary’s
    Medical Center, and the City of Huntington Mayor’s office. In other words, a cohesive,
    multidisciplinary team should coordinate a given community’s response across multiple agencies,
    departments and stakeholders and based on a comprehensive needs assessment. Representation, and
    appropriate staffing, from key entities such as the medical, behavioral health, children’s services and
    criminal justice systems within the community is vital. The overall effectiveness of a community’s
    response will rest in part upon the relationships among those coordinating the effort, and the overall
    coherence and shared vision among relevant parties. This team should meet regularly to review
    programs and policies, as well as assess surveillance data and emerging evidence from the field. In
    addition to serving as liaisons to their respective organizations, as well as more broadly championing
    the community’s strategic response, the team should troubleshoot, redirecting resources and re-
    engineering how individuals with chronic pain, non-medical opioid use or OUD are identified and
    managed within relevant systems of care.

91. Components of abatement interventions. The Community has established an excellent foundation for
    data collection and surveillance of the opioid epidemic through efforts by the Marshall University Data
    Dashboard and Scott Lemley from the City of Huntington and Mayor’s Office of Drug Control Policy.
    As reflected in Section 1F of the Redress Model, abatement efforts in the Community should build
    upon this foundation by allocating sufficient resources to support a dedicated team of professionals (an
    “Opioid Abatement Coordinating Unit”), including but not limited to epidemiologists, data scientists,
    clinicians, law enforcement experts, and community advocates, that focuses on: (1) improving the
    timeliness, quality, coordination and integration of existing data streams (e.g., surveys, mortality
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   records, etc.); (2) conducting opioid-specific surveillance activities to better understand key aspects of
   the dynamic nature of the epidemic that are not visible through existing data channels; (3) enhancing
   the accessibility, visibility, and shareability of data related to the epidemic through multi-agency
   coordination, preparation of reports and data summaries, creation of dashboards, and responses to data
   requests from relevant stakeholders; and (4) performing comprehensive evaluations of interventions
   and proposing evidence-based recommendation so as to maximize further returns. Quality surveillance
   data is key to identifying and responding to changing needs within the Community.

92. In conclusion, abatement programs in the Community should include resources to support the further
    development and management of state-of-the-art surveillance programs that can serve as mission
    control centers as remedies are deployed, iteratively refined and evaluated. Such resources should allow
    for relevant data from a variety of local, state, and national sources to be gathered, curated, integrated
    and analyzed, and in turn, reported back out using a variety of different approaches customized to the
    specific needs of key stakeholders such as public health officers, treatment providers, children’s
    services, and law enforcement officials. Remedies should also include resources to support the
    leadership that will be needed for a well-coordinated, longitudinal, multi-stakeholder initiative.




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CATEGORY 2: TREATMENT – SUPPORTING INDIVIDUALS AFFECTED BY THE EPIDEMIC
This category of my Abatement Plan seeks to better identify individuals with OUD in the Community and
to remove clinical, economic, and social barriers diminishing their access to comprehensive, coordinated
high-quality care.o One important principle is to close treatment gaps. However, many other interventions
are necessary in addition to the closure of treatment gaps, including a transformation of the delivery system
of care in the Community so that it “mainstreams” addiction care and delivers it as consistently and
compassionately as it does care for pediatric cancer or amyotrophic lateral sclerosis (ALS).

A. Connecting Individuals to Care
The goal of this remedy is to address the widespread treatment gaps that prevent so many from seeking or
being retained in care. For example, studies show that some individuals who overdose in the field are not
formally evaluated or successfully linked with treatment,292,293 while many others, even if brought to an ED
are discharged rather than transferred to an inpatient induction/rehabilitation facility, enrolled in an
intensive outpatient (IOP) program or initiated on medication for MOUD. 294 There are opportunities to
improve the identification and treatment of individuals with OUD within each of these settings. Because of
this, multiple methods are needed to connect people to services, ranging from helplines, peer-recovery
coaches and transportation assistance to “bridge programs” and Quick Response Teams designed for those
newly encountering the health care system due to an opioid overdose or other acute opioid-related harm. p

93. Helplines. Helplines have been used as an effective tool for delivering information to people in crisis
    for decades, assisting callers by linking individuals to care and resources to address their individual
    circumstance. Helplines serve as an inexpensive, efficient, and immediate source of information for
    individuals affected by SUD. In 2015, West Virginia implemented the HELP4WV helpline, 295 a 24-
    hour phone, text, and chat line designed to streamline the process of accessing treatment for SUD and
    behavioral health. The helpline is primarily staffed by peer-support specialists and recovery coaches
    and provides direct transfers to withdrawal management facilities and referrals to inpatient treatment,
    sober living homes, medications for addiction treatment, outpatient therapy and support groups. After
    linking callers to resources, staff follow up with callers at designated intervals to ensure their needs are
    being met. Since the beginning of the helpline, HELP4WV has helped more than 41,000 individuals
    access treatment. In 2019, more than 11,000 individuals called the helpline, of which 75% called on
    behalf of themselves, 13% called on behalf of a family member, and nearly one in ten (821) were from
    Cabell County. Opioids were the most commonly used substance among helpline callers (40%). Over
    14,000 callers have received a “warm hand-off” to a service provider, 296 nearly 2% were referred to
    MOUD, and 43% were referred to detoxification centers; of those seeking detoxification, many were
    able to enter a program within 24-hours.297 Staff are also available to assist callers with enrolling in
    Medicaid or private health insurance. The helpline is one tool to address barriers for those with OUD
    in finding treatment, timely linkage and entry into treatment. Importantly, HELP4WV is able to share
    information on drug type and referral outcome (e.g., detoxification center or medications for addiction
    treatment) with policy-makers to identify trends in drug use, treatment needs and capacity building.

94. Peer Recovery Coaches. While there is an urgent need to train more primary care practitioners to
    identify and treat OUD, peer recovery coaches provide one promising and cost-effective model to

o
  It is also important to consider individuals with opioid dependence and non-medical use who may not yet fulfil formal criteria
for an OUD; I consider these individuals in Section 4E.
p
 Ensuring adequate staffing of social workers, case managers, and addiction counselors in clinical, behavioral, criminal justice,
and community settings is also vital and discussed elsewhere in my report.
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   engage and serve individuals with OUD.298,299 Paraprofessionals with lived experience in recovery can
   assist patients in accessing medication treatment, can help navigate barriers to treatment engagement
   and retention, such as provider stigma and transportation. Peer recovery coaches can draw upon their
   lived-experience and methods such as motivational interviewing to strengthen individuals’ motivation
   to seek treatment and to remain engaged. Coaches may provide a number of different types of resources
   or support to individuals with OUD, ranging from psychological support to connections to recovery
   communities, activities, and events.300 Two systematic reviews examining the impact of peer-recovery
   services suggest the positive impact that such services can have on those with SUDs. 301,302 Peer
   recovery coaches have been integrated in many programs within the Community, including the West
   Virginia Criminal Justice System, Quick Response Team (QRT), Project Engage, the Harm Reduction
   Program, Project Hope for Women and Children, and Maternal Addiction Recovery Center
   (MARC).303 Further expansion and integration of peer recovery coaches into programs, such as reentry
   programs, adult criminal and family and drug courts, and child welfare services are important to
   connect individuals with OUD to services and treatment in the Community.

95. Transportation. Transportation, particularly in rural communities, represents a significant barrier for
    those with OUD to access and adhere to treatment.304 Though public transportation is available within
    the City of Huntington, half of the County residents live outside of the City and may not have consistent
    or reliable transportation needed to attend treatment, thereby reducing the likelihood that they will be
    able to adhere to treatment.305 In March 2020, the WVDHHR expanded transportation for individuals
    living within and outside traditional service routes to access OUD treatment and recovery services. 306
    However, transportation needs remain for other individuals as well, such as those accessing the harm
    reduction services or for pre- and post-natal appointments for women with OUD. Providing travel
    vouchers, reimbursing taxi or ride-sharing costs, or providing gas cards are additional options to
    improve access to such services. 307

96. Emergency Department Bridges. ED visits represent a key opportunity to link individuals to treatment
    after an overdose. One randomized control trial found that patients who received ED-initiated MOUD
    were two times more likely to be engaged in treatment one month after intervention, compared to
    patients that received a Brief Negotiation Interview or referral alone (78% vs 37-45%, respectively). 308
    While patients in all three intervention groups reported lower HIV risk behaviors, those that received
    ED-initiated MOUD had lower self-reported opioid use one-month after baseline. In reviewing the
    response to the outbreak of 26 opioid overdoses within a six-hour window in Huntington in August
    2016, public health officials recognized that failing to link individuals to treatment during their ED
    visit was a missed opportunity and break in the continuum of care. 309 Adequate expansions in
    infrastructure are needed to increase treatment capacity to meet current demand as well as to
    accommodate individuals who will be connected to care through an increasing number of initiatives.
    One program, Project Engage, uses peer recovery coaches within the ED and other clinical settings in
    Cabell County hospitals to connect individuals with SUD to treatment programs and other resources
    following hospitalization.310

97. Quick Response Teams (QRTs). Sometimes known as a Drug Abuse Response Team (DART), these
    teams generally consist of a law enforcement officer, first responder and addiction counselor, and they
    are designed both for first response to narcotic-related emergencies, as well as to approach overdose
    victims during “recovery windows”, a 48- to 72-hour period following an overdose when individuals
    may be most amenable to entering treatment. These teams are similar to rapid-response, mental health
    evaluation teams; QRT’s or DART’s are focused specifically on overdoses or other opioid-related
    emergencies, include addiction experts and also target individuals who may have had a recent overdose
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   but who are not experiencing an active emergency. 311 Established in December 2017, a Huntington
   QRT has included a paramedic, peer recovery coach and social worker or member from the faith-based
   community.312 Following referrals from EMS or family and friends, the QRT seeks to make contact
   with the individual, and if they accept treatment, the QRT arranges for them to quickly enter treatment.
   If the QRT is unable to make contact, they leave treatment information behind. In an analysis of the
   Huntington QRT’s outreach, one in three individuals who were contacted by them following an
   overdose entered treatment for SUD.313 Because of their timely response as well as multidisciplinary
   composition, these teams are one means of helping to strengthen the community-individual relationship
   as well as to bridge one treatment gap that prevents many individuals with OUD from seeking care.

98. Components of abatement interventions. As described in the Redress Model, existing resources, such
    as the HELP4WV helpline and Huntington QRT, should be leveraged and amplified through media
    outreach and other communications to reach additional individuals with OUD. In addition to their use
    in clinical settings, peer recovery coaches should be available at other locations where they are highly
    likely to interact with individuals with OUD such as drug courts, reentry programs, family drug courts,
    child welfare services, recovery houses and opioid treatment programs. Increasing availability of case
    managers to programs that serve the entire OUD population will fortify the care continuum, improving
    linkage to care and treatment outcomes. Bridge programs should be implemented within Cabell County
    EDs to facilitate initiation of MOUD. Transportation for services including and adjacent to OUD
    treatment should be provided. Finally, given the success of Huntington’s QRT, additional QRTs should
    be established in the County and adequately staffed and resourced proportional to the burden of non-
    fatal overdoses. Each QRT should consist of an addiction counselor, first responder and peer recovery
    coach. QRTs should be notified in a timely manner so as not to miss the window when they are most
    effective, and also have access to and maintain a follow-up database to keep track of individuals
    connected to care.

99. In conclusion, abatement programs in the Community must support both the linkage of individuals to
    care and their retention once in treatment and recovery. Helplines, QRTs, peer recovery coaches, case
    managers, and Bridge programs are effective and established tools to link individuals to treatment.
    Since people who use drugs may be difficult to reach, efforts that build rapport and maximize the
    quality of interactions are crucial. There are also key reachable moments, such as during hospitalization
    and “recovery windows” following an overdose and during initial contacts with child protective
    services, when people who use drugs may be most amenable to initiating treatment. Retention in
    treatment must be supported by transportation assistance and other measures to increase access,
    ensuring smooth transitions across the continuum of care and through peer support.




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B. Treatment for Opioid Use Disorder
Fortunately, there are many treatment options already provided within the Community for those with OUD.
However, as I describe below, more investments are needed so as to fulfill the overarching goal of this
remedy, the provision of readily accessible treatment to patients with OUD. 314 Such treatment should
include access to FDA-approved MOUD, since these are efficacious treatments that not only reduce the
likelihood of opioid use, but also the risk of overdose, criminal activity, and the transmission of infectious
disease.315 However, not everyone with OUD requires MOUD, and even when it is provided, it should be
part of a full continuum of care, including care that addresses other acute, chronic, and preventive needs.

100. The FDA has approved three medications for the treatment of OUD and the choice of medication
     should be tailored to the unique needs of each individual.
         1) Methadone is an opioid agonist, which means it can activate opioid receptors in the brain and
             provide pain relief similar to other opioids. It can prevent withdrawal symptoms, reduce
             cravings and block the euphoric effects of other opioids. However, due to federal regulations,
             its dispensing for OUD is limited to certified opioid treatment programs, serving as a barrier
             to broader use.316
         2) Naltrexone is an opioid antagonist that blocks the effects of other narcotics. Provided as a daily
             pill or monthly intramuscular injection, it can be prescribed in ambulatory settings and does
             not have any abuse or diversion potential.317 However, it cannot be administered to individuals
             with opioids in their systems, since doing so will precipitate abrupt opioid withdrawal. 318
         3) Buprenorphine is a partial agonist and partial antagonist of the opioid receptor, with
             significantly lower potential to produce euphoria or respiratory depression than other opioids.
             Appropriately waivered physicians may prescribe buprenorphine in offices, community
             hospitals, or correctional facilities.319 While the main form of buprenorphine for OUD is an
             orally administered combination of buprenorphine and naloxone (the latter of which is an
             opioid reversal agent as described in Section 2E), other formulations of buprenorphine are
             likely to be FDA approved in the years to come.320

101. Historically, some have opposed MOUD based on a number of misconceptions, including that it is
     invariably diverted (it is not, and when diversion does occur, it is often to avoid the dysphoria of opioid
     withdrawal including symptoms such as agitation, anxiety, muscle aches, nausea, and vomiting), q or
     that it is simply substituting one addiction for another (it is not). 321 Rather, MOUD increases social
     functioning and retention in treatment, allowing individuals a better opportunity to reintegrate within
     their families and communities and to transition from active addiction through treatment into
     recovery.322,323 It is also associated with a wealth of other positive outcomes, including decreased
     opioid use and improved survival.324 Because of this, its use is supported by numerous authoritative
     sources, including the CDC, National Institutes of Drug Abuse, American Society of Addiction
     Medicine, and SAMHSA. It is also supported by global authorities such as the World Health
     Organization, which includes buprenorphine and methadone as Essential Medicines. 325 However, as I
     discuss further in Paragraph #107, MOUD is not a stand-alone therapy nor does everyone require it;
     when it is used, it must be accompanied by other clinical interventions as part of comprehensive care
     for those with OUD.



q
 Even the need for such defense of MOUD underscores the marked stigma and asymmetry that exists between OUD and other
diseases; for example, it is hard to imagine a setting where the use of inhalers for asthma, insulin for diabetes, or even
psychotropics for mental illness, would be met with such skepticism or outright opposition.
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102. Despite the potential of MOUD to help address the opioid epidemic, it is severely underutilized. For
     example, an analysis of 2012-2013 data from the National Epidemiologic Survey on Alcohol and
     Related Conditions (NESARC) indicated that fewer than one in five individuals with non-medical
     prescription OUD were ever treated,326 and rates of use of MOUD within publicly funded treatment
     programs have historically been low.327,328 Combined with low use of MOUD even within programs
     offering it, some estimates are that as few as one in ten individuals with OUD receive MOUD. 329
     Worsening matters further, treatment courses are often short, with rates of treatment discontinuation
     and relapse high,330 and even periods of MOUD use are often punctuated by the receipt of prescriptions
     for non-MOUD opioids, underscoring common and serious lapses in care even for those accessing
     these treatments.331,332 The situation is further complicated in Cabell County, where the lack of public
     transportation for half of the County residents that live outside the City of Huntington is a barrier to
     accessing MOUD providers. 333

103. A 2018 study from Massachusetts provides useful context for the benefits of MOUD in decreasing
     mortality.334 In this analysis of adults who survived an overdose between 2012 and 2014, in the 12
     months after an overdose, 11% received methadone, 17% received buprenorphine, and 6% received
     naltrexone. The median duration of treatment was short (one to five months). Both methadone and
     buprenorphine utilization were associated with decreased opioid-related and all-cause mortality. r Thus,
     this study underscores: (a) large gaps in MOUD adoption; (b) high discontinuation rates; and (c) the
     life-saving benefit of methadone and buprenorphine.

104. There are many barriers that account for the large gap between the number of individuals with OUD
     and the proportion that are treated with MOUD. Underlying these barriers are misconceptions about
     the nature of OUD and the effectiveness of MOUD, as well as other concerns such as those identified
     in Paragraph #32. In a recently published study based on national surveys, my colleagues at the Johns
     Hopkins Bloomberg School of Public Health found that only about one in three substance use treatment
     facilities offered MOUD in 2016, and fewer than one in sixteen (6.1%) offered all three. 335 There is
     also a large shortage in the number of providers who are equipped to provide care for those with
     addiction.336,337 Finally, the costs of MOUD, as well as other treatments for OUD, have historically
     been an impediment for many individuals who might otherwise seek care. 338 While our own work,339,340
     and that of others,341 suggests that health plans are increasingly modifying their coverage and
     reimbursement policies so as to address the opioid epidemic, many individuals with OUD still face
     economic barriers to treatment, with a 2016 Department of Defense estimate of the costs of MOUD 342
     exceeding that of diabetes mellitus ($3,560) or kidney disease ($5,624). 343

105. Overcoming these economic and structural barriers is just the first step in achieving the potential for
     high quality OUD care.344 This is because there is enormous stigma associated with opioid addiction,
     which discourages patients from seeking treatment and discourages clinicians from providing it (also
     see Section 1B).345 While OUD is a brain disease, it is often framed as a moral failing instead; treatment
     systems remain marginalized rather than “mainstreamed”; language about “legitimate pain” and
     “junkies” and “getting clean” perpetuates such marginalization; and many features of the criminal
     justice system’s intersection with OUD also contribute to the persistent organizational failures that are
     seen.346


r
 The authors speculated several reasons they may not have observed a statistically significant benefit with naltrexone, including
a small sample and short duration of use, with most patients receiving it for a single month. In addition, the study was unable to
differentiate oral from intramuscular naltrexone.
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106. Investments in the treatment infrastructure must be made along a full continuum of care, from overdose
     reversal to support that enables long-term recovery. Individuals with OUD need regular contact with
     health care professionals responsible for supervising their pharmacologic and/or behavioral treatments,
     screening for adverse events or treatment failures, and delivering supportive care and psychological
     counselling. In many ways, such a model is no different than a model of care for someone with asthma
     or diabetes. These diseases, and their treatments, cannot be managed in a vacuum. Medications,
     whether MOUD or treatments for other chronic diseases, should be provided in the context of a
     therapeutic relationship where risk factor attenuation, supportive counseling, medication monitoring,
     and attention to other health care needs take place. In the case of OUD, the delivery of structured social
     support and counseling may be especially important, given that these engagements assist patients in
     establishing the social reconnection that can be critical to long-term recovery. Treatment must also
     recognize the importance of screening and treatment for infectious diseases such as HCV and HIV, 347
     as well as attending to chronic pain, other SUDs, and mental illness, all of which are common among
     individuals with non-medical opioid use or OUD. 348

107. In addition, no single treatment is right for everyone, and not every individual with a history of OUD
     should be treated with MOUD. For example, some people have a remote history of OUD and while
     they retain a lifelong sensitivity and vulnerability to opioids, just as an alcoholic does to alcohol, many
     of these individuals are living productive, successful lives in recovery without MOUD. Some
     individuals have been treated with MOUD but successfully tapered off of such treatment while
     maintaining a healthy recovery through abstinence-based, 12-step programs such as Narcotics
     Anonymous, psychological counselling, and supportive therapy, or combinations of these or other
     approaches.

108. There are many different models for expanding access to OUD treatment within the Community, and
     this remains an area of rapid growth and program evaluation nationwide. For example, Office-Based
     Opioid Treatment (OBOT) allows for physicians completing a waiver program to prescribe
     buprenorphine for OUD within primary care settings; the Medicaid Health Home Model integrates
     MOUD and behavioral health treatments with primary care for people with OUD; and the Hub-and-
     Spoke Model triages patients between primary care clinics for uncomplicated patients with OUD (the
     “spokes”) and centralized clinics equipped to care for patients requiring methadone or whose complex
     behavioral and medical needs exceed those routinely provided in primary care settings (the “hub”). 349
     In Huntington, Marshall University’s Recovery Center is an existing “hub” that is currently
     implementing the Comprehensive Opioid Addiction Treatment (COAT) program; the clinic provides
     centralized services where individuals within the county can be referred for buprenorphine initiation
     and in most cases, subsequently transition back to outlying primary care “spokes”. 350 Other models are
     based on ED Bridge Programs as described in Paragraph #96. 351 Yet other models rely more heavily on
     telemedicine for MOUD supervision, such as one deployed in within the West Virginia University
     School of Medicine.352

109. Treatment programs differ along many dimensions, such as the degree to which they focus on the
     delivery of pharmacotherapy, behavioral services, care integration, and community-based education or
     outreach. It is important that some programs are designed to deliver care to individuals who have
     initiated MOUD, or “induction”, in low-barrier settings such as SSPs or EDs, given that the
     marginalization and social isolation of some of these individuals increase their likelihood for relapse
     or treatment discontinuation. The optimal program for a given city or county will depend upon a variety
     of different factors including the adequacy of the primary care and specialty workforce, urbanicity, and
     existing infrastructure devoted to addiction treatment.
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110. Most individuals with OUD who are entering treatment can be managed either in an ambulatory or IOP
     setting, although initial evaluation and appropriate triage is important so as to optimize each
     individual’s likelihood of successful treatment and recovery. IOP programs typically provide for
     several hours of patient engagement four to five days per week for a period of several weeks, and may
     include services ranging from individual, group and/or family counseling to case management to
     vocational training and employment services.353 A minority of individuals with OUD require inpatient
     hospitalization for initiation of treatment, such as when acute illness (e.g., pneumonia or soft tissue
     infection), advanced comorbid disease (e.g., heart failure or liver failure) or uncontrolled psychiatric
     illness (e.g., bipolar affective disorder) makes ambulatory or IOP treatment unfeasible.

111. Components of abatement interventions. Capacity at existing treatment programs within the
     Community (e.g., PROACT) should be expanded. Individuals with OUD in the Community should
     have timely access to appropriate treatment based on their need, whether ambulatory, IOP, residential,
     or inpatient care (see Section 2B of the Redress Model). It is crucial that individuals with OUD receive
     high-quality care to maximize retention and outcomes. Existing programs within the Community (e.g.,
     PROACT or MARC) are essential programs available to many adults and pregnant women with OUD.
     Additional efforts should also focus on reaching and providing treatment to vulnerable populations
     such as adolescents, individuals both within and newly released from the criminal justice system,
     parents in the child welfare system, and individuals who are homeless. Since such individuals are less
     likely to utilize ambulatory practice for preventive or chronic care needs, interventions such as mobile
     health care teams can serve an important role in increasing access to and continuity of care. Given the
     COVID-19 pandemic and changed policies surrounding delivery of MOUD via telehealth, the
     Community should also continue to scale telehealth services for MOUD induction and continuation, 354
     which will also benefit many individuals given the rurality of Cabell County.

112. In conclusion, abatement programs within the Community should include further investments in the
     treatment system so as to allow for the provision of additional comprehensive, coordinated high-quality
     care for individuals with OUD, including access to services for the identification and management of
     acute, chronic and preventive care needs.355 The Community has already taken significant steps to
     expand treatment capacity.356 Even so, only a minority of residents who could benefit from treatment
     are receiving it, and more must be done to connect individuals to appropriate services. Such
     investments should also be targeted at each specific point where gaps occur or individuals otherwise
     experience unacceptably high rates of relapse or loss to follow-up, ranging from the identification and
     triage of patients after non-fatal overdose to the expansion of induction and IOP programs to the
     provision of compassionate, evidence-based care for individuals living in recovery.




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C. Managing Complications Attributable to the Epidemic
The goal of this abatement remedy is to provide unfettered access to high quality, longitudinal,
compassionate and comprehensive treatment to individuals in the Community with OUD who have
complications from the disorder. Such complications include chronic infectious diseases, such as HCV or
HIV, acquired through the sharing of needles during injection drug use (IDU), as well as endocarditis and
valvular heart disease, complications from blood-born bacterial infections that can seed the heart valves and
cause significant morbidity and mortality.

113. An estimated 4.1 million people in the U.S. are infected with HCV 357 and 1.1 million are infected with
     HIV, with about 25% of HIV cases co-infected with HCV.358, 359 Individuals that are co-infected with
     HIV and HCV have a greater risk for chronic liver disease and liver-related death than individuals
     living with HIV alone. While studies suggest only a small proportion of individuals with non-medical
     opioid use progress to heroin,360 there are nevertheless millions of individuals who report such non-
     medical opioid use in the United States. IDU is a primary risk factor for the acquisition and transmission
     of both HCV and HIV, and the opioid epidemic has resulted in a sharp increase in both of these diseases.
     From 2012 to 2016, the CDC estimated acute HCV infections have increased by approximately 70%, 361
     and states with the highest rate of new HCV infections, such as West Virginia, Kentucky, and
     Tennessee, are also among those that have been hardest hit by the opioid epidemic. 362 Several studies
     have reported significant associations between the opioid epidemic and HCV. 363,364

114. Beyond national statistics, a microcosm illustrating the interconnectedness of the opioid epidemic and
     HIV and HCV infections was seen in rural Scotts County, Indiana. In 2015, this rural county
     experienced a community outbreak of HIV, and by April 2016, there were 188 confirmed cases of HIV
     infection, of which 92% were coinfected with HCV.365 The Indiana State Department of Health led an
     investigation into this outbreak and determined it to be linked to the injection of the prescription opioid
     oxymorphone.366 This outbreak also highlighted the vulnerabilities of communities to handle these
     crises.s Cabell County is considered by the CDC and WVDHHR to be among the most vulnerable
     counties in West Virginia for rapid transmission of HIV and HCV. 367

115. Between 2014 and 2019, the proportion of new HIV diagnoses in West Virginia attributable to IDU
     increased from 12.5% to 64.2%; a majority of these individuals resided within Cabell County. 368 More
     recently still, 87 HIV diagnoses in Cabell County were linked to IDU from January 2018 to May
     2020.369 In 2016, the incidence rate of acute HCV in Cabell County was nine times higher than the
     national average (7.1 vs 0.6 per 100,000), and IDU was reported as a risk factor in over 40% of acute
     HCV cases.370 HCV among pregnant women has also increased markedly within the state, and of all
     of the counties within the state, Cabell County is considered to have the highest risk of HCV
     transmission to newborns.371 Among women with HCV that gave birth in 2016, over half (53%) had
     maternal drug use and nearly a third (32%) delivered infants with NAS. HIV and HCV coinfection is
     also common in the state, with nearly a third of those aged 20-39 years who are living with HIV also
     coinfected with HCV; among coinfected individuals, over half report IDU as the transmission route.
     HCV is also costly for the state of West Virginia; between 2014 and 2016, Medicaid costs for treating
     HCV totaled more than $27 million.


s
 Of note, NIDA cites the implementation of a syringe services program as a major factor helping to bring this HIV outbreak
under control. Volkow N. Syringe-Exchange Programs Are Part of Effective HIV Prevention.
https://www.drugabuse.gov/about-nida/noras-blog/2016/12/syringe-exchange-programs-are-part-effective-hiv-prevention.
Published 2016. Accessed August 1, 2020.
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116. Individuals in the Community with OUD should be targeted for HCV and HIV screening and referral,
     since the effectiveness and cost-effectiveness 372 of screening for HCV and HIV are well-established.
     There are many opportunities for screening individuals with OUD, including at EDs, residential or
     outpatient treatment facilities, syringe services programs, and jails and prisons. In particular, efforts
     should be focused on screening individuals who inject drugs and share injection equipment. The CDC
     recommends such individuals be tested for HIV annually; 373 HCV screening should also be performed
     annually and jointly with HIV screening,374 allowing for the effective use of existing infrastructure and
     resources to address both diseases. Additionally, integrating HCV and HIV testing and counseling
     programs may reinforce prevention education messages to reduce risky behavior among high-risk
     populations such as people who inject drugs. 375

117. It is crucial that HCV and HIV screening is effectively linked to post-test services and support including
     treatment and counseling, since the performance of screening without proper and effective referral
     channels could lead individuals to miss out on timely initiation of prophylaxis and treatment, which
     may accelerate disease progression and lead to an increased transmission rate within the community.
     The safety and effectiveness of HCV treatment has improved markedly during the past few years with
     several new FDA-approved medications. Current HCV treatments usually require just 8 to 12 weeks
     of oral therapy and can cure over 90% of patients with few side effects. 376 Early HCV treatment helps
     to prevent or limit the development of cirrhosis, lowering the risk of developing liver cancer, liver
     failure, and other complications in addition to limiting the risk of HCV transmission to sexual partners
     or children, increasing survival, and improving quality of life. 377 As a result, HCV treatment is cost-
     effective.378,379 However, patients can be re-infected with HCV, reinforcing the need for SSPs to be
     easily accessible to prevent the spread of HCV.

118. Timely HIV treatment is also important as it significantly improves survival and quality of life, limits
     HIV transmission, and slows the progression of the disease. 380 HIV is a chronic condition that currently
     requires lifelong treatment and monitoring, and, as a result, continued treatment services are critical as
     lapses in care could lead to suboptimal outcomes and continued HIV transmission. 381

119. Endocarditis is another rare but serious complication of OUD and has long been regarded as one of the
     major causes of morbidity and mortality among those inject drugs. 382 Infective endocarditis (IE), or
     infection and inflammation of the heart valves and lining of the heart chambers, is caused by bacteria
     entering the blood stream and attacking heart valves. Acute endocarditis is especially severe and
     common among IDU and often results in additional infection, or septic emboli, of the kidneys, lungs,
     and brain.383 In one recent report, hospitalizations for endocarditis increased twelve-times among
     individuals with drug dependence in North Carolina between 2010 to 2015; one third of individuals
     were infected with HCV and the average cost of each hospitalization exceed $50,000. 384 In another
     report using the Health Care and Utilization Project National Inpatient Sample (HCUP-NIS), the
     proportion of IE-related hospitalizations that were attributable to intravenous drug use increased from
     7.0 to 12.1% between 2000 and 2013, which the authors noted “appear to mirror those of the
     intertwined prescription opioid, heroin, HCV, and overdose epidemics throughout the country.” 385
     These findings are important because of the morbidity associated with the disease, with estimates of
     in-hospital mortality as high as 11-26% and 5-year mortality as high as 12-50%. 386,387,388 Compared to
     IE patients that were not injection drug users, patients with IE associated with IDU have a significantly
     higher likelihood of open cardiac surgery, longer hospital stays and nearly 1.5-times higher hospital
     costs.389 Additionally, a study from Boston, Massachusetts found that despite IDU patients being
     younger and having fewer cardiovascular risk factors than non-IDU patients with IE, IDU patients had
     nearly a four-times higher risk of valve-related complications.390 Among individuals with infectious
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   endocarditis (IE) involving the right side of the heart, IDU was noted among approximately one third
   (29.5%) of individuals in a literature review of 262 individuals from 2008 to 2013. 391 A separate
   nationwide study found the overall incidence rate of IE associated with IDU increased over 250%
   between 2009 (30 per 10,000 cases) and 2016 (79 per 10,000 cases). 392

120. A recent study of 462 patients in southern West Virginia, hospitalized with IDU-associated IE, reported
     that only a quarter of billed fees were collected, resulting in a deficit of $13,476,763 between 2008 and
     2015 for one tertiary care hospital.393 This study found that the incidence of hospitalizations for IDU-
     associated IE increased 250% between 2008 and 2015 at a tertiary care hospital in Southern West
     Virginia. Cases of infectious endocarditis in Cabell County, which exceed the national average, 394
     increased from 11 cases in 2010 to 76 cases in 2019, with the highest number of cases (86) in 2018. t

121. Endocarditis treatment initially requires inpatient hospitalization and intravenous antibiotic
     administration. In some cases, the damage to the heart valve is so severe that it must be replaced
     surgically. In Cabell County especially, young people (e.g., aged 25 years) are receiving multiple heart
     valve replacement surgeries.395 Unfortunately, complications such as lack of response to antibiotics or
     embolization that causes strokes may occur, and also prove fatal. These cases pose a high burden on
     Cabell Hospitals because of their social and clinical complexity and because of the very high risk of
     rehospitalization if intravenous drug use is not discontinued as further discussed by Dr. Ellen
     Thompson in her expert report. However, hospitalization represents an opportunity for delivery of
     addiction counseling, enrollment in treatment, and education on harm reduction strategies.

122. Many barriers will have to be overcome to consistently provide high quality, longitudinal,
     compassionate and comprehensive treatment to individuals with complications from OUD such as
     those described above. For example, one study surveyed 333 patients living with HIV between 2007
     and 2008 to examine barriers to support service use and factors associated with need and unmet need
     for services.396 The analysis found that 71% of patients reported needing at least one supportive service.
     Barriers to accessing such services included lack of information (47% reported not knowing where to
     go or who to call); administrative burdens (33% reported the system too confusing and/or the wait list
     too long); and financial or logistical barriers (18% reported treatment too expensive and/or
     transportation problems). A survey of individuals with HCV, including some also with HIV, between
     November 2013 and July 2015, found that over 93% of participants wanted HCV treatment but
     approximately half were unable to spend anything out of pocket for their treatment. 397 In addition to
     cost, participants also reported that access to medications and provider reluctance delayed treatment
     initiation.

123. Components of abatement interventions. The Community has established HIV and HCV screening
     through the Cabell Huntington Health Department, however, additional screening efforts and treatment
     for these OUD complications should be provided (see Section 2C of the Redress Model). Based on the
     scientific evidence for HIV and HCV prevention and treatment, all individuals with OUD, especially
     those that inject drugs, should be screened annually for HIV and HCV. Additionally, individuals who
     test positive for HIV or HCV, or have acquired HIV or HCV because of the opioid epidemic, should
     receive comprehensive health care for their disease. This not only includes medications for HIV or
     HCV, but also care for other associated acute, chronic and preventive needs. In addition to intravenous
     antibiotics and other direct clinical care, those with infectious endocarditis attributable to the opioid
     epidemic should also be linked with OUD treatment and recovery services upon hospital discharge.

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    Estimates provided by Dr. Ellen Thompson.
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124. In conclusion, the opioid epidemic has had many ripple effects, and transmission of HIV and HCV
     among people who use drugs has escalated in settings such as Cabell County and the City of Huntington
     due to increases in the number of individuals with OUD. Fortunately, HIV and HCV are well
     understood diseases, and effective treatments, and in the case of HCV, curable ones, exist. Many
     barriers must be overcome to achieve the widespread screening and treatment that is required to abate
     these elements of the opioid epidemic within the Community, and individuals with other costly and
     complex sequela of the epidemic, such as infectious endocarditis, also require special clinical care,
     coordination and support. As with other programs proposed in my abatement plan, these components
     have a favorable return on investment and will help individuals avoid preventable adverse events
     related to these infectious diseases.




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D. Workforce Expansion and Resiliency
The goal of this remedy is to expand the healthcare workforce, since the Community benefits from well-
trained healthcare professionals who are equipped to deliver services for those living with chronic pain
and/or OUD. The workforce must be trained and equipped to meet the needs of Community residents, and
to provide evidence-informed services to address the social and medical harms associated with the opioid
epidemic.

125. Workforce training. A well-trained healthcare workforce is central to any program to address
     prevention and treatment of OUDs. A well-trained workforce can follow evidence-informed guidelines
     for pain treatment, can help to provide MOUD treatment,398 and can address a variety of health needs
     arising from the opioid epidemic. Complementary mechanisms can help to prepare the workforce,
     including greater training through existing graduate health professional education programs (Section
     1A), as well as capacity-building through expansion of existing infrastructure and the creation of new
     programs for health care professionals and paraprofessionals.399

126. Workforce Assessment. Given the scope of the challenge, the Community should consider a systematic
     Workforce Assessment to determine gaps in the available supply and core competencies of the clinical
     and social service workforce available to address the opioid epidemic. Such an Assessment would
     explore the available supply of managerial and administrative professionals, nurse and medical practice
     leaders, substance use disorder treatment agency staff, social workers and case managers, recovery
     coaches and paraprofessionals available to assist people with opioid use disorders. The Assessment
     would explore the workforce’s core technical and cultural competencies regarding pertinent OUD
     treatment and service interventions. West Virginia’s 2012 Workforce Assessment Survey provides one
     valuable foundation for such efforts.400

127. Workforce expansion. Existing data suggest that the Community requires additional well-trained
     professionals and paraprofessionals to deliver needed health care and social services for those living
     with chronic pain or OUD.401 Workforce expansion is a necessary, readily-overlooked component of
     any effort to build treatment infrastructure.402 Several complementary mechanisms can be pursued to
     expand this workforce and to improve its preparation, cultural competencies, and diversity. Existing
     graduate health professional education programs, as outlined in Section 1A and elsewhere in this report,
     provide one important pathway. The community also has access to other options for capacity-building
     through expansion of existing infrastructure and the creation of new programs for health care
     professionals and paraprofessionals.403

128. MOUD providers. West Virginia compares favorably with many other states in the number of waivered
     MOUD providers.404 As in many other states, however, many providers do not prescribe to their
     maximum patient limit. Measures to address known organizational barriers and to improve provider
     confidence and expertise in addressing addiction may be helpful in addressing these challenges. For
     example, within Cabell County, PROACT has implemented a novel solution where providers dedicate
     clinic-time to seeing patients for addiction treatment at PROACT, distinct and separate from their
     regular practice.405 This has increased provider capacity and given support to health care professionals.
     Greater deployment of nurse practitioners with primary care expertise may also help to expand patient
     access to MOUD.406

129. Pain specialists. Any Workforce Assessment can also help to evaluate the level of community need for
     additional pain specialists. Such individuals may include both physicians and non-physicians who are


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   well trained, highly experienced and knowledgeable about integrative care that combines
   pharmacologic and non-pharmacologic treatments for pain.

130. Medical Social Workers. Medical social workers address the psychosocial needs of an individual, such
     as housing or transportation, that increase the likelihood of continuing treatment and recovery. Within
     Cabell County, social workers should be integrated within the continuum of medical care for OUD to
     alleviate community resources and ensure wraparound care. 407 There are already examples of
     successful integration of social workers within services for infants with NAS and women in recovery.
     For example, Lily’s Place has a social worker that helps ensure infants with NAS are linked with the
     services necessary to successfully rejoin their families in the home. In Healthy Connections, an
     integrated service for women in recovery and their children, social workers act as family navigators
     and provide intensive case management, where following a comprehensive assessment, form an
     individualized plan for the client and child to identify and coordinate services. 408 Leveraging this
     knowledge and experience within the community and expanding case management to additional
     populations would ensure that individuals will not “fall through the cracks”, improving treatment and
     recovery outcomes.

131. As health care has become more specialized and fragmented, social workers are also needed to
     coordinate care and facilitate communication between members of the health team. This is important
     both for the treatment of OUD and for preventing opioid misuse among patients treated for pain. In
     addition to ensuring smooth transitions between different levels of care, case managers can assist
     clients in setting treatment goals. One randomized control trial found that compared to passive referral,
     individuals who received case management were 50% more likely to engage in treatment with MOUD
     within seven days.409

132. Compassion Fatigue and Workforce Resiliency. Compassion fatigue has been referred to as the “cost
     of caring” with symptoms that mirror post-traumatic stress disorder.410 As noted by Jan Rader, Chief
     of Huntington Fire Department, repeated exposure to traumatic experiences, such as multiple overdoses
     and overdose-related deaths among young people,411 impact emergency responders emotionally,
     behaviorally, interpersonally and physically. Compassion fatigue and burnout result in increased
     turnover and decreased empathy. A survey of behavioral health and emergency preparedness
     responders found that nearly three in four (72%) were at risk of compassion fatigue and nearly one in
     five (19%) were at risk of burnout.412 Importantly, fewer than one in four (22%) had high resilience,
     which is associated with decreased likelihood of compassion fatigue and burnout. Programs to build
     resilience, self-efficacy and a supportive social network among first responders are crucial to promoting
     a safe and healthy community. The City of Huntington’s Compass project serves as one such program;
     it focuses on developing tools and a foundation to cope with high-stress situations, such as self-care
     skills, wellness resources, and nutrition and exercise. 413 City of Huntington Mayor Steve Williams, has
     reported that the Compass program benefits both first responders and professionals impacted by the
     opioid epidemic in the Community.414 A literature review of 25 burnout intervention studies found that
     a combination of person-level (e.g., mindfulness, self-care, coping) and organization-directed
     interventions (e.g., professional support systems or “buddy systems”, workplace policies) resulted in
     positive effects and reduced burnout lasted for at least one year, whereas the positive effects of person-
     level interventions alone lasted for only six months.415

133. Components of abatement interventions. As noted in the Resiliency Plan, there is a need to expand the
     healthcare workforce within the Community. There are four major components to an expanded health
     care professional and paraprofessional workforce: (1) conducting a Workforce Assessment to
     determine key staff and training needs in the Community; (2) expanding the number of MOUD
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   providers; (3) expanding the number of medical social workers (4) creating and expanding programs
   that address burnout/compassion fatigue. Medical social workers should be expanded and incorporated
   into EDs within the Community, where they can assist in linking individuals to treatment and
   community resources. In order to maintain the workforce resiliency within Cabell County, compassion
   fatigue programs should be made available for first responders and professionals whose clients have
   OUD or are affected by the opioid epidemic such as nurse practitioners.

134. In conclusion, an effective response to the opioid epidemic must include investments in the
     Community’s healthcare workforce to address prevention as well as evidence-based pain and OUD
     treatment. The workforce must include medical social workers in order to provide wraparound services
     and address the psychosocial needs of individuals with OUD and their families. Finally, programs
     should be supported and deployed to ensure the resiliency of the current and future workforce.




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E. Distributing Naloxone and Providing Training
The goal of this remedy is to expand upon and support the efforts of the naloxone distribution and training
that is currently being done in the Community. This is important because naloxone is an opioid antagonist,
or "blocker”, that can save lives by safely and rapidly reversing opioid overdoses. However, its costs,
stigma, and other barriers have historically limited accessibility to those in need.

135. Naloxone works by binding to opioid receptors and blocking respiratory depression and other effects
     of prescription opioids and heroin, or illicit fentanyl, if someone has opioids in their system. It comes
     in three FDA-approved formulations: injectable, autoinjector delivered, and nasal spray (“Narcan”).
     Though injectable naloxone is the least expensive, use of the injectable formulation requires
     professional training.

136. Naloxone is a non-scheduled prescription medicine rather than a controlled substance, and there is
     widespread consensus that naloxone distribution and training represent an important method to reduce
     opioid-related overdose.416 In a randomized controlled trial, intranasal naloxone reversed heroin
     overdose successfully in 82% of patients,417 and naloxone distribution and training programs have also
     shown over 80% effectiveness at reversing overdoses in community settings. 418,419 In a systematic
     review of take-home naloxone programs for individuals likely to witness an opioid overdose, naloxone
     was associated with successful overdose reversals in 96.3% of the patients (2,249 successful overdose
     reversals among 2,336 administrations).420 It is important to note that there is no evidence to support
     that naloxone use encourages and enables drug use.421,422

137. Many other community-level evaluations have been performed. For example, a study of 19
     geographically distinct cities and towns in Massachusetts found that opioid overdose death rates were
     27% to 46% lower in communities where overdose education and naloxone distribution had been
     implemented.423 A study of a naloxone distribution program in North Carolina suggested that counties
     in the state that distributed naloxone kits had a 10% to 12% lower opioid overdose death rates compared
     to their counterparts, avoiding 352 overdose deaths between 2013 to 2016. A recent study found that
     states that allow direct dispensing of naloxone by pharmacists (or, “direct authority”) were associated
     with a significantly reduced rate of fatal opioid-overdoses. 424 Public lock boxes, similar to boxes with
     automated external defibrillators (AEDs), containing naloxone have been implemented in Rhode Island
     and Ohio, and are one method to ensure community access of naloxone where overdoses may
     frequently occur (e.g., libraries).425

138. The CHHD implemented naloxone training and dispensing in the first half of 2016. 426 Following the
     implementation of this program, the County reported a 25.7% decrease in opioid-overdose mortality
     compared to the prior year, despite an increase in the number of overdoses overall. By June 2016, the
     CHHD received reports that more lives were saved with naloxone than lost to an overdose. 427 It is clear
     that efforts to increase the public utilization of naloxone in Cabell County are also effective. In 2019,
     more doses of naloxone were administered prior to EMS arrival (by law enforcement, fire department,
     or by the public) than any other county in West Virginia. 428

139. Despite its benefits, naloxone distribution and training will have a finite impact on the opioid epidemic.
     Not all overdoses are witnessed by someone willing and able to administer naloxone. In addition, the
     long-term public health impact of naloxone programs depends on what happens after an overdose is
     successfully reversed.429 For example, successfully revived individuals remain vulnerable to future
     overdose and death, and individuals who overdose once have escalating risks of future overdoses. After
     naloxone, individuals may temporarily or permanently abstain from use, continue as active users,
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   obtain addiction treatment, overdose again, or die of other causes. Naloxone distribution must be
   accompanied by direct training, and its role in reversing overdoses should also be considered for
   inclusion in educational campaigns. Ultimately, the outcomes of an overdose reversal depend upon the
   availability and comprehensiveness of OUD treatment, other mortality risks, and background factors.
   These factors underscore the importance of a comprehensive abatement approach.

140. Components of abatement interventions. Given the extensive use of naloxone in the Community,
     efforts to support naloxone distribution, training, and use can be categorized in four distinct channels
     (as described in Section 2E of the Redress Model).u First, first responders, such as law enforcement
     officers, firefighters, and paramedics and emergency medical technicians (EMTs), should be provided
     with naloxone and training, since these individuals often serve as the initial point of contact with those
     who have overdosed. Second, EDs within the Community should have sufficient naloxone doses for
     hospitalized overdose cases and doses to expand access to take-home naloxone once patients are
     discharged. Third, high-risk patients, such as those who are maintained on chronic, high-dose
     prescription opioids or who have already experienced a non-fatal overdose, should be prescribed
     naloxone and trained on how to administer it. Such individuals can be reached through ambulatory and
     community-based programs, or as is already done by the Huntington QRT, on follow up visits after an
     overdose. In many cases, such training should also include their social network, caregivers, and/or
     family members, given the likelihood that these individuals would be most likely to respond to an
     overdose. Another group of high-risk individuals who should receive naloxone are individuals who
     have OUD and were recently incarcerated and upon release from incarceration. For example, a study
     in North Carolina examined the difference in opioid overdose death rates between former inmates and
     general residents found that former inmates were 40 times more likely to die of an opioid overdose
     than someone in the general population. 430 Finally, naloxone should be distributed throughout
     communities in public lock boxes, similar to automatic external defibrillators which are routinely
     available in movie theaters, malls, schools, airports, and houses of worship. This will improve the
     capacity of bystander rescuers to save the lives of opioid overdose victims.

141. In conclusion, abatement programs within the Community should ensure that naloxone is readily
     available to all in need, including first responders and high-risk patients, as well as distributed
     effectively in public spaces. Naloxone distribution should be accompanied by direct training, and its
     role in reversing overdoses should also be considered for inclusion in educational campaigns as
     discussed elsewhere herein.




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  Additional formulations and continued innovation in the naloxone market are likely, and abatement remedies should remain
flexible to keep pace. For example, a new naloxone formulation may be developed that has a significant comparative advantage
over currently available formulations.

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CATEGORY 3: RECOVERY – ENHANCING PUBLIC SAFETY AND REINTEGRATION
A. Public Safety
Law enforcement officers are in a key position to help reverse the opioid epidemic in the Community as
they respond to overdoses and engage in public health oriented policing interventions such as community-
oriented policing, a practice that places officers consistently in the same local settings to support their
greater integration and partnership with community residents (Paragraph #89). Despite this, police
departments, as with other local agencies, have been stretched thin because of the demands of the opioid
epidemic, diminishing their ability to address other public safety needs. For example, as reported by Cabell
County Sheriff Charles Zerkle, deputies have been pulled from regular duty and placed within schools to
address harms from the opioid epidemic.431 The abatement interventions proposed in this report, combined
with the expansion of social workers and mental health personnel in the Community, will address or prevent
many of the calls that police and other first responders currently have to respond to. However, in addition
to expansion of treatment and mental health services, there is also a need for a greater number of specialized
detectives who can focus on the opioid epidemic, as well as specific policing strategies, such as community-
oriented policing, that can equip the broader police force responding to it.

142. Training to reduce stigma. Since law enforcement officers are often the first responders to an overdose,
     they must have the training and confidence to appropriately respond. v While not focused on opioid
     overdose per se, training for officers to reduce stigma related to behavioral health crises has been
     effective at improving officers’ attitudes toward individuals with mental health issues 432,433 and self-
     efficacy in handling these calls.434,435 Such Crisis Intervention Team (CIT) training has also reduced
     arrests and use of force,436 and increased referrals for services during a mental or behavioral health
     crisis. 437,438 Such training, which should be repeated at regular intervals, may reduce stigma by law
     enforcement towards people with OUD, increase the likelihood that individuals will call 911 for help,
     and improve referrals for services and/or treatment.

143. Pretrial Diversion. Pretrial diversion, sometimes referred to as Law Enforcement Assisted Diversion
     (LEAD), offers eligible individuals who would otherwise be arrested for drug-related charges the
     opportunity to instead access community-based services and/or treatment. 439 These programs are
     unique in that they occur pre-booking so that if an individual who qualifies for the program chooses to
     enroll, they do not have an arrest on their record if they complete program requirements. Qualifications
     are typically based on having committed a low-level drug offense and factors such as the amount of
     drugs possessed, absence of any intent to distribute, and absence of disqualifying criminal history such
     as violent crime.440 Thus, in contrast to drug courts, LEAD participants never enter the criminal justice
     system and they are enrolled in the program instead of being charged with a crime. Diversion programs
     reflect partnerships between law enforcement and local behavioral health systems to enroll individuals
     in appropriate services. The Huntington LEAD pretrial jail diversion program is designed to expedite
     treatment for individuals with SUDs while reducing strain on the criminal justice system; eligibility is
     determined by non-violent or low-level offenses, an individual’s ability to participate in treatment, and
     the discretion of the social worker/mental health professional that is embedded in the police
     department.441

144. Seattle created the first LEAD program and early evaluation results suggest improved outcomes for
     participants including housing, employment, and reduced recidivism. 442,443 For example, LEAD
     participants with suspected low-level drug offenses had fewer arrests and felony charges, shorter jail

v
  Law enforcement officers within prisons and detention centers should also undergo similar training, given high rates of stigma
in these settings as well.
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   time, and less interaction with the legal and judicial system. 444,445 Additionally, participants were twice
   as likely to have been sheltered, 90% more likely to have permanent housing, and almost half were
   either employed or in vocational training.446 Despite differences in state laws and client intake
   processes, the City of Huntington has successfully implemented the LEAD program modeled after
   Seattle’s experience.447 Half of the individuals contacted by the LEAD program in Huntington have
   entered some form of treatment.448 Since approximately half of inmates of West Virginia prisons will
   reoffend, or re-enter, prison despite currently available rehabilitation opportunities, 449 LEAD programs
   are one important means of reducing the rate of individuals with low-level drug offenses from entering
   prison and addressing environmental factors that contribute to repeat offenses among individuals with
   OUD. As with CIT training, law enforcement officers require training that should be repeated at regular
   intervals to maximize their familiarity and expertise with the conduct of LEAD. As of December 2019,
   West Virginia LEAD programs have diverted more than 250 people from the criminal justice system;
   66% percent of program participants have not been re-arrested. 450

145. Community-Oriented Policing. Community-oriented policing (COP) is a policing strategy that focuses
     on reinforcing connections between communities and police officers through building mutual trust and
     cooperation through frequent communication, adopting a “problem solving” mindset and approach and
     collaborating with community organizations.451 Fortunately, the Huntington Police Department and
     Cabell County Sheriff’s Office have already participated in coalition building and local response to the
     opioid epidemic. An analysis of five small to midsize cities in North Carolina found that police
     departments that incorporated COP had more perceived community integration among residents and
     was considered a “positive change” compared to traditional high visibility policing. 452 In a 2014
     systematic review of COP programs, 78% of studies reported that COP improved citizens’ satisfaction
     with the police, and helped reduce perceptions of drug dealing and social disorder in their
     neighborhoods.453

146. Specialized overdose units. Some police departments have created specialized units to address the
     opioid epidemic. These units, such as one in Cleveland, Ohio, 454 are often comprised of detectives,
     sometimes within homicide or narcotics units, who work to link together overdose incidents across the
     city by identifying similar contacts, sources, dealers or other features between overdose events. These
     units treat sites of overdoses as crime scenes and work to track back to dealers and build cases for
     prosecution to bring down higher level supply sources for opioids. 455 The optimal specific size and
     composition of these units, as with other components of an effective law enforcement response to the
     epidemic, will depend upon many features of the local community, including the size and urbanicity
     of the jurisdiction as well as the burden of prescription opioids, heroin, and illicit fentanyl.

147. Components of abatement interventions. As reflected in the Redress Model, LEAD programs should
     be established, or re-established, in the Cabell County Sherriff and Huntington, Barboursville, and
     Milton Police Departments in order to divert as many qualified individuals as possible. The optimal
     size of any LEAD program depends upon the size of the population served by a police department and
     the burden of the epidemic within the community. Moreover, the Community should implement
     community-oriented policing strategies that are appropriate locally and will continue to evolve over
     time to achieve optimal societal benefits. Additionally, police departments should create specialized
     overdose units to investigate and disrupt higher-level opioid trafficking. As with LEAD programs, the
     size of specialized overdose units will depend on local factors such as levels of drug trafficking and
     size of population served by the police departments. It is important that police and correctional officers
     receive continuous stigma reduction training, so they are better prepared when interacting with
     individuals with OUD or who have overdosed.

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148. In conclusion, law enforcement plays a vital role in an effective public safety response to the opioid
     epidemic, and abatement programs in the Community should include resources to support a variety of
     different functions. While the specific needs of local law enforcement could extend beyond the areas
     identified above, at a minimum, resources should be committed to ensure adequate support training to
     reduce stigma, pretrial diversion, community-oriented policing and one or more specialized overdose
     units.




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B. Criminal Justice System
The criminal justice system is a major thoroughfare for individuals with opioid addiction and represents an
opportunity to identify and link those individuals to treatment, reducing their risk of overdose and
recidivism while improving their societal reintegration. This remedy also focuses on ways that the criminal
justice system can positively impact the opioid epidemic in the Community, such as by building upon the
Cabell Drug Court to further scale reentry programs.

149. The opioid epidemic has burdened the U.S. criminal justice system with a surge of inmates, increasing
     health care costs associated with OUD and producing high rates of overdose and recidivism. Data from
     the Department of Justice suggest over half of the incarcerated population nationwide has a SUD, 456
     approximately one in four state prisoners nationwide between 2007-2009 reported prior heroin or
     opioid use,457 and by some estimates, as many as one fourth to one third of individuals with heroin
     addiction are estimated to pass through the criminal justice system each year. 458 Substance use is also
     responsible for over 60% of parole revocations in West Virginia. 459

150. Treatment for OUD. Nationally, fewer than 20% of individuals with SUDs in the criminal justice
     system receive treatment,460 and what treatment is received is often inadequate. According to the
     Federal Bureau of Justice Assistance, as of August 2017, only 30 of the 5,100 (0.6%) prisons and jails
     in the U.S. offered opioid users methadone or buprenorphine, 461 despite evidence that such treatment
     improves treatment entry and retention after release if arrangements exist to continue treatment. 462
     Because of this, induction facilities and access to MOUD, as well as other treatments along the
     continuum of care, are important for those incarcerated in jails, prisons or juvenile detention facilities.
     In 2017, West Virginia implemented an MOUD pilot program for non-violent offenders with OUD and
     funds community engagement specialists, transitional housing (or “recovery residences”), and peer
     recovery coaches.463 Individuals that successfully complete the treatment program may be eligible for
     a reduced sentence or supervised release. While MOUD should be made available to anyone with OUD,
     such treatments are especially important for high priority populations such as pregnant women with
     OUD and individuals already on MOUD prior to incarceration. 464

151. Drug courts. There is substantial evidence regarding the role that drug courts can play in diverting non-
     violent offenders from the criminal justice system to the treatment system, where their needs can be
     more effectively addressed.465 These programs represent special court dockets that provide judicially-
     supervised substance use treatment in lieu of incarcerating individuals with drug-related offenses. The
     President’s Commission on Combatting Drug Addiction and the Opioid Crisis included a
     recommendation that the “DOJ [Department of Justice] broadly establish federal drug courts within the
     federal district court system in all 93 federal judicial districts.” Further, the Commission reported
     “States, local units of government, and Indian tribal governments should apply for drug court grants
     established by 34 U.S.C. § 10611. Individuals with a SUD who violate probation terms with substance
     use should be diverted into drug court, rather than prison.” 466

152. In Cabell County, an adult drug court is available for non-violent offenders who have been arrested for
     low-level crimes; participants are enrolled in the program for at least one-year. 467 The Cabell Drug
     Court is successful given 82% of drug court graduates do not reoffend 468 and, among adults, the one-
     year recidivism rate following graduation is 1.9%.469 One of several sources of evidence to support the
     efficacy of drug courts is a comprehensive review commissioned by the U.S. Department of Justice
     that examined drug courts in the U.S.; the report, which was also supported by the Office of National
     Drug Control Policy (ONDCP) of the Executive Office of the President, found that the combination of
     comprehensive treatment services and individualized care provided by drug courts is an effective way
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   to provide treatment to criminal offenders with SUDs. 470 A study conducted by the U.S. Department
   of Justice found that drug court participants reported less drug use, lower rates of positive drug tests,
   and fewer rearrests than comparable offenders who did not participate in drug courts. 471 Though
   treatment investment costs are higher for individuals participating in drug courts, the reduced
   recidivism resulted in an average savings of $5,680 to $6,208 per offender. Additionally, a meta-
   analysis of 154 studies found that adult drug courts reduced drug-related recidivism from 50% to
   37%.472

153. Reentry programs. Individuals released from prisons and jails are faced with a multitude of issues that
     make their reintegration into the community challenging, including substance use or mental health
     problems and having no or little qualifications and skills that make them employable. 473,474 To address
     this issue, many jurisdictions in the U.S. developed and implemented reentry programs that include
     drug use, mental health, transitional housing, educational, job readiness, and employment
     services.475,476 A study of young offenders aged 16 to 25 years enrolled in the Substance Use Treatment
     and Reentry (STAR) Program in Los Angeles found over 70% were still employed a year after initiating
     the program, self-reported arrests were below 15%, and there was a reduction in substance abuse among
     participants that reported drug use at intake.477 A study of Florida inmates between January 2006 and
     December 2008, found that reentry and transitional substance use programs had some of the largest
     effects on increasing employment and reducing recidivism.478 In 2018, the Council of State
     Governments Justice Center, sponsored by the U.S. Department of Justice, released guidelines for
     “Best Practices for Successful Reentry for People Who Have Opioid Addictions” that describe efforts
     local agencies can implement to ensure successful reentry. 479 Successful reentry programs must
     simultaneously assess the need for, and deliver to participants, supportive services and programs across
     a number of dimensions, including housing, education, employment, health and well-being, and family
     reunification and support.480 Though community engagement specialists assist with reentry in West
     Virginia, further resources are needed to ensure individuals remain on MOUD and have sufficient
     psychosocial support upon reentry. 481

154. Components of abatement interventions. The Community should expand the capacity of the Cabell
     Drug Court, so that enough spaces are available so as to divert and treat as many qualified individuals
     with OUD as possible. Estimates for this intervention are described in Section 3B of the Redress Model.
     Juvenile drug courts should also be expanded in the Community to prevent the negative effects of early
     incarceration. Additionally, all individuals (re)entering the criminal justice system should be screened
     for OUD and individuals who need treatment must receive appropriate care. Inmates released while
     still receiving treatment should be closely linked to agencies and organizations that provide treatment
     upon re-entry to avoid lapses in treatment and suboptimal treatment outcomes. Moreover, individuals
     with OUD released from jails or prisons should be linked to existing reentry programs that provide
     transitional housing for those who are at a high risk of homelessness, social services, and
     jobs/vocational training. Efforts in the Community should focus on expanding capacity to
     accommodate those in need of reentry programs and should invest in creating and expanding programs
     to provide comprehensive social services.

155. In conclusion, a large proportion of individuals with OUD, or who have otherwise been impacted by
     the opioid epidemic, come into contact with the criminal justice system each year, including within the
     Community. Because of this, as well as the demonstrated benefit of interventions such as MOUD, drug
     courts, reentry programs and jobs training for those with OUD, many further investments are needed.
     Such investments will not only be of direct benefit to the participating individuals, but also of broader
     societal benefit as they strengthen families, enhance community reintegration and help local areas hard
     hit by the epidemic to recover.
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C. Vocational Training and Job Placement
The goal of this remedy is to promote economic development to make gainful employment readily available
to individuals in the Community with OUD or who have been otherwise impacted by the opioid epidemic.
This is important because of the complex but beneficial relationship between employment and recovery. 482

156. Jobs training and placement services for individuals with OUD. The opioid epidemic has been
     particularly profound in many parts of America that have simultaneously experienced significant
     economic decline, including Appalachian communities such as Cabell County and the City of
     Huntington. While the relationship between economic hardship and opioid morbidity and mortality is
     complex,483,484 there is widespread consensus that jobs training is important for under- and unemployed
     individuals with OUD. 485 Unemployment is a significant risk factor for substance use and relapse, and
     OUD is itself a significant employment barrier. For these reasons, comprehensive treatment programs,
     as well as diversion and reentry programs, often include vocational training and job placement. It is
     important that vocational training programs incorporate pre-employment preparation, gradually
     increasing hours and work responsibility, and ongoing support from counselors and peers. 486 Existing
     data suggest that vocational services within SUD treatment are cost-effective, 487 though such programs
     face many barriers in creating successful paths to employment. Trials are now underway to explore the
     effectiveness of alternative models.488

157. Expanded job opportunities to meet local needs created or worsened by the opioid epidemic. There is
     also widespread consensus that the opioid epidemic itself has created new challenges with implications
     for the healthcare workforce within affected communities. These challenges may be met through proper
     training and deployment of health care professionals and paraprofessionals. Workforce needs cross the
     range from community health workers to case managers to child protection staff, social workers,
     nurses, and other professionals able to serve individuals and families directly affected by OUD. Some
     of these roles, such as peer navigators, can be effectively performed by individuals with lived
     experience of OUD.489,490 Other roles can be filled by other Community residents.

158. Within Cabell County, several training and vocational programs have been implemented to support
     individuals that are recovering from SUDs. For example, training programs for peer recovery coaches
     have been scaled in the Community and these coaches are now engaged in many programs and services
     throughout the County and State.491 Peer support workers leverage the shared experience, respect, and
     mutual empowerment that occurs among individuals with OUD, helping to reduce the likelihood of
     relapse.492 Additionally, Creating Opportunities to Recovery Employment (CORE) is a program
     offered by Marshall University that screens individuals and matches them with local employers while
     providing education, training, and support services.493 The CORE program receives referrals from local
     treatment centers and services, individuals and the Cabell Drug Court. As of July 2019, they have
     partnered with 70 business and organizations within the Community.

159. Components of abatement interventions. Vocational rehabilitation programs, such as the CORE
     program, should be implemented and further expanded (see Section 3C of the Redress Model). An
     effective jobs and vocational training program should include jobs training and placement services
     specifically deployed for individuals living with OUD. Additionally, consideration should be given to
     expanding job opportunities for all residents of the Community to meet local needs created or worsened
     by the opioid epidemic. Programs should incorporate skill assessment and training, linkage with
     education and support, mentorship, and problem solving and coping skills in order to respond
     appropriately to workplace stressors.


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160. In conclusion, an effective response to the challenge of OUD must include job opportunities and
     vocational training for Community members. These efforts must include vocational services within
     SUD treatment and related specific services for individuals living with OUD. These efforts should also
     include broader initiatives to serve all community residents to meet local needs created or worsened by
     the opioid epidemic.




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D. Reengineering the Workplace
The goal of this remedy is to provide workplace opportunities and supports that meet the needs of
individuals in the Community who are at risk of OUD, those living with OUD, and those in recovery.

161. The importance of employment. Most people living with OUD or who are now in long-term recovery
     must maintain employment within the paid labor market to achieve self-sufficiency and positive social
     functioning. The competitive labor market is particularly important given the reality that OUD is not,
     itself,494 a qualifying condition for federal disability programs. 495,496 Many people living with OUD
     face other employment barriers, including educational challenges 497 and co-occurring physical or
     mental health challenges, that may be addressed in vocational services, including those offered within
     addiction treatment.498

162. Vocational supports for individuals with experience of OUD. As noted in Section 3C, vocational
     supports for individuals in treatment and in recovery provide one component of this remedy. Existing
     data suggest that vocational services within SUD treatment are cost-effective. 499 Rapid job search
     assistance may be especially important for this population. Long unemployment spells increase job
     market stigma, while serving as a risk-factor for homelessness, renewed use and use disorders. 500,501
     Incorporating peer support and case management services, or mentor support within workplaces, have
     been linked to successful workplace reintegration. 502

163. Recovery-supportive workplaces provide another component of a successful community response.
     Employers can foster workplace environments that welcome individuals in recovery, and that seek to
     reduce addiction stigma.503 Employers can anticipate and address predictable challenges employees
     may face. For example, they can make available onsite or telehealth counseling for both scheduled and
     on-demand recovery support. To reduce both absenteeism and missed appointments, employers can
     facilitate peer support groups designed around workers’ daily schedules. Work sites can openly support
     MOUD, and ensure that health plans comply with the letter and spirit of mental health and addiction
     parity requirements which are intended to ensure proper access to Suboxone and other therapies. 504
     Other measures, such as incorporating vocational rehabilitation counselors (i.e., peer recover coaches
     or case managers) can help ensure support for both workers and employers. 505 Within Cabell County,
     the CORE program is engaging local businesses to generate business-friendly initiatives and address
     concerns by held by potential employers through community roundtables. 506

164. Accountability and safety measures. To be effective and sustainable, public workplace policies must
     address the needs and preferences of local employers. Such measures may include policies to promote
     drug- and alcohol-free workplaces. Accountability measures within recovery-supportive workplaces
     sometimes include drug testing and other measures to ensure safety in specific roles such as those
     involving operating heavy machinery. Although such policies might appear to disadvantage people
     with experience of OUD, evidence-based, transparent policies that address safety 507 and productivity
     concerns lessen employers’ incentives to implicitly or explicitly discriminate against job applicants and
     workers on the basis of SUDs.

165. Individualized employment supports. Many people living with co-occurring mental illness and SUD
     experience particularly severe employment barriers. These individuals may benefit from individual
     placement and support (IPS) models that include individualized long-term supports. A strong body of
     research supports the effectiveness of IPS in assisting individuals with serious mental illness to obtain
     competitive employment.508,509 Many participants in these randomized trials experienced co-occurring
     SUDs. Although the specific elements of such interventions vary, the IPS model includes several core
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   elements, including being open to anyone who wants to work and focusing on employment within the
   competitive labor market rather than within a sheltered or segregated setting. To avoid the stigma of
   prolonged joblessness, IPS focuses on rapid job search integrated with other service interventions.
   Participants receive individualized long-term supports which, if necessary, are integrated with
   addiction or mental health treatment. Within randomized trials that compare IPS with usual
   interventions, IPS participants display higher employment rates and higher incomes, and appear to
   experience higher quality of life.510

166. Addressing obstacles to education and employment. Structural barriers exist that prohibit individuals
     in recovery from returning to education or gaining employment. One method to address this is through
     the use of scholarships that help pay for school or vocational training, in conjunction with mentorship
     while in school. Programs to support students that are at risk of dropping out of school, who share
     many of the challenges experienced by students recovering from substance abuse, have proven
     effective. For example, two randomized controlled trials have shown that the Accelerated Study in
     Associate Program (ASAP) – through academic, personal, and financial support – is effective at
     improving the graduation rate among low-income students that would otherwise be at increased risk of
     not completing their degree.511,512,513 Separately, “Ban the Box” is a program that addresses barriers to
     entering the workplace and has benefited individuals with lived experience in the criminal justice
     system.514 These programs prohibit prospective employers from inquiring about an applicant’s criminal
     history on an initial job application; the term refers to the box that individuals are sometimes asked to
     check on an application as to whether they have a criminal record. Within the Community, a modified
     version of “Ban the Box,” may balance the interests of employers and workers. For example, Cabell
     County might prohibit requiring job applicants to supply information regarding arrests that do not result
     in convictions, misdemeanor convictions, or arrests for drug offenses that reflect personal use rather
     than more serious infractions.515

167. Components of abatement interventions. There are four major components to reengineering workplaces
     to address the needs of individuals living with OUD or who are in recovery: (1) implementing best-
     practice recovery-supportive workplaces that welcome and support individuals in recovery; (2)
     accommodating employers’ specific requirements through accountability and safety measures pertinent
     to OUD and other substance disorders; (3) enacting individualized employment supports such as IPS
     for individuals who confront serious barriers to sustained employment; and (4) enacting modified “ban
     the box” regulations to protect job applicants’ privacy regarding minor infractions or arrests that reflect
     personal opioid use rather than more serious infractions. w Existing programs, such as CORE, should
     be expanded upon and supported, including efforts to engage employers within the Community,
     including the continued use of roundtable discussions. Positive experiences and local success stories
     should be shared by employers in order to decrease stigma.

168. In conclusion, an effective response to the challenge of OUD must include reengineering workplaces
     to accommodate the needs of both individuals in recovery and employers in Cabell County. Given the
     impact of OUD on educational attainment and challenges in accessing employment, it is crucial that
     programs are enacted to support both the individual in recovery and organization. These have proven
     effective and beneficial for both parties and the community at large.




w
  While I do not provide quantitative estimates of these four components in my redress model, they are nevertheless important
to consider with respect to reengineering the workplace to address the needs of those with OUD or who are in recovery.
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E. Mental Health Counseling and Grief Support
The goal of this remedy is to ensure that mental health services, including counselling for individuals with
mental illness as well as the bereaved, are available to all who may be in need within the Community. This
is important because historically these services have not always been readily available within the
Community, and yet the opioid epidemic has created unprecedented demand for such care.

169. The opioid epidemic has resulted in a high number of deaths among young people in Cabell County
     and the City of Huntington, which has impacted the mental health of individuals within the Community.
     In addition to the pain of losing a loved one, addiction and trauma further complicate the grieving
     process. Grief support is necessary to help bereaved family members deal with questions that may
     include “Why did the person die from an overdose?", "Did the person intend to die?" and "Was the
     death preventable?"516 Death of a loved one from an overdose may be especially difficult to process
     because of “disenfranchised grief”, resulting from lack of societal acknowledgement and support of a
     bereaved person’s loss.517 Such disenfranchisement may be partly driven by stigma, including attitudes
     ultimately internalized by the bereaved that blame the decedent or their loved ones for the death. 518 Of
     course, grief is but one of many potential psychological impacts of the opioid epidemic on loved ones
     of those with OUD; friends and family members may also experience depression, dysthymia, anger,
     anxiety, post-traumatic stress, or other psychological sequela.

170. As discussed elsewhere in this report (Section 4B and Section 4C), children have also been uniquely
     affected by the epidemic and unfortunately, many children in the Community have suffered adverse
     psychological sequela.519 Because of this, they too are in need of expanded, state-of-the-art mental
     health services. Children that have been exposed to trauma (e.g., parental substance abuse, separation,
     or death) can have difficulty in school due to problems thinking, learning, and concentrating; trust
     issues or difficulty forming attachment; lack of impulse control; or behavioral issues such as fighting
     or running away.520 Depression and anxiety also manifest differently in children than they do in adults,
     and may include symptoms such as irritability, changes in eating or sleep patterns, and self-injury or
     self-destructive behavior.521 A 2017 of West Virginia high school students, found that one third (32%)
     felt sad or hopeless almost every day for at least two consecutive weeks within the previous year; nearly
     one in five (18.5%) seriously considered attempting suicide.522 The majority of West Virginia
     adolescents that experience at least one major depressive episode in the past year do not receive
     treatment.523 Cabell County high school and middle school students who reported misusing prescription
     drugs within the previous 30 days, cited that they used prescription drugs to “cope with life” in addition
     to other reasons, including peer pressure and a desire to “fit in”. 524

171. One way to classify childhood trauma associated with the opioid epidemic are through adverse
     childhood experiences (ACEs), such as emotional neglect, loss of a parent or substance abuse within
     the household, that increase the likelihood of subsequent mental and physical health problems. 525
     Specifically, ACEs disrupt neurodevelopment which results in socioemotional and cognitive
     impairment; this impairment results in maladaptive behaviors (e.g., the adoption of risky behaviors
     such as substance abuse) and later the development of disease, disability, or social problems. 526 A 2014
     study of ACEs experienced by West Virginia adults found that nearly one in three adults experienced
     substance use in their childhood homes. 527 The same analysis reported a dose-response relationship
     between the number of ACEs and depression; where one fifth of adults that had one ACE also had
     depression, nearly half of adults with four or more ACEs reported depression. Trauma-informed mental
     health care can address some of these vulnerabilities by promoting coping and adaptive behaviors key
     to early neurodevelopment and the prevention of future morbidity and substance use. Additional
     protective factors to address ACEs are discussed in Section 4B and Section 4C.
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172. Addressing mental health needs within the Community is important to prevent future opioid use and to
     address harms caused by the opioid epidemic. As noted throughout this report, expanding services for
     pain management – including mental health counseling – is essential to reducing demand for opioids.
     Chronic pain and mental health disorders have a bidirectional relationship, where pain can worsen
     mental health, and vice-versa.528 A population-based study of randomly selected adults, found that
     study participants with neck or back pain were 2.5 times more likely to experience depression within
     the following 12 months.529 Conversely, participants who were pain-free and had depression at the start
     of the study were four-times more likely to develop pain within 12-months than were participants who
     did not have depression at baseline. However, there are multiple barriers, including stigma, to accessing
     mental health treatment. A 2018 study found that, among those who were unable to access mental
     health treatment, 38% reported cost and lack of affordability, 21% did not know where to go for
     services, and 20% did not have adequate health insurance coverage for mental health services. 530

173. Similar to many other areas in the U.S., Cabell County has a shortage of mental health services for low
     income individuals.531 However, the Community is taking measures to address exposure to trauma and
     violence among children through the school system. For example, the Handle With Care program in
     West Virginia improves communication and collaboration between law enforcement, schools and
     childcare agencies and mental health providers.532 The program also seeks to connect families, schools,
     and communities to trauma-focused mental health services. In particular, social workers through Cabell
     County schools have been instrumental in delivering trauma-informed counseling and wraparound
     services to children and adolescents in the Community. 533

174. Bereaved parents and family members often require additional support to process and address their
     “disenfranchised grief.” However, when they receive proper support in the years following a death due
     to substance use, many family members can attain Posttraumatic Growth following the traumatic
     event.534 Posttraumatic Growth occurs when positive psychological change and growth result from
     exceptionally challenging life events. Grief support is key to facilitating this growth, where bereaved
     family members can process the complex emotions of stigma, guilt, anger, shock, and grief among
     individuals with shared experiences or understanding. While support networks may not be beneficial
     for everyone, it is important to have facilitators or counselors that can reorient individuals who may be
     “stuck” replaying memories or emotions from the past and identify new possibilities in life moving
     forward.535

175. Cognitive Behavioral Therapy (CBT) is the most frequently used psychological intervention for adults
     with chronic pain. Such approaches seek to improve mental health and well-being by identifying and
     changing maladaptive thoughts, emotions, and behaviors. Randomized trials of CBT for pain patients
     indicate that CBT can produce significant improvement in chronic pain and functional limitations. 536
     Many patients also benefit from mindfulness-based stress reduction, and from acceptance-based
     therapies,537 such as Acceptance and Commitment Therapy, that combines acceptance and mindfulness
     to promote psychological adaptability and behavior change. Clinicians and mental health counselors
     who treat children can provide most effective care when they receive additional training to address
     developmental needs within a trauma-informed approach. 538

176. Components of abatement interventions. The Community should expand the availability of mental
     health counseling for individuals with chronic pain, children affected by the opioid epidemic (e.g., such
     as the services offered by Prestera) and bereaved family members. Grief support interventions should
     include a blend of support groups led by mental health counselors as well as one-on-one sessions with
     mental health professionals. Faith-based support groups may also benefit individuals and families in
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   the Community. Behavioral interventions for those with chronic pain include cognitive behavioral
   therapy and acceptance-based therapies, and professionals should be included on multidisciplinary pain
   management teams.

177. In conclusion, abatement efforts within the Community should provide for mental health counseling
     for children affected by the epidemic, individuals with chronic pain or current mental illness, and grief
     support services for bereaved family members. Providing mental health counseling within the
     Community is necessary to address both the harms caused by the opioid epidemic and to prevent future
     opioid use from chronic pain and risk-taking or maladaptive coping behaviors among youth.




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CATEGORY 4: ADDRESSING NEEDS OF SPECIAL POPULATIONS
Many groups of individuals have been uniquely affected by the opioid epidemic, in the Community and
beyond, including the homeless, pregnant women, children and adolescents, and those who are incarcerated
or otherwise enter the criminal justice system. Other important subpopulations, such as women 539 or those
living in rural areas,540 have also been impacted in unique ways. While some abatement remedies, such as
naloxone distribution and training, generally need not be highly customized, there are other remedies that
should be carefully designed with specific populations in mind.

A. Pregnant Women, New Mothers, and Infants
This abatement remedy focuses on pregnant women and new mothers who have chronic opioid dependence,
opioid misuse or OUD, as well as infants born with neonatal opioid withdrawal syndrome (NOWS), a
condition among newborns that is a consequence of in utero exposure to opioids. (NOWS is also sometimes
referred to neonatal abstinence syndrome [NAS], although the latter is a less specific term that in certain
contexts may refer to in utero exposure to other substances such as alcohol or tobacco.) As with other special
populations, pregnant women, new mothers, and their newborns are important to consider because of the
ways that abatement remedies should be designed to address their unique needs and vulnerabilities. x

178. The opioid epidemic has severely impacted pregnant women, new mothers, and infants. Approximately
     15% of commercially insured women and 22% of women on Medicaid filled an opioid prescription
     during their pregnancy. 541,542 The rate of NOWS has increased as opioid prescribing has increased. For
     example, in an analysis of hospital discharges from 2009 to 2012, the estimated rate of NOWS
     increased from 3.4 to 5.8 per 1000 hospital births nationwide. 543 A longer time horizon provides similar
     evidence, with estimates of the diagnosis of NOWS increasing from 1.2 to 8.0 per 1,000 live births
     between 2000 and 2014 nationwide; during this time period, some states experienced as large as a ten-
     times increase.544 In 2017, there were 62.3 NAS cases per 1,000 births in Cabell County. 545 At Cabell
     Huntington Hospital alone, 17.6% of umbilical cords tested positive for opioids. 546 Between 2010 and
     2019, a total of 1,593 babies were born exposed to opioids at Cabell Huntington Hospital whose
     mothers were from the City of Huntington or Cabell County; increasing 600% from 31 in 2010 to 194
     in 2019, with a peak of 225 exposed births in 2016. 547

179. Both SAMHSA and the American College of Obstetricians and Gynecologists (ACOG) have provided
     similar recommendations for targeting and treating pregnant women and neonates impacted by the
     opioid epidemic, including with respect to prenatal screening for opioid use among women who are
     pregnant, MOUD treatment for pregnant women with OUD, neonatal care for neonates born with
     NOWS, and residential transition programs for pregnant women and new mothers with OUD who have
     limited social supports.548,549 Though individual models may differ for the immediate and long term
     care of children and mothers affected by opioids, generally the most successful models incorporate: (1)
     dyadic or family-centered models, that provide direct care for both children exposed to opioids and
     medical and addiction care to help parents maintain recovery; (2) comprehensive pediatrics programs,
     with multidisciplinary and long-term care for children, linked with care for parents as needed; and (3)
     specific developmentally-focused pediatrics programs, that provide longitudinal developmental
     evaluations and support.550 Researchers and health providers have emphasized the importance of
     maintaining family relationships (i.e., family-centered treatment), which improves health and
     socioemotional outcomes for women and children. 551,552


x
  Additional testimony and evidence regarding these populations is provided by Dr. Nancy Young in her expert report; I
incorporate some of this evidence into my Redress Model for pregnant women, new mothers and infants.
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180. Prenatal screening. SAMHSA and ACOG strongly recommend screening pregnant women for SUDs
     including OUD. ACOG specifically recommends universal screening as part of obstetric prenatal care
     visits, and both suggest using validated screening tools such as the National Institute on Drug Abuse’s
     Quick Screen or Substance Use Risk Profile–Pregnancy (SURP-P). 553 Both organizations also suggest
     screening be incorporating into an algorithm such as SBIRT or STIR as discussed in Paragraph #191. 554
     The decision to initiate MOUD upon an initial visit, as compared with referral for follow-up care,
     should be informed by a number of factors, including the context of the visit, stability and preferences
     of the patient, and availability and likelihood of suitable follow-up. The Drug Free Moms and Babies
     Project in West Virginia has been an effective universal SBIRT screening program, reaching high-risk
     and medically underserved women, successfully reducing drug use among those who remained in the
     program.555

181. MOUD treatment. SAMHSA and ACOG suggest pregnant women with OUD be treated with MOUD.
     This is partly due to concerns that other treatment approaches, such as abstinence, pose an increased
     risk of fetal injury or demise. MOUD treatment should focus on the provision of buprenorphine and
     methadone, rather than naltrexone, since there is less information on how naltrexone may impact fetal
     development. Such treatment is important in custodial as well as community settings, and fortunately,
     Cabell County has significantly expanded their treatment programs to link pregnant women to
     treatment. For example, the Maternal Addiction Recovery Center (MARC) at Marshall Health,
     provides comprehensive obstetric care, outpatient addiction care, and mental health counseling for
     pregnant women and new mothers with OUD.556 Additionally, the Maternal Opioid Medical Support
     (MOMS) Program at Cabell Huntington Hospital provides MOUD, medical, and behavioral health care
     to postpartum women.557

182. Neonatal care. Expression of NOWS is widely variable, though long-term complications may include
     poor neurological and motor development. 558 Infants at risk of presenting with NOWS may require
     specialized care such hospitalization within a neonatal intensive care unit, although it is difficult to
     predict the severity of withdrawal symptoms a given newborn is likely to have. 559 In response to the
     burden of NOWS within the Community, Cabell County has been a leader in implementing state of the
     art care for babies exposed to opioids in utero. Following treatment within the intensive care unit,
     babies with prenatal drug exposure who need additional treatment are discharged to Lily’s Place for
     observational, therapeutic and pharmacologic care to ease withdrawal symptoms. 560 Opened in October
     2014, Lily’s Place offers care in a community-based setting, using a team of peer recovery coaches,
     social workers, and health professionals that focus on preparing the infant to rejoin their families.

183. Residential transition programs. Pregnant women and new mothers also need stable environments for
     their own health, their babies’ health, and for the best chance for positive treatment outcomes. A stable
     environment includes long-term housing, child-care, access to transportation, all within a family-
     oriented and supportive environment. Some pregnant women with OUD will require residential
     treatment because of limited economic capital and/or serious medical illness or behavioral health needs.
     When possible, it is important to include additional members of the family (e.g., partner) in treatment
     or residential programs, because when family members progress through treatment, the short- and long-
     term outcomes for children and parents improve.561 Within Cabell County, Project Hope for Women
     and Children is a program that offers recovery housing for women and children. However, additional
     step-down and transitional housing services need to be expanded in the Community.

184. Psychosocial supports. The majority of pregnant women and new mothers with OUD have experienced
     significant traumas, such as a history of sexual assault and/or domestic violence. 562 Pregnant women
     and new mothers must be provided with psychosocial supports to cope with past traumas, the life-
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   changes of a newborn, and progression through recovery in order to successfully remain in recovery.
   Women should also be taught life skills and provided with job skill and education courses. Wraparound
   services for pregnant women, new mothers, and infants are primarily delivered through Healthy
   Connections, a coalition of 20 different community partnerships within the Community. 563 Family
   navigators provide intensive case management to each family, through a needs assessment,
   individualized plan, and providing guidance through the available services and resources.

185. Components of abatement interventions. Existing efforts for universal prenatal screening and
     specialized care such as that delivered through the Neonatal Therapeutic Unit and Lily’s Place require
     continued support. As described in the Redress Model, pregnant women who are diagnosed with OUD
     must receive adequate treatment and medical care as soon as possible, with continued treatment after
     they deliver. Additionally, infants born exposed to opioids should receive developmental support
     through early intervention beginning immediately after birth and special education services at age six.
     Pregnant women with OUD and new mothers of infants exposed to opioids should receive prenatal and
     postpartum psychosocial services and, if needed, housing.

186. In conclusion, abatement programs in the Community should include resources for pregnant women,
     new mothers, and neonates impacted by the epidemic. Such resources are described more thoroughly
     by Dr. Nancy Young in her expert report, but generally should include: services to identify and treat
     pregnant women with OUD as early as possible; longitudinal services to support women and address
     modifiable risk factors throughout their pregnancy; clinical and behavioral interventions in the peri-
     and post-partum period; hospital and child welfare resources to comply with the Child Abuse
     Prevention and Treatment Act to ensure a plan of safe care is implemented for the infant and family or
     caregiver before the infant is discharged from the hospital; and follow-up services to optimize care for
     the mother-child dyad following hospital discharge, including the required developmental assessment
     for early intervention if the child is placed in out-of-home care. When possible, the entire family should
     receive treatment and family-strengthening interventions in order to promote long-term socioemotional
     health.




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B. Adolescents and Young Adults
The goal of this remedy is to address the direct impact of opioid use, addiction, and overdose on children,
adolescents, and young adults in the Community, including prevention programs that delay initiation or
escalation of opioid use as well as screening and treatment programs that are customized to the unique needs
of these special populations.

187. Children and adolescents are uniquely vulnerable to the consequences of non-medical opioid use, and
     as the opioid epidemic has flourished, many children and adolescents have been exposed. In 2005,
     approximately 1.7 million (6.9%) of adolescents aged 12 to 17 years nationwide reported past year
     non-medical use of pain relievers and 166,000 (0.6%) fulfilled formal diagnostic criteria for OUD. 564
     Fortunately, rates of non-medical use of opioids have declined, although even in 2018, 695,000 (2.8%)
     of adolescents reported such past year non-medical opioid use and 108,000 (0.4%) had OUD. 565 Such
     use has occurred at high rates within the Community. In 2014, 4.1% of adolescents aged 12 to 17 years
     reported non-medical use of opioids within the past year in Cabell County and the surrounding
     subregion of West Virginia.566 In 2016, the PRIDE survey found that 4.0% of high school and middle
     school youths in Cabell County reported misuse of prescription drugs within the previous 30 days. 567
     The survey found that the top reasons for prescription drug use reported by Cabell County teens include
     “to fit in”, peer pressure, experimentation, boredom, and to cope with life.

188. The American Society of Addiction Medicine recognizes adolescents (aged 11-21 years), as a special
     population of interest with respect to SUDs. 568 Not only has early initiation of drug use been strongly
     associated with a constellation of adverse consequences, such as poor peer and familial relationships,
     and entanglements with the juvenile justice system, 569 but the ongoing brain development in
     adolescents during this period of time makes them highly vulnerable to SUDs. 570 Because of their
     vulnerability and future potential, prevention and early detection of SUDs in youths should be heavily
     prioritized to minimize the short- and long-term consequences associated with drug use at an early age.

189. Several school-based or family-based prevention programs have successfully delayed or prevented
     initiation or escalation of drug use in youths. 571,572,573 For example, the Life Skills Training (LST), a
     widely used school-based module, has been demonstrated in several controlled studies to reduce
     substance use amongst adolescents. 574 The impact of LST may be enhanced when coupled with the
     Strengthening Families Program (SFP), a family-based intervention designed to develop and support
     family bonds and communication. Greater investment should be made in the continued dissemination,
     implementation and evaluation of these and other evidence-based programs that are focused on primary
     prevention through education of broad populations regarding the nature of OUD, risks of non-medical
     opioid use, and availability of treatment and recovery support.

190. Treatment for adolescents with SUD requires a unique approach and should be delivered by individuals
     with specialized training in the care of this population. For example, unlike older adults who have often
     spent years coping with substance use accompanied by a deterioration in psychosocial domains such
     as loss of job or family, adolescent users tend to present at treatment after only a few years of addiction.
     In contrast to adults with SUDs, adolescents’ drug use is often driven by different factors (e.g., familial
     discord), may be subject to different environmental influences (e.g., peer effects), and may compromise
     psychological and social development. 575

191. A subset of adolescents participating in prevention programs will be identified as high risk. These
     individuals should be further evaluated through formal screening. While some have advocated for
     Screening, Brief Intervention, and Referral to Treatment (SBIRT) as a method of formal screening,
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   SBIRT was developed primarily for alcohol use disorder and concerns with its application to opioids
   have been raised. For example, some evaluations of SBIRT have failed to demonstrate meaningful
   increases in abstinence and the effect in positive studies often modest. 576 In addition, SBIRT is
   predicated upon the availability of follow-up treatment and the motivation of the individual to seek it,
   and the “brief intervention” of SBIRT was designed for behavioral treatments, which overlooks FDA-
   approved pharmacotherapies for OUD. Because of this, Screening, Treatment Initiation and Referral
   (STIR) has been proposed,577 and demonstrated to achieve better outcomes than SBIRT in at least two
   randomized trials, one focused on tobacco dependence 578 and the other on OUD.579

192. Use of MOUD is recommended for adolescents with severe OUDs. Buprenorphine and naltrexone may
     provide more suitable treatments for adolescents than methadone, since these can be administered in
     office-based treatment settings. Furthermore, one of several evidence-based psychosocial therapies
     should be used simultaneously with MOUD when treating adolescents with SUDs. One type of
     psychosocial therapy is family-based therapy, which aims to reduce the adolescent's drug use by
     involving the youth’s family members in the treatment process. This mode of therapy facilitates the
     development of emotional support and communication strategies in order to address issues such as
     antisocial behavior or dysfunctional family interactions.

193. Within the Community, the Cabell County Substance Abuse Prevention Partnership (CCSAPP),
     representing a coalition of agencies across the County, have implemented multiple programs and
     initiatives to prevent substance use.580 Many of these prevention efforts are school-based and include
     the Too Good for Drugs curriculum and annual Teen Drug Summit. Additionally, the CCSAPP
     conducts the PRIDE survey, which identifies drug trends among elementary, middle, and high school
     students. In 2019, the Prevention Empowerment Partnership (PEP) was implemented to grow
     prevention efforts within the community.

194. Components of abatement interventions. As reflected in the Redress Model, school-based prevention
     interventions should be expanded in Cabell County and target adolescents in areas identified as having
     high rates of opioid burden, including overdose deaths and misuse rates. These programs should also
     identify adolescents at a high risk of opioid misuse or OUD for further screening. The estimates
     provided for this category are based on needs for screening rather than direct treatment; a subset of
     those screened will require pharmacologic and, in some cases, inpatient, residential or intensive
     outpatient OUD treatment. The costs of such interventions are subsumed elsewhere (e.g., Section 2B,
     “Treatment for Opioid Use Disorder”).

195. In conclusion, abatement programs in the Community should include resources to reach at-risk children
     and adolescents through school and community-based youth programs. In addition to screening and
     primary prevention programs to teach and reinforce positive life skills, resources should also be
     committed to the care of children and adolescents with non-medical opioid use or OUD, which may
     require expansion of personnel with customized expertise in this area, as well as resources to support
     the expansion of both pharmacologic and non-pharmacologic treatment and recovery services.




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C. Families and Children
The goal of this remedy is to improve the resources available to support children in the Community who
have been orphaned by the epidemic, as well as to assist children and their families who have otherwise
been impacted and who may be served through child welfare services. As with Section 4A, additional
testimony and evidence are provided by Dr. Nancy Young in her expert report, which I also incorporate for
certain populations in the Redress Model for this section.

196. The opioid epidemic has severely impacted many families, and at times, forced children to be separated
     from parents and placed in foster care. In 2017, there were nearly 443,000 children in foster care in the
     U.S., an increase of 46,000 children since 2012. 581 Much of this increase is attributable to the opioid
     epidemic.582 Of the 273,000 children that entered foster care 2016, over 92,000 (34%) were placed in
     out-of-home care and parental substance use was reported as a factor in the reason for removal. 583
     However, states vary in reporting on this variable and these data are considered an undercount of the
     prevalence of substance use among child welfare cases nationwide. 584,585,586 Vastly more children – as
     many as one in eight – live in a household with one or more parents who have a history of past year
     SUD.587

197. In 2017, it is estimated that 54 out of every 1,000 children in West Virginia were affected by the opioid
     epidemic, compared to a nationwide rate of 28 out of every 1,000 children. 588 In West Virginia, it is
     estimated that over half of these children resided in a household with a parent with OUD, nearly one
     in five lost a parent due to death or incarceration, and one in five were removed from their home for
     foster or kinship care. Of 22,000 total children affected, it is estimated that 1,500 either developed
     OUD as an adolescent or accidentally ingested opioids as a child.

198. While the precise number of foster care placements that are directly due to opioids is unknown, a recent
     mixed-methods study commissioned by the U.S. Department of Health and Human Services provides
     additional context.589 Geographic regions of the country with higher rates of overdose deaths and drug-
     related hospitalizations also have higher child welfare caseloads, as well as more severe and complex
     child welfare cases. In addition, many key informants reported worsening conditions, such as overdose
     deaths and caseload numbers, between 2015 to 2017. The report also identified many barriers to
     treatment of impacted families, including misunderstanding and mistrust of MOUD, piecemeal
     substance use assessments, shortages of family-friendly treatment, and an increasing shortage of foster
     care homes. The report concluded that while these findings may not represent every geographic region
     or state, they nevertheless suggest how the opioid crisis has taken an unusual toll on an already strained
     child welfare system.

199. Children entering the foster care system, including those whose entry has been driven by the opioid
     epidemic, have both medical and non-medical needs. Federal and state governments often provide
     support to guardians of foster children for non-medical needs such as food, clothing, and housing.
     Many children in foster care also have special health care needs, given the high prevalence of chronic
     medical, developmental, and mental health problems, most of which predate placement in foster
     care.590 Lastly, approximately 21-23% of children exiting foster care are adopted. 591 Though some
     adoption costs are offset with government subsidies, the adoption process and long-term care for
     affected children can nevertheless impose a heavy economic burden on some families.

200. Child welfare services (CWS) includes a variety of interventions that are undertaken by state agencies
     charged with optimizing the health and welfare of otherwise vulnerable infants, children, and
     adolescents. Such services include the investigation of reports of child abuse or neglect as well as the
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   delivery of services, such as specialized case management and multisystemic or other family-based
   therapy, to support children and families where abuse or neglect has taken place or is likely. One such
   approach is Parent-Child Interaction Therapy (PCIT), an evidence-based and family-centered treatment
   approach that supports the development of parenting skills while reducing negative parent-child
   interactions. There is a broad evidence-base supporting the value of PCIT in achieving a host of positive
   outcomes including decreased parental stress and use of corporal punishment and increased parent-
   child interactions.592 Both PCIT and, more broadly, CWS are based on several underlying principles
   including a recognition that a safe and permanent home is the best location for children to be raised
   and that most parents want to be good parents to their children. 593

201. Within the Community, the Strengthening Families in West Virginia program focuses on building the
     following protective factors in all families: parental resilience; social connections; knowledge of
     parenting and child development; concrete support in times of need; and social and emotional
     competence of children.594 Additionally, the Knowledge in Developmental Steps (KIDS) Clinic offers
     specialized medical and behavioral specialists for children and families affected by substance use. 595
     The clinic, a branch of Healthy Connections and River Valley CARES, focuses on: general pediatric
     care; neurodevelopment; speech, language, feeding, and literacy; physical therapy; and psychological
     and psychosocial interventions.

202. Components of abatement interventions. CWS agencies in the Community should be adequately
     funded to deal with cases related to opioid use and prioritize keeping families together. Children who
     enter or are in foster care or are adopted due to familial opioid use or overdose must receive adequate
     medical care and comprehensive social services to address their needs. Adoption costs and adoption-
     related expenses of children who were adopted due to familial opioid use or overdose should be
     covered. Children in foster care or who are adopted and qualify for PCIT or other specialized programs
     should receive it.

203. In conclusion, abatement programs in the Community should include resources to support the needs of
     children who have been orphaned by the epidemic or who have lost a parent, whether or not they have
     entered the foster care system. In addition, abatement remedies should include resources, including
     intensive case management and access to therapy, to support the needs of children and adolescents who
     may have entered child welfare services or otherwise come to the attention of social services
     organizations due to the opioid epidemic.




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D. Homeless and Housing Insecure
The goal of this abatement remedy is to focus on individuals with OUD in the Community who may be
homeless or housing insecure. In order to be successful, abatement programs within the Community must
be deployed to address the unique and pressing clinical and public health needs of these often marginalized
populations.

204. Homelessness and housing insecurity are traumatic experiences that threaten individuals’ economic,
     psychological, social, and spiritual wellness. In 2019, a point-in-time count estimated that 87
     individuals were homeless in Cabell County, although for every individual that is homeless, many more
     may have “housing insecurity,” or problems with the affordability, safety, quality or long-term stability
     of their housing.596,597 Once an individual is homeless, it is difficult to re-enter the workforce and attain
     stable housing. Many homeless individuals also have acute and chronic physical health conditions and
     mental illness that require specialized treatment. However, financial and other barriers often make it
     impossible to receive such care, posing stressors that increase the risk of SUDs. For example, one
     national study found that among those who were homeless and reported substance abuse in the previous
     year, 75% also had a mental illness.598

205. SUD is among the leading causes of homelessness in the country. 599 A survey of homeless individuals
     in San Francisco found that nearly one-in-three reported opioid misuse in their lifetime. 600 Homeless
     individuals with OUD are also more likely to become chronically homeless and have a higher risk of
     overdose and mortality.601 A Boston study found opioid overdoses to be the leading cause of death
     among homeless individuals; compared to those that were stably housed, homeless individuals were
     nine-times more likely to die of overdose. 602 Nationally, opioids are involved in 61% of overdose
     deaths among those that are stably housed, however, opioids are involved in 81% of overdose deaths
     among those that are homeless.603

206. Prescription drug and opioid misuse are particularly high among homeless youth. A survey of 451
     homeless youth found that half reported prescription drug misuse in their lifetime. 604 Of those that
     misused prescriptions in the past month, one-in-four used prescription opioids alone and one-in-three
     used heroin. This was associated with an increased risk of future substance use, poor self-reported
     health, and risky sexual behaviors. The survey also found a higher risk of post-traumatic stress disorder,
     depression, and suicidal ideation among homeless youth that misused prescription drugs.

207. The causes and effects of homelessness are complex and require multilayered interventions that focus
     on social support, trauma-informed approach, and personal choice. 605 Homeless individuals with OUD
     are often ineligible for many housing programs due to their substance use. However, housing and
     support are critical to providing an environment where individuals can focus on recovery and safely
     parent their children. A study of homeless veterans, many with OUD, reported that social support was
     crucial to maintaining housing and recovery. 606 Given the high prevalence of trauma among homeless
     individuals with OUD, using a trauma-informed approach and building trust are key to engaging them
     in                                                                                            care.607

208. Treatment and housing programs vary in services offered, sobriety requirements (e.g., low-barrier),
     acceptance of children, and integration with the community (e.g., light-touch). Low-barrier models
     have been gaining support for their effectiveness in retaining clients in care since they do not require
     sobriety, and in doing so, account for the fact that relapse is common among homeless individuals with
     SUD.608 Because individuals are not penalized for relapsing, trust and rapport are built, which opens
     the door for engaging them in treatment. A low-barrier program in New York found that clients were
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   more likely to continue their MOUD as prescribed for OUD three years after initiating the program. 609
   The Homeless Multidisciplinary Street Team, a mobile outreach program in California, included a team
   of specialists that sought out the highest-cost members of the homeless community (e.g., those who are
   repeatedly hospitalized or incarcerated) to assist them in receiving housing and other treatment in
   2016.610 This program resulted in savings between $103,000 to $259,000 for the city of Santa Monica
   by decreasing the health and public service utilization among high-cost homeless individuals.
   Additionally, “permanent supportive housing”, or housing with support, is another intervention that
   addresses chronic homelessness by integrating housing with health care, intensive case management,
   legal services, social service advocates, and occupational therapy. The U.S. Department of Housing
   and Urban Development estimates that investments in permanent supportive housing have reduced
   chronic homelessness by 20% between 2007 and 2019. 611

209. Recovery housing is also an important component of care for some people with OUD. The National
     Alliance for Recovery Residences (NARR) defines four levels of recovery housing ranging from self-
     funded, peer-run, residential facilities where individuals can stay indefinitely (Level 1) to residential
     facilities that also serve as clinical treatment centers (Level 4). 612 As explained by one public health
     officer: “Who we spend our time with, where we go, and the things we surround ourselves with all
     impact who we are and the decisions that we make. Many times, people in early recovery have to give
     up everything they’ve known… because those people, places, and things put them at risk for relapse or
     continued use. Early recovery can be painful and isolating. Recovery housing can fill that void with a
     safe place, compassionate people, and a life full of purpose and fun that doesn’t involve alcohol or
     drugs.”613

210. As with peer recovery coaches, evidence examining the effect of recovery housing on outcomes such
     as drug and alcohol use, employment and psychiatric symptoms, while limited, suggests beneficial
     effects.614 However, concerns have also been raised regarding substandard or outright fraudulent
     services being provided by some recovery houses. A March 2018 report from the U.S. Government
     Accountability Office (GAO) examining this matter in five states underscores both the potential
     promise of recovery housing as well as the importance of adequate state regulatory oversight of their
     practices to ensure the prevention of exploitative or outright fraudulent housing practices. 615 In 2019,
     in a bill sponsored by Matthew Rohrbach of Cabell County, West Virginia Lawmakers mandated that
     all recovery housing and sober living homes receive certification in order to be eligible for state
     funding.616

211. Components of abatement interventions. Efforts to address the needs of individuals with OUD who are
     homeless or housing insecure, such as those provided by Harmony House, should be supported and
     expanded upon within the Community. In particular, Permanent Supportive Housing that provides
     wraparound services for homeless individuals with OUD should be implemented in the Community as
     reflected in Section 4D of the Redress Model. Additional needs of individuals with OUD who are
     homeless or have housing insecurity must be addressed as part of any abatement program and are
     included elsewhere in this report. These include: access to comprehensive, longitudinal OUD treatment
     (Section 2B); transitional housing for those newly released from incarceration (Section 3B); and
     treatment and housing services for pregnant women, new mothers, and parents who have reunified with
     their children under child welfare services (Section 4A).

212. In conclusion, abatement programs in the Community should include resources to reach homeless
     individuals and those who are housing insecure. By providing social support and focusing on the
     physical and mental health of these individuals, the Community can reduce the economic and public

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   health impact of the opioid epidemic. Resources should focus on increasing treatment services,
   personnel and housing for those that are homeless or housing insecure.




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E. Individuals with Opioid Misuse
This abatement remedy focuses on individuals who misuse opioids. This category is important because
many individuals engage in such misuse, and they are at elevated risk for a number of harms from opioids,
including the development of OUD and overdose death.

213. Opioid misuse is defined by the National Institute on Drug Abuse as “taking a medication in a manner
     or dose other than prescribed; taking someone else’s prescription, even if for a legitimate medical
     complaint such as pain; or taking a medication to feel euphoria (i.e., to get high)”. 617 In contrast to
     OUD, which has formal diagnostic criteria according to the Diagnostic and Statistical Manual of
     Mental Disorders, 5th Edition (DSM-5), opioid misuse is more common and encompasses a broader
     continuum of behaviors. It is important to identify individuals with opioid misuse because they are at
     increased risk of opioid-related adverse events.

214. An estimated 11.4 million Americans, or 4.2% of the total population, reported misuse of prescription
     opioids or heroin during the past year based on 2017 data derived from the National Survey of Drug
     Use and Health (NSDUH).618 While this represents a modest decline from 2015, during which 12.7
     million people were estimated to have engaged in past year opioid misuse, the numbers nevertheless
     remain staggering. Of these 11.4 million individuals, 97.2% engaged in past year misuse of prescription
     opioids, while 7.8% engaged in misuse of heroin and 4.9% engaged in misuse of both prescription
     opioids and heroin. Among adults who misused opioids in 2015 who did not have an OUD,
     approximately two thirds of cases reported the reason for such misuse was the relief of pain,
     highlighting the overlap of chronic pain with non-medical opioid use as well as the opportunities to
     address both simultaneously through well-designed abatement remedies. 619

215. As many as one third of individuals misusing opioids nationwide report that the source of their opioids
     was a single prescriber,620 an indication that the health care system, including high prescribing
     clinicians, continues to play a role in fostering the epidemic. y More than one half of those misusing
     opioids report their source as a friend or relative, a reminder of the continued diversion of opioids that
     also commonly occurs, although here too, the most common source of opioids among these friends or
     family members remains a licensed prescriber. 621 The large oversupply of opioids in these settings
     supports the use of interventions such as prescription “caps” that states and some payers are
     increasingly using to reduce the volume of opioids prescribed for short-term use, 622 as do several
     studies indicating that the likelihood of an individual converting to chronic opioid use is significantly
     greater among individuals receiving greater doses or durations of opioids on their first fills. 623,624,625

216. In contrast to patients who are using opioids fully as directed under the care of a licensed prescriber,
     which still poses unacceptably high risks in many patients currently receiving them, patients with
     opioid misuse should be identified and targeted for early intervention so as to avert their potential
     transition to OUD or overdose. Methods to identify and address these patients include both the routine
     clinical use of the West Virginia prescription drug monitoring data and clinical interviewing. Clinical
     interviewing is useful not only to screen for potential misuse but also to explore motivations for such
     and to address underlying issues, including sub-optimally treated pain, depression or other behavioral
     health factors that may be driving such behavior. Once identified, such patients should receive more
     intensive clinical monitoring, psychosocial interventions, pain management, and in some cases,
     transition to partial opioid agonists such as buprenorphine or tramadol.


y
 By contrast, 1.5% of those with opioid misuse report their source as from more than one doctor, again attesting to the relatively
small contribution opioid shoppers make to the epidemic (see Paragraph #32).
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217. Components of abatement interventions. The components of this abatement category are subsumed in
     other abatement interventions that I discuss including Health Professional Education (Section 1A),
     Patient and Public Education (Section 1B), Safe Storage and Drug Disposal Programs (Section 1C),
     and interventions targeting Adolescents and Young Adults (Section 4B).

218. In conclusion, abatement programs in the Community should include resources devoted to addressing
     the substantial minority of individuals who misuse opioids. Clinicians should be trained to routinely
     evaluate patients for such practices, West Virginia Controlled Substance Monitoring Program data
     should be increasingly integrated within health systems and electronic medical records, and
     interventions should be deployed to decrease the volume of opioids prescribed, which in turn will
     decrease the incidence of misuse. Once opioid misuse has been identified, greater clinical resources
     should be devoted both to addressing opioid misuse directly as well as evaluating and treating potential
     contributory factors ranging from comorbid social stressors or mental illness to untreated or
     undertreated chronic pain syndromes.




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VI.  MEASURING THE SUCCESS OF ABATEMENT EFFORTS
219. The Community is already undertaking many evidence-based abatement interventions that reflect the
     overarching principles, as well as strategies, that I outline above. For example, the Community has an
     active and effective drug court; the CHHD and Marshall University have worked to distribute naloxone
     and train individuals from the Community in its use; and there are comprehensive wraparound services
     including case management, residential, and treatment resources for pregnant women and new mothers
     with OUD (e.g., Project Hope for Women and Children). Key partners include treatment providers
     such as PROACT and Lily’s Place, the CHHD and their harm reduction program, Marshall University,
     community drug prevention coalitions such as the Prevention Empowerment Partnership, and other
     community-based organizations.

220. Data – and measurement – is vital to these efforts, a fact that is affirmed by Mayor Steve Williams 626
     and the U.S. Department of Health and Human Service’s Five-Point Opioid Strategy, which includes
     “Better Data” as one of the five key strategies to address the crisis. 627 Without such information, the
     Community is “flying blind”, no better off than an airplane pilot without access to the plane’s
     instrument panel.

221. In Section 1F, I discuss opportunities for improved use of data to help inform the development and
     assessment of abatement remedies within the Community. However, the Community is already using
     data both to design abatement remedies as well as to evaluate them, despite significant resource
     constraints. For example, the Mayor of Huntington’s Office of Drug Control Policy used data to inform
     early abatement efforts that focused on Drug Courts and overdose prevention, 628 and Marshall Health
     is now using its opioid dashboard to track NAS and mother characteristics associated with NAS,
     exposures of babies to opioids, OUD, and opioid overdose deaths.

222. The core measures in the Community’s ultimate abatement plan should represent essential outcomes
     selected because of their linkage to abatement goals and their ability to capture key consequences of
     improved prevention, treatment, and recovery services. Each measure should be assessed on a
     quarterly, biannual, or annual basis, understanding that the more frequent an assessment occurs, the
     more rapidly such information can be used to iteratively inform further abatement. Thus, measures
     should provide a means of performing high-level evaluation of the global effects of abatement efforts
     on central outcomes of vital clinical and public health importance. Examples of potential measures,
     some of which are currently actively assessed by Marshall Health, include:
           Rates of non-fatal opioid overdose
           Prescription opioid overdose death rate
           Heroin/illicit fentanyl overdose death rate
           ED visits or hospitalizations related to opioids
           Percent of 10th graders reporting non-medical opioid use
           Rate of infants born with neonatal abstinence syndrome
           Rate of children placed in foster or kinship placements
           Rate of complications associated with opioid use
   During the coming years, as additional resources are invested in reducing the oversupply of opioids and
   attendant harms, there will also be opportunities to continue to enhance, collate, link and centralize
   measures with others that capture other dimensions of the epidemic, including: the accessibility and
   quality of both pain and OUD treatment; treatment delivery within the criminal justice system; and the
   performance of the care delivery system for other populations, such as the commercially insured, for
   which the state or county may not serve as payer.
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VII. ESTIMATED IMPACT OF PROPOSED ABATEMENT REMEDIES
223. There is intuitive scientific appeal in using randomized experiments to assess the effectiveness, and
     comparative effectiveness, of different interventions to reduce opioid-related morbidity and mortality.
     However, such investigations are impractical, and often unethical as well. 629 As a result, policy-makers
     and other stakeholders must rely upon observational evidence that is prone to shortcomings. For
     example, the effect of an intervention such as a naloxone law may be delayed, obfuscated by other
     contemporaneous policy changes, or associated with unintended effects that diminish its ultimate
     welfare impact. Indeed, many studies examining the impact of various abatement remedies have
     assessed multiple simultaneous interventions, such as an intervention to reduce opioid oversupply that
     combines educational outreach to clinicians with clinical decision support instituted within electronic
     medical records. These challenges underscore the importance of continued study by clinicians and
     public health experts, as well as investments such as the National Institutes of Health’s HEAL
     Initiative.630

224. While some may argue that “further research is needed”, there is already a vast scientific evidence base
     to support the abatement interventions discussed herein. For example, there is unequivocal evidence of
     the benefits of treatment for OUD, the life-saving potential of naloxone, and the value of investments
     made in children and families impacted by SUD. While using this evidence to estimate the expected
     impact of specific interventions within specific communities is prone to uncertainty, some general
     conclusions regarding abatement impact can be drawn.

225. First, the impact of treatment for OUD on reducing OUD rates over time, which represents one of the
     most important, and costly, interventions prescribed in this report, has been well described. For
     example, in a systematic review and meta-analysis of MOUD, the pooled all-cause mortality was 0.92
     (95% confidence intervals [CI] 0.79-1.04) per 1,000 person-years among individuals during treatment,
     1.69 (CI 1.47-1.91) among those after treatment and 4.89 (CI 3.54-6.23) among those who were
     untreated.631 In another careful and comprehensive systematic review and meta-analysis, Sordo and
     colleagues found that the pooled all-cause mortality rates were 11.3 and 36.1 per 1,000 person-years in
     and out of methadone treatment (unadjusted out-to-in rate ratio 3.20, CI 2.65-3.86), and 4.3 and 9.5 in
     and out of buprenorphine treatment (2.20, CI 1.34-3.61).632 In other words, treatment for OUD reduced
     the likelihood of death by at least a half in these analyses.

226. Second, different interventions will have different impacts that will vary based upon the local context
     and magnitude of unmet need. In addition, the time horizon to see an impact from abatement efforts
     varies. Some investments, such as those for naloxone or treatment expansion, may produce an
     immediate impact on the Community, whereas others may have medium-term (e.g., drug courts,
     transitional housing) or long-term (e.g., child and family services) effects that may be no less important
     to the Community’s ultimate recovery.

227. Third, the return on investments from some programs can be quite profound. In other words, improving
     treatment uptake and use for OUD is not just the right clinical thing to do, it also makes good economic
     sense, in part because OUD has so many direct and indirect costs. z For example, Ettner and
     colleagues633 and Gerstein and colleagues,634 have estimated at least a 7:1 return on investment when
     examining the economic benefits and costs of the treatment of alcohol and drug disorders using



z
    Many of these costs are discussed more fully in the expert report provided by Dr. Thomas McGuire.
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   California treatment data.aa Similarly, an analysis of a naloxone distribution program in North Carolina,
   as described in Paragraph #137 estimated that, on average, for every dollar spent on the program, there
   was $2,742 of benefit due to opioid overdose deaths avoided. 635 In a separate decision analysis from
   the University of San Francisco, investigators estimated that providing naloxone to heroin users is
   robustly cost-effective, and possibly cost-saving, with one overdose death prevented for every 164
   naloxone kits distributed.636 Yet other work has examined potential savings associated with
   investments in harm reduction such as syringe service programs (SSPs), suggesting that for every dollar
   invested in SSPs, at least six dollars are saved due to HIV prevention alone. 637 A separate cost-
   effectiveness analysis of an SSP in New York City estimated that the program would result in a baseline
   one year savings to the government of $1,300 to $3,000 per client. 638

228. Fourth, as noted in Paragraph #16, “the cost of doing nothing is not nothing”. 639 The opioid epidemic
     has worsened over more than two decades, both nationally and particularly in the Cabell-Huntington
     Community, and for a long time, was hidden in plain sight. Fortunately, there is acknowledgement of
     the devastation that opioids have caused for many communities, and there has been incredible
     mobilization in Cabell County and the City of Huntington. In addition, a great deal of scientific effort
     has been expended to develop an evidence base regarding the approaches noted herein. This
     overwhelming evidence explains the strong scientific consensus regarding the importance of the
     abatement remedies proposed.

229. While further extrapolation is required to estimate the combined, community-level impact of
     interventions I propose, I believe that they can reduce cumulative opioid overdoses and opioid-related
     harms by 50% over fifteen years.640 This estimate is based on models that we and others 641,642,643,644
     have developed, as well as review and synthesis of additional assessments of many of the interventions
     proposed herein, ranging from Health Professional Education (Section 1A) to Harm Reduction
     Interventions (Section 1E) to Naloxone Distribution and Training (Section 2E). The Redress Model
     takes into account the fact that, if the abatement plan is effective in abating the epidemic, as the
     evidence that I provide suggests it will be, considerably fewer resources will be needed in later years
     of the plan than during the first few years.




aa
   These analyses were not limited to those with opioid use disorder. While the reports nevertheless suggest the value of OUD
treatment, including MOUD, there is also a need for further research focused exclusively on OUD treatments rather than broader
SUDs.

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VIII. POTENTIAL OBJECTIONS TO PROPOSED ABATEMENT REMEDIES
There is remarkable consensus among public health experts regarding the abatement remedies outlined above.
Nevertheless, some might object to one or more of the proposed remedies on a number of grounds.

 230. Enough is already being done. One argument is that there is already an enormous amount of effort
      being devoted to the epidemic in the Community, as well as some signs that things are “turning around”
      locally. For example, prescription opioid volume continues to decline in Cabell County, overdoses
      were generally lower between September 2019 and April 2020 than previous years (Paragraph #29),
      and there are several effective programs for pregnant women and new mothers. While such arguments
      might have some appeal, they overlook the complexity of the epidemic, continued evidence of grave
      harms in the Community and the fact that investments made thus far pale in comparison to the
      epidemic’s societal costs. For example, despite declines in opioid sales, prescribing rates remain far
      above pre-epidemic baselines. Similarly, the rate of overdoses in Cabell County increased 200-300%
      in May 2020, and there is no indication that supply of illicit fentanyl has been stopped. The Cabell
      Drug Court and PROACT treatment center, two effective and evidence-based programs within the
      Community, are at capacity and cannot accept eligible clients. 645 As noted throughout my report, there
      are vast gaps that remain in the treatment system, and many of the most damaging consequences of the
      epidemic, such as its effects on children, families and those with active addiction or a history of OUD,
      will endure for generations.

 231. There may be unintended consequences. Concern has been raised regarding potential unintended
      consequences of efforts to address the epidemic, especially “supply-sided” interventions such as
      clinical guidelines that may reduce the volume of opioids used in clinical practice (Section 1A). 646,647
      It is theoretically possible that reductions in opioid prescribing may pose a burden for individuals in
      whom opioids are clinically appropriate, and thus the importance of multifaceted approaches to
      diminish this likelihood, including: investments in pain research; continued evidence generation and
      synthesis such as the activities undertaken by the CDC and professional societies, provider and patient
      education; insurance coverage and benefit redesign; and surveillance. Similarly, while arguments that
      constraining opioid oversupply “just pushes people to heroin” are over simplified, bb such concerns
      underscore the urgency of expansions in the treatment system to accompany supply-sided interventions
      reducing the flow of people from the general population into OUD.

 232. We shouldn’t reward bad behavior. Variations on this argument include that people who are “running
      into trouble” should know better, or more abhorrently still, “three strikes and you are out”. cc These
      approaches to managing the opioid epidemic blame the victims and reflect classic stigmatizing
      language grounded in erroneous beliefs regarding the nature of addiction. No one chooses addiction
      any more than one chooses to have heart failure or multiple sclerosis. 648 Such language overlooks this
      and conflates abuse, which is a behavior, with addiction, which is a disease. It also is hard to reconcile
      such views with the fact that individuals with OUD or non-medical opioid use commonly report
      receiving opioids from the health care system.649,650,651 It is precisely this type of language, and
      persistent stereotypes regarding the nature of opioid dependence, misuse and addiction, that have
      slowed progress in addressing the epidemic over two decades, and that should be aggressively rebutted
      head-on as part of campaigns to educate the general public and health care providers regarding the
 bb
   There is not a zero-sum game between reducing prescription opioid oversupply and increasing heroin use. For example, see
 Compton WM, Jones Compton WM, Jones CM, Baldwin GT. Relationship Between Nonmedical Prescription-Opioid Use and
 Heroin Use. New England Journal of Medicine. 2016;374:154-63.
 cc
  Such an argument was proposed by a city council member in a small town in Ohio, who argued that the use of Emergency
 Medical Services should be restricted among people who utilize such services for multiple opioid overdoses.
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   nature of the epidemic.

233. MOUD isn’t that effective and it is diverted. In fact, there is a substantial body of evidence regarding
     the effectiveness of treatments such as buprenorphine and methadone in retaining people in treatment,
     reducing illicit drug use, decreasing criminal activity and preventing overdose death. 652,653 It is true that
     relapse among people with OUD is not uncommon, just as is the case with cancer, depression and many
     other chronic diseases. Similarly, while treatment failures occur with MOUD, the empiric response rate
     to many medicines, such as antidepressants, is low; this does not obviate their potential clinical and
     public health value. An overwhelming amount of evidence indicates that MOUD can significantly
     decrease mortality and other undesirable outcomes, a reduction that could be seldom matched by
     treatments for many other chronic diseases. Nonetheless, diversion of MOUD remains a concern, and
     underscores the importance of greater, rather than fewer, investments in the treatment system to
     enhance the comprehensiveness and continuity of individuals seeking care for addiction. dd

234. The problem isn’t prescription opioids, it is other drugs (e.g., cocaine, alcohol, methamphetamines). ee
     The increasing presence of fentanyl within the non-opioid supply chain, as well as sharp increases in
     overdose deaths from stimulants such as cocaine and methamphetamine during the past few years, are
     the source of increasing concern on the part of clinicians, policy-makers, public health officials and the
     general public. It is true that many people who overdose from opioids have other drugs in their system
     at the time of death, that other SUDs are common among those with OUD, and that there are
     shortcomings in our clinical and public health infrastructure to address non-opioid SUDs. While these
     sources of morbidity and mortality require a different public health response than one geared towards
     opioids alone, they do not diminish the importance of the efforts discussed herein addressing the
     historic oversupply of opioids and well delineated harms that have resulted from such.

235. Cost-benefit of specific approaches is not clear. The Proposed Abatement Plan discussed herein reflects
     evidence-based and evidence-informed approaches to address the epidemic in the Community. Many
     approaches,654,655,656,657 but not all,658 have been subject to cost-benefit analysis in a variety of contexts.
     In some cases, the cost-benefit or cost-effectiveness of proposed abatement measures has been assessed
     specifically in the context of a single state, such as assessments of adolescent screening interventions
     performed by the Washington State Institute for Public Policy. 659 Nevertheless, as I note elsewhere,
     there is a remarkable degree of consensus regarding what abatement strategies are needed, reflecting
     an acknowledgement of the urgency of the epidemic both nationally and in the Community, the large
     body of scientific information underpinning abatement remedies and an awareness of the enormous
     costs of inaction.

236. It is unclear what success looks like. Some might argue that the success of abatement remedies is ill
     defined, and that without such clear benchmarks, there is no way to discern whether or not specific
     remedies are working, or worth it. Fortunately, there is clear consensus regarding how to abate the
     opioid epidemic, and this is because of the enormous body of scientific evidence underlying it. Plans
     must be tailored to the Community, and measurement of process and outcomes is important so as to
     gauge success. We are now two decades or more into the opioid epidemic, and it may take us just as
     long to get out of the opioid epidemic as it has to get into it. While there may be different ways of
     defining success, one measure would be to reduce opioid-related morbidity and mortality by 50% over

dd
  The use of directly observed therapy (DOT) to deliver methadone, and provider administered buprenorphine formulations, are
both additional means of reducing potential MOUD diversion.
ee
  Yet an additional objection, that the primary problem is one of heroin and illicit fentanyl, not prescription opioids, is addressed
in Paragraph #23.
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   fifteen years (Paragraph #229), although an even more ambitious measure would be to restore pre-
   epidemic levels of opioid supply and rates of addiction and overdose deaths.




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IX.  CONCLUSIONS
237. The opioid epidemic is the worst drug epidemic in our nation’s history, and it has been driven by large
     increases in the oversupply of prescription opioids for the treatment of pain. The Community has
     experienced first-hand morbidity and mortality attributable to the epidemic far greater than most areas
     of the country, whether with respect to rates of OUD, non-fatal and fatal overdose, infants born with
     neonatal abstinence syndrome, and children placed in foster care. These challenges make the
     substantial investments that the Community has made to address the local epidemic all the more
     laudable. Fortunately, while all measures of the epidemic, from prescription opioid sales to rates of
     addiction to overdose deaths, remain at alarming levels, there is increasing recognition of the magnitude
     of the harms that have accrued, and remarkable scientific and public health consensus regarding what
     needs to be done to abate the epidemic. The abatement remedies described herein represent evidence-
     based and evidence-informed approaches that many communities have already begun to undertake with
     varying degrees of coordination and scale, and which can be further applied to the Cabell-Huntington
     Community, too. They are highly aligned with the three principles described at the outset of this report:
     (1) informing action with evidence; (2) intervening comprehensively; and (3) promoting safe and
     appropriate opioid use. As the citizens and leaders of Cabell County and the City of Huntington know
     all too well, there is not a moment to lose.




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Pursuant to 28 U.S.C. S 1746, I declare under penalty of perjury that the foregoing is true and correct.


August 3, 2020




______________________________
G. Caleb Alexander, MD, MS
Baltimore, MD




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